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                     EXHIBIT 1
                                                                                                 Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 2 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject                 Plog Attachment Names To                       From                      CC                        BCC   Filename                 Author                   Privilege Tags          Privilege Note
         Type
1        Email          6/2/2011 9:58 AM          6/2/2011 9:58 AM Galveston County          GCResolutionAdopCriteria jnixon@bmpllp.com     Henry, Mark                                               Galveston County                                  Attorney-Client         Communica ion from
                                                                   Resolution                Redistricting..doc                             <Mark.Henry@co.galvesto                                   Resolution.msg                                                            Judge Henry to
                                                                                                                                            n.tx.us>                                                                                                                            redistricting counsel
                                                                                                                                                                                                                                                                                requesting legal review of
                                                                                                                                                                                                                                                                                draft redistricting criteria.
2        Word           6/2/2011 9:58 AM          6/2/2011 8:51 AM                                                                                                                                    GCResolutionAdopCriteria Information Technology   Attorney-Client         Draft redistric ing criteria
                                                                                                                                                                                                      Redistricting..doc                                                        sent from Judge Henry to
                                                                                                                                                                                                                                                                                redistricting counsel for
                                                                                                                                                                                                                                                                                legal review.
3        Email        10/3/2011 11:58 AM        10/3/2011 11:58 AM Information for           Redistricting Notice-    Nixon, Joe            Grady, Patricia          Henry, Mark                      Information for                                   Attorney-Client         Communica ion from
                                                                   Preclearance in Voting    Judge's                  <jnixon@bmpllp.com>   <Patricia.Grady@co.galve <Mark.Henry@co.galvesto          Preclearance in Voting                                                    Galveston County Legal
                                                                   Procedures                Office.pdf;REDISTRICTIN                        ston.tx.us>              n.tx.us>;Grady, Patricia         Procedures.msg                                                            Liaison to redistricting
                                                                                             G                                                                       <Patricia.Grady@co.galve                                                                                   counsel responding to
                                                                                             GUIDELINES.pdf;Redistri                                                 ston.tx.us>                                                                                                redistricting counsel's
                                                                                             cting Public Notices.pdf                                                                                                                                                           questions and advice re:
                                                                                                                                                                                                                                                                                DOJ preclearance.
4        Pdf          10/3/2011 11:58 AM         8/10/2011 2:30 PM                                                                                                                                    REDISTRICTING            Information Technology   Attorney-Client         Attachment from
                                                                                                                                                                                                      GUIDELINES.pdf                                                            Galveston County Legal
                                                                                                                                                                                                                                                                                Liaison to redistricting
                                                                                                                                                                                                                                                                                counsel sent in response
                                                                                                                                                                                                                                                                                to redistricting counsel's
                                                                                                                                                                                                                                                                                questions re: preclearance
                                                                                                                                                                                                                                                                                issues.
5        Pdf          10/3/2011 11:58 AM        10/3/2011 11:08 AM                                                                                                                                    Redistricting Notice-                             Attorney-Client         Attachment from
                                                                                                                                                                                                      Judge's Office pdf                                                        Galveston County Legal
                                                                                                                                                                                                                                                                                Liaison to redistricting
                                                                                                                                                                                                                                                                                counsel sent in response
                                                                                                                                                                                                                                                                                to redistricting counsel's
                                                                                                                                                                                                                                                                                questions and advice re:
                                                                                                                                                                                                                                                                                DOJ preclearance.
6        Pdf          10/3/2011 11:58 AM        10/3/2011 11:05 AM                                                                                                                                    Redistricting Public                              Attorney-Client         Attachment from
                                                                                                                                                                                                      Notices.pdf                                                               Galveston County Legal
                                                                                                                                                                                                                                                                                Liaison to redistricting
                                                                                                                                                                                                                                                                                counsel sent in response
                                                                                                                                                                                                                                                                                to redistricting counsel's
                                                                                                                                                                                                                                                                                questions and advice re:
                                                                                                                                                                                                                                                                                DOJ preclearance.
7        Email         10/7/2011 3:22 PM         10/7/2011 3:22 PM RE: Needed information!                           Grady, Patricia          Chapman, Brandy                                         RE Needed                                         Attorney-Client;Work-
                                                                                                                     <Patricia.Grady@co.galve <Brandy.Chapman@co ga                                   information!.msg                                  Product                 Communica ion from
                                                                                                                     ston.tx.us>              lveston.tx.us>                                                                                                                    Galveston County Deputy
                                                                                                                                                                                                                                                                                Clerk to Galveston County
                                                                                                                                                                                                                                                                                Legal Liaison compiling
                                                                                                                                                                                                                                                                                documents requested by
                                                                                                                                                                                                                                                                                redistricting counsel for
                                                                                                                                                                                                                                                                                DOJ preclearance
                                                                                                                                                                                                                                                                                submission.
8        Pdf           10/7/2011 3:22 PM         10/7/2011 2:55 PM                                                                                                                                    08232011 pdf             chapma_b                 Attorney-Client;Work-
                                                                                                                                                                                                                                                        Product                 Attachment containing
                                                                                                                                                                                                                                                                                informa ion for redistricting
                                                                                                                                                                                                                                                                                counsel's review and
                                                                                                                                                                                                                                                                                advice re: DOJ
                                                                                                                                                                                                                                                                                preclearance submission.
9        Pdf           10/7/2011 3:22 PM         10/7/2011 2:54 PM                                                                                                                                    08152011 pdf             chapma_b                 Attorney-Client;Work-
                                                                                                                                                                                                                                                        Product                 Attachment containing
                                                                                                                                                                                                                                                                                informa ion for redistricting
                                                                                                                                                                                                                                                                                counsel's review and
                                                                                                                                                                                                                                                                                advice re: DOJ
                                                                                                                                                                                                                                                                                preclearance submission.
10       Pdf           10/7/2011 3:22 PM         10/7/2011 2:55 PM                                                                                                                                    08222011 pdf             chapma_b                 Attorney-Client;Work-
                                                                                                                                                                                                                                                        Product                 Attachment containing
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                                                                                                                                                                                                                                                                                counsel's review and
                                                                                                                                                                                                                                                                                advice re: DOJ
                                                                                                                                                                                                                                                                                preclearance submission.
11       Pdf           10/7/2011 3:22 PM         10/7/2011 2:54 PM                                                                                                                                    08172011 pdf             chapma_b                 Attorney-Client;Work-
                                                                                                                                                                                                                                                        Product                 Attachment containing
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                                                                                                                                                                                                                                                                                counsel's review and
                                                                                                                                                                                                                                                                                advice re: DOJ
                                                                                                                                                                                                                                                                                preclearance submission.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                  Plog Attachment Names To                    From                      CC                  BCC   Filename                  Author     Privilege Tags          Privilege Note
         Type
12       Pdf           10/7/2011 3:22 PM         10/7/2011 2:54 PM                                                                                                                            08162011 pdf              chapma_b   Attorney-Client;Work-
                                                                                                                                                                                                                                   Product                 Attachment containing
                                                                                                                                                                                                                                                           informa ion for redistricting
                                                                                                                                                                                                                                                           counsel's review and
                                                                                                                                                                                                                                                           advice re: DOJ
                                                                                                                                                                                                                                                           preclearance submission.
13       Email        10/14/2011 2:14 PM        10/14/2011 2:14 PM RE: minutes for August                          Grady, Patricia          Chapman, Brandy                                   RE minutes for August                Attorney-Client;Work-   Email from Galveston
                                                                   30th                                            <Patricia.Grady@co.galve <Brandy.Chapman@co ga                             30 h.msg                             Product                 County Deputy Clerk to
                                                                                                                   ston.tx.us>              lveston.tx.us>                                                                                                 Galveston County Legal
                                                                                                                                                                                                                                                           Liaison compiling
                                                                                                                                                                                                                                                           documents requested by
                                                                                                                                                                                                                                                           redistricting counsel for
                                                                                                                                                                                                                                                           DOJ preclearance
                                                                                                                                                                                                                                                           submission.
14       Pdf          10/14/2011 2:14 PM        10/14/2011 2:09 PM                                                                                                                            083011.pdf                           Attorney-Client;Work-
                                                                                                                                                                                                                                   Product                 Attachment containing
                                                                                                                                                                                                                                                           informa ion for redistricting
                                                                                                                                                                                                                                                           counsel's review and
                                                                                                                                                                                                                                                           advice re: DOJ
                                                                                                                                                                                                                                                           preclearance submission.
15       Email        10/14/2011 2:24 PM        10/14/2011 2:24 PM RE: minutes for August                          Grady, Patricia          Chapman, Brandy                                   RE minutes for August                Attorney-Client;Work-
                                                                   30th                                            <Patricia.Grady@co.galve <Brandy.Chapman@co ga                             30 h.msg                             Product                 Communica ion from
                                                                                                                   ston.tx.us>              lveston.tx.us>                                                                                                 Galveston County Deputy
                                                                                                                                                                                                                                                           Clerk to Galveston County
                                                                                                                                                                                                                                                           Legal Liaison compiling
                                                                                                                                                                                                                                                           documents requested by
                                                                                                                                                                                                                                                           redistricting counsel for
                                                                                                                                                                                                                                                           DOJ preclearance
                                                                                                                                                                                                                                                           submission.
16       Pdf          10/14/2011 2:24 PM        10/13/2011 5:42 PM                                                                                                                            Scan001.pdf                          Attorney-Client;Work-
                                                                                                                                                                                                                                   Product                 Attachment containing
                                                                                                                                                                                                                                                           informa ion for redistricting
                                                                                                                                                                                                                                                           counsel's review and
                                                                                                                                                                                                                                                           advice re: DOJ
                                                                                                                                                                                                                                                           preclearance submission.
17       Email       12/21/2011 12:22 PM       12/21/2011 12:22 PM Information for DOJ        Lette001 pdf         Holmes, Stephen        Reingold, Myrna         Nixon, Joe                  Information for DOJ.msg              Attorney-Client;Work-
                                                                                                                   <Stephen.Holmes@co.gal <Myrna.Reingold@co.galv <jnixon@bmpllp.com>                                              Product                 Communica ion from
                                                                                                                   veston.tx.us>          eston.tx.us>                                                                                                     Galveston County attorney
                                                                                                                                                                                                                                                           to Commissioner Holmes,
                                                                                                                                                                                                                                                           copying redistricting
                                                                                                                                                                                                                                                           counsel, requesting
                                                                                                                                                                                                                                                           informa ion in response to
                                                                                                                                                                                                                                                           request from the
                                                                                                                                                                                                                                                           Department of Justice
                                                                                                                                                                                                                                                           during preclearance
                                                                                                                                                                                                                                                           process.
18       Pdf         12/21/2011 12:22 PM        12/21/2011 6:19 AM                                                                                                                            Lette001.pdf                         Attorney-Client;Work-
                                                                                                                                                                                                                                   Product                 Attachment from
                                                                                                                                                                                                                                                           Galveston County attorney
                                                                                                                                                                                                                                                           to Commissioner Holmes,
                                                                                                                                                                                                                                                           copying redistricting
                                                                                                                                                                                                                                                           counsel; letter from
                                                                                                                                                                                                                                                           Department of Justice
                                                                                                                                                                                                                                                           requesting information
                                                                                                                                                                                                                                                           regarding the 2011
                                                                                                                                                                                                                                                           redistricting plan for the
                                                                                                                                                                                                                                                           Commissioners Court.
19       Email        12/21/2011 2:01 PM        12/21/2011 2:01 PM Fwd: Information for DOJ                        commissionerholmes@ver Holmes, Stephen                                     Fwd Information for                  Attorney-Client;Work-
                                                                                                                   izon.net               <Stephen.Holmes@co.gal                              DOJ.msg                              Product                 Commissioner Holmes
                                                                                                                                          veston.tx.us>                                                                                                    forwarding to his personal
                                                                                                                                                                                                                                                           email account,
                                                                                                                                                                                                                                                           communication from
                                                                                                                                                                                                                                                           Galveston County attorney
                                                                                                                                                                                                                                                           to Commissioner Holmes,
                                                                                                                                                                                                                                                           copying redistricting
                                                                                                                                                                                                                                                           counsel, requesting
                                                                                                                                                                                                                                                           informa ion in response to
                                                                                                                                                                                                                                                           request from the
                                                                                                                                                                                                                                                           Department of Justice
                                                                                                                                                                                                                                                           during preclearance
                                                                                                                                                                                                                                                           process.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                 Plog Attachment Names To                          From                       CC                      BCC   Filename                 Author                   Privilege Tags          Privilege Note
         Type
20       Email        12/21/2011 3:44 PM        12/21/2011 3:44 PM FW: Information for DOJ   Lette001 pdf              Grady, Patricia          Reingold, Myrna                                         FW Information for                                Attorney-Client;Work-   Ms. Reingold forwarding to
                                                                                                                       <Patricia.Grady@co.galve <Myrna.Reingold@co.galv                                 DOJ.msg                                           Product                 Galveston County Legal
                                                                                                                       ston.tx.us>              eston.tx.us>                                                                                                                      Liaison, her
                                                                                                                                                                                                                                                                                  communication to
                                                                                                                                                                                                                                                                                  Commissioner Holmes,
                                                                                                                                                                                                                                                                                  copying redistricting
                                                                                                                                                                                                                                                                                  counsel, requesting
                                                                                                                                                                                                                                                                                  informa ion in response to
                                                                                                                                                                                                                                                                                  request from the
                                                                                                                                                                                                                                                                                  Department of Justice
                                                                                                                                                                                                                                                                                  during preclearance
                                                                                                                                                                                                                                                                                  process.
21       Pdf          12/21/2011 3:44 PM        12/21/2011 6:19 AM                                                                                                                                      Lette001.pdf                                      Attorney-Client;Work-
                                                                                                                                                                                                                                                          Product                 Attachment from
                                                                                                                                                                                                                                                                                  Galveston County attorney
                                                                                                                                                                                                                                                                                  to Galveston County Legal
                                                                                                                                                                                                                                                                                  Liaison letter from
                                                                                                                                                                                                                                                                                  Department of Justice
                                                                                                                                                                                                                                                                                  requesting information
                                                                                                                                                                                                                                                                                  regarding the 2011
                                                                                                                                                                                                                                                                                  redistricting plan for the
                                                                                                                                                                                                                                                                                  Commissioners Court.
22       Email        8/22/2012 12:25 PM        8/22/2012 12:25 PM FW: Voting Precincts      House of Representatives jnixon@bmpllp.com        Fitzgerald, Mike         Henry, Mark                     FW Voting Precincts                               Attorney-Client         Communica ion from
                                                                   (Splits)                  Splits.xls;2012 vo ing,                           <Mike.Fitzgerald@co.galv <Mark.Henry@co.galvesto         (Splits).msg                                                              Galveston County GIS
                                                                                             commissioner precincts                            eston.tx.us>             n.tx.us>                                                                                                  Engineer to redistricting
                                                                                             (splits).xlsx;PCT-BY-                                                                                                                                                                counsel for legal review re:
                                                                                             COMM-04.xls;2012 Voting                                                                                                                                                              commissioner court
                                                                                             Precincts, Draft.xlsx                                                                                                                                                                precinct splits, vo ing
                                                                                                                                                                                                                                                                                  precinct splits, and draft
                                                                                                                                                                                                                                                                                  scenario to resolve the
                                                                                                                                                                                                                                                                                  splits.
23       Excel        8/22/2012 12:25 PM        8/22/2012 11:31 AM                                                                                                                                      2012 voting,             sigler_n                 Attorney-Client         Attachment included in
                                                                                                                                                                                                        commissioner precincts                                                    communication from
                                                                                                                                                                                                        (splits).xlsx                                                             Galveston County GIS
                                                                                                                                                                                                                                                                                  Engineer to redistricting
                                                                                                                                                                                                                                                                                  counsel for legal review re:
                                                                                                                                                                                                                                                                                  commissioner court
                                                                                                                                                                                                                                                                                  precinct splits.
24       Excel        8/22/2012 12:25 PM        8/22/2012 11:37 AM                                                                                                                                      2012 Voting Precincts,   sigler_n                 Attorney-Client         Attachment included in
                                                                                                                                                                                                        Draft.xlsx                                                                communication from
                                                                                                                                                                                                                                                                                  Galveston County GIS
                                                                                                                                                                                                                                                                                  Engineer to redistricting
                                                                                                                                                                                                                                                                                  counsel for legal review re:
                                                                                                                                                                                                                                                                                  voting precinct splits.
25       Excel        8/22/2012 12:25 PM        8/22/2012 11:34 AM                                                                                                                                      House of Representatives Information Technology   Attorney-Client
                                                                                                                                                                                                        Splits.xls                                                                Attachment included in
                                                                                                                                                                                                                                                                                  communication from
                                                                                                                                                                                                                                                                                  Galveston County GIS
                                                                                                                                                                                                                                                                                  Engineer to redistricting
                                                                                                                                                                                                                                                                                  counsel for legal review re:
                                                                                                                                                                                                                                                                                  split voter precincts in
                                                                                                                                                                                                                                                                                  House of Representatives
                                                                                                                                                                                                                                                                                  Proposal.
26       Excel        8/22/2012 12:25 PM         9/27/2001 2:24 PM                                                                                                                                      PCT-BY-COMM-04.xls       HOLCOM_P                 Attorney-Client         Attachment included in
                                                                                                                                                                                                                                                                                  communication from
                                                                                                                                                                                                                                                                                  Galveston County GIS
                                                                                                                                                                                                                                                                                  Engineer to redistricting
                                                                                                                                                                                                                                                                                  counsel for legal review re:
                                                                                                                                                                                                                                                                                  proposed resolution of
                                                                                                                                                                                                                                                                                  splits.
27       Email        12/19/2013 3:28 PM        12/19/2013 3:28 PM Petteway                  No ice of Expiration Of   Nixon, Joe              Willey, Barry            Boemer, Bob                     Petteway.msg                                      Attorney-Client;Work-   Communica ion from
                                                                                             Consent                   <jnixon@bmpllp.com>;Tre <Barry.Willey@co.galvest <Bob.Boemer@co.galvest                                                            Product                 Galveston County
                                                                                             Decree.pdf;Consent        y Trainor               on.tx.us>                on.tx.us>                                                                                                 Attorney, copying another
                                                                                             Decree.pdf                <ttrainor@bmpllp.com>                                                                                                                                      Galveston County
                                                                                                                                                                                                                                                                                  Attorney to redistricting
                                                                                                                                                                                                                                                                                  counsel re: the 2007
                                                                                                                                                                                                                                                                                  consent decree in U.S. v.
                                                                                                                                                                                                                                                                                  Galveston County and
                                                                                                                                                                                                                                                                                  providing redistricting
                                                                                                                                                                                                                                                                                  counsel with explanation
                                                                                                                                                                                                                                                                                  of allega ions made in that
                                                                                                                                                                                                                                                                                  case.




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         Type
28       Pdf          12/19/2013 3:28 PM        12/19/2013 3:22 PM                                                                                                                                   Consent Decree.pdf                 Attorney-Client;Work-       Attachment to
                                                                                                                                                                                                                                        Product                     communication from
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    Attorney to redistricting
                                                                                                                                                                                                                                                                    counsel re: the filed
                                                                                                                                                                                                                                                                    consent decree.
29       Pdf          12/19/2013 3:28 PM        12/19/2013 3:22 PM                                                                                                                                   Notice of Expiration Of            Attorney-Client;Work-       Attachment to
                                                                                                                                                                                                     Consent Decree.pdf                 Product                     communication from
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    Attorney to redistricting
                                                                                                                                                                                                                                                                    counsel containing the
                                                                                                                                                                                                                                                                    filed notice of expiration of
                                                                                                                                                                                                                                                                    consent decree.
30       Email        12/19/2013 5:58 PM        12/19/2013 5:58 PM Re: Petteway                                   Willey, Barry            Nixon, Joe                                                Re Petteway.msg                    Attorney-Client;Work-       Communica ion from
                                                                                                                  <Barry.Willey@co.galvest <jnixon@bmpllp.com>                                                                          Product                     redistricting counsel to
                                                                                                                  on.tx.us>                                                                                                                                         Galveston County attorney
                                                                                                                                                                                                                                                                    with follow-up questions
                                                                                                                                                                                                                                                                    re: consent decree
                                                                                                                                                                                                                                                                    litigation.
31       Email        12/20/2013 8:29 AM        12/20/2013 8:29 AM RE: Petteway                                   Nixon, Joe                 Willey, Barry            Boemer, Bob                    RE Petteway.msg                    Attorney-Client;Work-
                                                                                                                  <jnixon@bmpllp.com>        <Barry.Willey@co.galvest <Bob.Boemer@co.galvest                                            Product                     Communica ion from
                                                                                                                                             on.tx.us>                on.tx.us>                                                                                     Galveston County
                                                                                                                                                                                                                                                                    Attorney, copying another
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    Attorney, to redistricting
                                                                                                                                                                                                                                                                    counsel answering
                                                                                                                                                                                                                                                                    redistricting counsel's
                                                                                                                                                                                                                                                                    follow-up questions.
32       Email        12/27/2016 1:38 PM        12/27/2016 1:38 PM FW: EEOC                  460-2017-            Willey, Barry               Boemer, Bob                                            FW EEOC.msg                        Attorney-Client;PII;Work-   Communica ion from
                                                                                             00745.York.F5.pdf    <Barry.Willey@co.galvest <Bob.Boemer@co.galvest                                                                       Product                     Galveston County
                                                                                                                  on.tx.us>;Aguillon, Francis on.tx.us>                                                                                                             Attorney to another
                                                                                                                  <Francis.Aguillon@co.gal                                                                                                                          Galveston County
                                                                                                                  veston.tx.us>                                                                                                                                     Attorney and Galveston
                                                                                                                                                                                                                                                                    County Legal Assistant re:
                                                                                                                                                                                                                                                                    fact-finding
                                                                                                                                                                                                                                                                    communications with
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    employee re: pending
                                                                                                                                                                                                                                                                    EEOC compliant.
33       Pdf          12/27/2016 1:38 PM        12/27/2016 9:42 AM                                                                                                                                   460-2017-                          Attorney-Client;PII;Work-   Attachment (copy of
                                                                                                                                                                                                     00745.York.F5.pdf                  Product                     EEOC Complaint) in
                                                                                                                                                                                                                                                                    communication from
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    Attorney to another
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    Attorney and Galveston
                                                                                                                                                                                                                                                                    County Legal Assistant re:
                                                                                                                                                                                                                                                                    fact-finding
                                                                                                                                                                                                                                                                    communications with
                                                                                                                                                                                                                                                                    Galveston County
                                                                                                                                                                                                                                                                    employee re: pending
                                                                                                                                                                                                                                                                    EEOC complaint.
34       Email         1/3/2017 11:20 AM         1/3/2017 11:20 AM RE: Notice of Charge of                        Branch, Katherine          Willey, Barry                                           RE Notice of Charge of             Attorney-Client;Work-
                                                                   Discrimination                                 <Katherine.Branch@co.ga    </O=EXCHANGELABS/O                                      Discrimination msg                 Product                     Communica ion from
                                                                                                                  lveston.tx.us>;Boemer,     U=EXCHANGE                                                                                                             Galveston County
                                                                                                                  Bob                        ADMINISTRATIVE                                                                                                         Attorney to another
                                                                                                                  <Bob.Boemer@co.galvest     GROUP                                                                                                                  Galveston County
                                                                                                                  on.tx.us>                  (FYDIBOHF23SPDLT)/CN                                                                                                   Attorney and Galveston
                                                                                                                                             =RECIPIENTS/CN=D469                                                                                                    County Legal Assistant
                                                                                                                                             7108C2EF4375902F3919                                                                                                   and Galveston County HR
                                                                                                                                             F53E707A-WILLEY,                                                                                                       employee re: response to
                                                                                                                                             BAR>                                                                                                                   EEOC notice of complaint.
35       Email         1/3/2017 11:33 AM         1/3/2017 11:33 AM RE: Notice of Charge of                        Willey, Barry                                                                      RE Notice of Charge of             Attorney-Client;Work-       Communica ion from
                                                                   Discrimination                                 <Barry.Willey@co.galvest                                                           Discrimination msg                 Product                     Galveston County
                                                                                                                  on.tx.us>;Boemer, Bob                                                                                                                             Attorney to another
                                                                                                                  <Bob.Boemer@co.galvest                                                                                                                            Galveston County
                                                                                                                  on.tx.us>                                                                                                                                         Attorney and Galveston
                                                                                                                                                                                                                                                                    County Legal Assistant re:
                                                                                                                                                                                                                                                                    response to EEOC notice
                                                                                                                                                                                                                                                                    of complaint.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                 Plog Attachment Names To                         From                    CC               BCC   Filename                  Author   Privilege Tags              Privilege Note
         Type
36       Email         1/3/2017 11:33 AM         1/3/2017 11:33 AM RE: Notice of Charge of                         Willey, Barry            Branch, Katherine                                RE Notice of Charge of             Attorney-Client;Work-
                                                                   Discrimination                                  <Barry.Willey@co.galvest <Katherine.Branch@co.ga                          Discrimination msg                 Product                     Communica ion from
                                                                                                                   on.tx.us>;Boemer, Bob    lveston.tx.us>                                                                                                  Galveston County
                                                                                                                   <Bob.Boemer@co.galvest                                                                                                                   Attorney to another
                                                                                                                   on.tx.us>                                                                                                                                Galveston County
                                                                                                                                                                                                                                                            Attorney and Galveston
                                                                                                                                                                                                                                                            County Legal Assistant
                                                                                                                                                                                                                                                            and Galveston County HR
                                                                                                                                                                                                                                                            employee re: response to
                                                                                                                                                                                                                                                            EEOC notice of complaint.
37       Email         1/3/2017 11:33 AM         1/3/2017 11:33 AM RE: Notice of Charge of                         Willey, Barry           Branch, Katherine                                 RE Notice of Charge of             Attorney-Client;Work-
                                                                   Discrimination                                  <Barry.Willey@co.galvest</O=EXCHANGELABS/O                                Discrimination msg                 Product
                                                                                                                   on.tx.us>;Boemer, Bob   U=EXCHANGE
                                                                                                                   <Bob.Boemer@co.galvest  ADMINISTRATIVE                                                                                                   Communica ion from
                                                                                                                   on.tx.us>               GROUP                                                                                                            Galveston County attorney
                                                                                                                                           (FYDIBOHF23SPDLT)/CN                                                                                             to ano her Galveston
                                                                                                                                           =RECIPIENTS/CN=23C0                                                                                              County Attorney regarding
                                                                                                                                           D966F05249A8979076C8                                                                                             the county's response to
                                                                                                                                           AA61575A-BRANCH,                                                                                                 an EEOC notice of
                                                                                                                                           KAT>                                                                                                             complaint.
38       Email         1/3/2017 11:40 AM         1/3/2017 11:40 AM FW: Notice of Charge of   eeoc_color_seal36785399 Moore, Dan            Willey, Barry        Bozeman, Kelly               FW Notice of Charge of             Attorney-Client;PII;Work-
                                                                   Discrimination (Tiffany   6183098699eeoc_color_s <Dan.Moore@co.galvesto </O=EXCHANGELABS/O <Kelly.Bozeman@co.galv         Discrimination (Tiffany            Product
                                                                   Burgess)                  eal;460-2017-            n.tx.us>             U=EXCHANGE           eston.tx.us>                 Burgess) msg                                                   Communica ion from
                                                                                             00873.Burgess.F5.pdf;Not                      ADMINISTRATIVE                                                                                                   Galveston County
                                                                                             iceOfCharge- Burgess.pdf                      GROUP                                                                                                            Attorney to another
                                                                                                                                           (FYDIBOHF23SPDLT)/CN                                                                                             Galveston County
                                                                                                                                           =RECIPIENTS/CN=D469                                                                                              Attorney and Galveston
                                                                                                                                           7108C2EF4375902F3919                                                                                             County Legal Assistant re:
                                                                                                                                           F53E707A-WILLEY,                                                                                                 response to EEOC notice
                                                                                                                                           BAR>                                                                                                             of complaint.
39       Image         1/3/2017 11:40 AM         1/3/2017 11:40 AM                                                                                                                           eeoc_color_seal36785399            Attorney-Client;PII;Work-
                                                                                                                                                                                             6183098699eeoc_color_s             Product                     EEOC emblem attached
                                                                                                                                                                                             eal                                                            to privileged email.
40       Pdf           1/3/2017 11:40 AM         1/3/2017 11:38 AM                                                                                                                           460-2017-                          Attorney-Client;PII;Work-   Attachment contained in
                                                                                                                                                                                             00873.Burgess.F5.pdf               Product                     communication from
                                                                                                                                                                                                                                                            Galveston County
                                                                                                                                                                                                                                                            Attorney to Galveston
                                                                                                                                                                                                                                                            County employee re:
                                                                                                                                                                                                                                                            seeking information about
                                                                                                                                                                                                                                                            pending EEOC Complaint.
                                                                                                                                                                                                                                                            Attachment is the EEOC
                                                                                                                                                                                                                                                            Complaint.
41       Pdf           1/3/2017 11:40 AM         1/3/2017 11:38 AM                                                                                                                           NoticeOfCharge-           sshay    Attorney-Client;PII;Work-   Attachment contained in
                                                                                                                                                                                             Burgess.pdf                        Product                     communication from
                                                                                                                                                                                                                                                            Galveston County
                                                                                                                                                                                                                                                            Attorney to Galveston
                                                                                                                                                                                                                                                            County employee re:
                                                                                                                                                                                                                                                            seeking information about
                                                                                                                                                                                                                                                            pending EEOC Complaint.
                                                                                                                                                                                                                                                            Attachment is the EEOC
                                                                                                                                                                                                                                                            Notice of Charge of
                                                                                                                                                                                                                                                            Discrimination.
42       Email          1/3/2017 2:12 PM          1/3/2017 2:12 PM RE: Notice of Charge of                         Willey, Barry            Bozeman, Kelly                                   RE Notice of Charge of             Attorney-Client;Work-       Communica ion from
                                                                   Discrimination (Tiffany                         <Barry.Willey@co.galvest <Kelly.Bozeman@co.galv                           Discrimination (Tiffany            Product                     Galveston County
                                                                   Burgess)                                        on.tx.us>                eston.tx.us>                                     Burgess) msg                                                   employee to Galveston
                                                                                                                                                                                                                                                            County attorney re:
                                                                                                                                                                                                                                                            informa ion for providing a
                                                                                                                                                                                                                                                            response to EEOC
                                                                                                                                                                                                                                                            Complaint.
43       Email          1/3/2017 4:04 PM          1/3/2017 4:04 PM RE: Notice of Charge of                         Willey, Barry            Bozeman, Kelly                                   RE Notice of Charge of             Attorney-Client;Work-
                                                                   Discrimination (Tiffany                         <Barry.Willey@co.galvest <Kelly.Bozeman@co.galv                           Discrimination (Tiffany            Product                     Communica ion from
                                                                   Burgess)                                        on.tx.us>                eston.tx.us>                                     Burgess) msg                                                   Galveston County
                                                                                                                                                                                                                                                            employee to Galveston
                                                                                                                                                                                                                                                            County Attorney re:
                                                                                                                                                                                                                                                            meeting to discuss
                                                                                                                                                                                                                                                            ongoing EEOC Complaint.




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                                                                                                Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 7 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject               Plog Attachment Names To                           From                      CC                    BCC   Filename                    Author                   Privilege Tags          Privilege Note
         Type
44       Email          2/8/2018 7:00 PM          2/8/2018 7:00 PM Position                Position Statement        Rose, Derreck          West, Beverly           Branch, Katherine               Position                                             Attorney-Client;Work-   Communica ion from
                                                                   Statement.coverletter   Exhibits.pdf;Position     <Derreck.Rose@co.galve <Beverly.West@galveston <Katherine.Branch@galve         Statement.coverletter.msg                            Product                 Galveston County
                                                                                           Statement.020918.docx;P ston.tx.us>              countytx.gov>           stoncountytx.gov>                                                                                            Attorney to Galveston
                                                                                           osi ion                                                                                                                                                                               County Constable with a
                                                                                           Statement.coverletter doc                                                                                                                                                             copy to Galveston County
                                                                                           x                                                                                                                                                                                     HR employee re: draft
                                                                                                                                                                                                                                                                                 responses to EEOC
                                                                                                                                                                                                                                                                                 Complaint and asking
                                                                                                                                                                                                                                                                                 client to review.
45       Pdf            2/8/2018 7:00 PM          2/8/2018 6:51 PM                                                                                                                                  Position Statement                                   Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                    Exhibits.pdf                                         Product                 communication from
                                                                                                                                                                                                                                                                                 Galveston County
                                                                                                                                                                                                                                                                                 Attorney to Galveston
                                                                                                                                                                                                                                                                                 County Constable with a
                                                                                                                                                                                                                                                                                 copy to Galveston County
                                                                                                                                                                                                                                                                                 HR employee re: draft
                                                                                                                                                                                                                                                                                 responses to EEOC
                                                                                                                                                                                                                                                                                 Complaint and asking
                                                                                                                                                                                                                                                                                 client to review.
                                                                                                                                                                                                                                                                                 Attachment is exhibits for
                                                                                                                                                                                                                                                                                 the draft response to
                                                                                                                                                                                                                                                                                 EEOC Complaint for client
                                                                                                                                                                                                                                                                                 to review.
46       Word           2/8/2018 7:00 PM          2/8/2018 6:53 PM                                                                                                                                  Position                    Information Technology   Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                    Statement 020918.docx                                Product                 communication from
                                                                                                                                                                                                                                                                                 Galveston County
                                                                                                                                                                                                                                                                                 Attorney to Galveston
                                                                                                                                                                                                                                                                                 County Constable with a
                                                                                                                                                                                                                                                                                 copy to Galveston County
                                                                                                                                                                                                                                                                                 HR employee re: draft
                                                                                                                                                                                                                                                                                 responses to EEOC
                                                                                                                                                                                                                                                                                 Complaint and asking
                                                                                                                                                                                                                                                                                 client to review.
                                                                                                                                                                                                                                                                                 Attachment is draft
                                                                                                                                                                                                                                                                                 response to EEOC
                                                                                                                                                                                                                                                                                 Complaint for client
                                                                                                                                                                                                                                                                                 review.
47       Word           2/8/2018 7:00 PM          2/8/2018 6:53 PM                                                                                                                                  Position                  Information Technology     Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                    Statement.coverletter.doc                            Product                 communication from
                                                                                                                                                                                                    x                                                                            Galveston County
                                                                                                                                                                                                                                                                                 Attorney to Galveston
                                                                                                                                                                                                                                                                                 County Constable with a
                                                                                                                                                                                                                                                                                 copy to Galveston County
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                                                                                                                                                                                                                                                                                 client to review.
                                                                                                                                                                                                                                                                                 Attachment is draft cover
                                                                                                                                                                                                                                                                                 letter to response to
                                                                                                                                                                                                                                                                                 EEOC Complaint for client
                                                                                                                                                                                                                                                                                 review.
48       Email         2/9/2018 11:02 AM         2/9/2018 11:02 AM Williams Position       Position                    Rose, Derreck           West, Beverly                                        Williams Position                                    Attorney-Client;Work-   Communica ion from
                                                                   Statement               Statement.020918.docx;P     <Derreck.Rose@co.galve <Beverly.West@galveston                               Statement msg                                        Product                 Galveston County
                                                                                           osi ion Statement           ston.tx.us>;Branch,     countytx.gov>                                                                                                                     Attorney to Galveston
                                                                                           Exhibits.pdf;Position       Katherine                                                                                                                                                 County Constable with a
                                                                                           Statement.coverletter doc   <Katherine.Branch@galve                                                                                                                                   copy to Galveston County
                                                                                           x                           stoncountytx.gov>                                                                                                                                         HR employee re: draft
                                                                                                                                                                                                                                                                                 responses to EEOC
                                                                                                                                                                                                                                                                                 Complaint and asking
                                                                                                                                                                                                                                                                                 client to review.




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         Type
49       Word          2/9/2018 11:02 AM          2/8/2018 6:53 PM                                                                                                                              Position                  Information Technology   Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                Statement.coverletter.doc                          Product                 communication from
                                                                                                                                                                                                x                                                                          Galveston County
                                                                                                                                                                                                                                                                           Attorney to Galveston
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                                                                                                                                                                                                                                                                           copy to Galveston County
                                                                                                                                                                                                                                                                           HR employee re: draft
                                                                                                                                                                                                                                                                           responses to EEOC
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                                                                                                                                                                                                                                                                           client to review.
                                                                                                                                                                                                                                                                           Attachment is draft cover
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                                                                                                                                                                                                                                                                           EEOC Complaint for client
                                                                                                                                                                                                                                                                           review.
50       Pdf           2/9/2018 11:02 AM          2/8/2018 6:51 PM                                                                                                                              Position Statement                                 Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                Exhibits.pdf                                       Product                 communication from
                                                                                                                                                                                                                                                                           Galveston County
                                                                                                                                                                                                                                                                           Attorney to Galveston
                                                                                                                                                                                                                                                                           County Constable with a
                                                                                                                                                                                                                                                                           copy to Galveston County
                                                                                                                                                                                                                                                                           HR employee re: draft
                                                                                                                                                                                                                                                                           responses to EEOC
                                                                                                                                                                                                                                                                           Complaint and asking
                                                                                                                                                                                                                                                                           client to review.
                                                                                                                                                                                                                                                                           Attachment is exhibits for
                                                                                                                                                                                                                                                                           the draft response to
                                                                                                                                                                                                                                                                           EEOC Complaint for client
                                                                                                                                                                                                                                                                           to review.
51       Word          2/9/2018 11:02 AM          2/8/2018 6:53 PM                                                                                                                              Position                 Information Technology    Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                Statement 020918.docx                              Product                 communication from
                                                                                                                                                                                                                                                                           Galveston County
                                                                                                                                                                                                                                                                           Attorney to Galveston
                                                                                                                                                                                                                                                                           County Constable with a
                                                                                                                                                                                                                                                                           copy to Galveston County
                                                                                                                                                                                                                                                                           HR employee re: draft
                                                                                                                                                                                                                                                                           responses to EEOC
                                                                                                                                                                                                                                                                           Complaint and asking
                                                                                                                                                                                                                                                                           client to review.
                                                                                                                                                                                                                                                                           Attachment is draft
                                                                                                                                                                                                                                                                           response to EEOC
                                                                                                                                                                                                                                                                           Complaint for client to
                                                                                                                                                                                                                                                                           review.
52       Email         1/25/2021 2:57 PM         1/25/2021 2:57 PM Commissioners and                              Henry, Mark             Paul Ready                                            Commissioners and                                  Attorney-Client;Work-   Communica ion from
                                                                   redistricting                                  <Mark.Henry@co.galvesto <paul@ready.law>                                      redistricting.msg                                  Product                 Galveston County General
                                                                                                                  n.tx.us>                                                                                                                                                 Counsel to Judge Henry
                                                                                                                                                                                                                                                                           responding to legal inquiry
                                                                                                                                                                                                                                                                           about Commissioners
                                                                                                                                                                                                                                                                           serving under new
                                                                                                                                                                                                                                                                           precinct lines.
53       Email         5/20/2021 2:06 PM         5/20/2021 2:06 PM RE: Asked and Answered!                        Paul Ready             Drummond, Tyler        Johnson, Cheryl E               RE Asked and                                       Attorney-Client;Work-   Communica ion from
                                                                                                                  <paul@ready.law>       <Tyler.Drummond@co.gal <Cheryl.E.Johnson@co.g          Answered!.msg                                      Product                 Judge Henry's Chief of
                                                                                                                                         veston.tx.us>          alveston.tx.us>                                                                                            Staff to Galveston County
                                                                                                                                                                                                                                                                           General Counsel, with a
                                                                                                                                                                                                                                                                           copy to Galveston County
                                                                                                                                                                                                                                                                           Tax Assessor re:
                                                                                                                                                                                                                                                                           requesting update on
                                                                                                                                                                                                                                                                           redistricting counsel's
                                                                                                                                                                                                                                                                           progress.
54       Email         5/20/2021 2:21 PM         5/20/2021 2:21 PM Re: Asked and Answered!                        Drummond, Tyler        Paul Ready              Johnson, Cheryl E              Re Asked and                                       Attorney-Client;Work-
                                                                                                                  <Tyler.Drummond@co gal <paul@ready.law>        <Cheryl.E.Johnson@co.g         Answered!.msg                                      Product                 Communica ion from
                                                                                                                  veston.tx.us>                                  alveston.tx.us>                                                                                           Galveston County General
                                                                                                                                                                                                                                                                           Counsel to Judge Henry's
                                                                                                                                                                                                                                                                           Chief of Staff revealing
                                                                                                                                                                                                                                                                           redistricting counsel's
                                                                                                                                                                                                                                                                           legal strategy concerning
                                                                                                                                                                                                                                                                           redistricting and how that
                                                                                                                                                                                                                                                                           legal strategy impacts the
                                                                                                                                                                                                                                                                           timing of redistricting.




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         Type
55       Email         5/20/2021 2:29 PM         5/20/2021 2:29 PM RE: Asked and Answered!                              Paul Ready             Drummond, Tyler        Johnson, Cheryl E              RE Asked and                  Attorney-Client;Work-   Communica ion from
                                                                                                                        <paul@ready.law>       <Tyler.Drummond@co.gal <Cheryl.E.Johnson@co.g         Answered!.msg                 Product                 Judge Henry's Chief of
                                                                                                                                               veston.tx.us>          alveston.tx.us>                                                                      Staff to Galveston County
                                                                                                                                                                                                                                                           General Counsel re: follow-
                                                                                                                                                                                                                                                           up question concerning
                                                                                                                                                                                                                                                           redistricting counsel's
                                                                                                                                                                                                                                                           legal strategy concerning
                                                                                                                                                                                                                                                           redistricting.
56       Email         5/20/2021 3:25 PM         5/20/2021 3:25 PM FW: Asked and                                        CPA Shawn A. Johnson     Johnson, Cheryl E                                   FW Asked and                  Attorney-Client;Work-
                                                                   Answered!                                            <sjohnson@burfordperry.c </O=EXCHANGELABS/O                                  Answered!.msg                 Product
                                                                                                                        om>                      U=EXCHANGE
                                                                                                                                                 ADMINISTRATIVE                                                                                            Correspondence from
                                                                                                                                                 GROUP                                                                                                     Galveston County Tax
                                                                                                                                                 (FYDIBOHF23SPDLT)/CN                                                                                      Assessor to attorney
                                                                                                                                                 =RECIPIENTS/CN=0122E                                                                                      seeking a second legal
                                                                                                                                                 FF2BE614A50B727186FE                                                                                      opinion re: redistricting
                                                                                                                                                 F73AC62-JOHNSON,                                                                                          counsel's legal strategy
                                                                                                                                                 CH>                                                                                                       and legal opinions.
57       Email         5/20/2021 3:56 PM         5/20/2021 3:56 PM Re: Asked and Answered!                              Drummond, Tyler          Paul Ready           Johnson, Cheryl E              Re Asked and                  Attorney-Client;Work-
                                                                                                                        <Tyler.Drummond@co gal <paul@ready.law>       <Cheryl.E.Johnson@co.g         Answered!.msg                 Product                 Communica ion from
                                                                                                                        veston.tx.us>                                 alveston.tx.us>                                                                      Galveston County General
                                                                                                                                                                                                                                                           Counsel to Judge Henry's
                                                                                                                                                                                                                                                           Chief of Staff responding
                                                                                                                                                                                                                                                           to Mr. Drummond's
                                                                                                                                                                                                                                                           question re: redistricting
                                                                                                                                                                                                                                                           counsel's legal strategy.
58       Email         9/18/2021 6:55 PM         9/18/2021 6:55 PM Redistricting                                        Paul Ready             Drummond, Tyler                                       Redistricting .msg            Attorney-Client;Work-
                                                                                                                        <paul@ready.law>       </O=EXCHANGELABS/O                                                                  Product                 Communica ion from
                                                                                                                                               U=EXCHANGE                                                                                                  Judge Henry's Chief of
                                                                                                                                               ADMINISTRATIVE                                                                                              Staff to Galveston County
                                                                                                                                               GROUP                                                                                                       General Counsel re:
                                                                                                                                               (FYDIBOHF23SPDLT)/CN                                                                                        concerns about
                                                                                                                                               =RECIPIENTS/CN=2C5F                                                                                         redistricting legal strategy
                                                                                                                                               9C72E05E4D9E8437FD5                                                                                         in relation to census data,
                                                                                                                                               99C045B6E-                                                                                                  and legal questions about
                                                                                                                                               DRUMMOND, T>                                                                                                redistricting's interplay with
                                                                                                                                                                                                                                                           county public hearing
                                                                                                                                                                                                                                                           requirements.
59       Email        10/15/2021 1:24 PM        10/15/2021 1:24 PM Re: Galveston                                        Jason Torchinsky        tom@bryangeodemo.com                                 Re Galveston.msg              Attorney-Client;Work-
                                                                                                                        <jtorchinsky@holtzmanvo                                                                                    Product                 Communica ion from map-
                                                                                                                        gel.com>;Phil Gordon                                                                                                               drawer to redistricting
                                                                                                                        <pgordon@holtzmanvogel                                                                                                             counsel re: preparation of
                                                                                                                        .com>                                                                                                                              first draft map for legal
                                                                                                                                                                                                                                                           review and posing
                                                                                                                                                                                                                                                           questions re: redistricting
                                                                                                                                                                                                                                                           constitutional
                                                                                                                                                                                                                                                           requirements and
                                                                                                                                                                                                                                                           traditional redistric ing
                                                                                                                                                                                                                                                           criteria.
60       Email        10/15/2021 1:28 PM        10/15/2021 1:28 PM Re: Galveston                                        tom@bryangeodemo.com Phil Gordon           Jason Torchinsky                  Re Galveston.msg              Attorney-Client;Work-
                                                                                                                                             <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo                                         Product
                                                                                                                                             l.com>                gel.com>                                                                                Communica ion from
                                                                                                                                                                                                                                                           redistricting counsel to
                                                                                                                                                                                                                                                           map-drawer responding to
                                                                                                                                                                                                                                                           questions re: cons itutional
                                                                                                                                                                                                                                                           requirements for
                                                                                                                                                                                                                                                           redistricting and tradi ional
                                                                                                                                                                                                                                                           redistricting criteria.
61       Email        10/17/2021 5:05 PM        10/17/2021 5:05 PM Re: Galveston             Galveston Optimal D        Jason Torchinsky        tom@bryangeodemo.com                                 0008310.eml;Re                Attorney-Client;Work-
                                                                                             Plan pdf;Galveston Min     <jtorchinsky@holtzmanvo                                                      Galveston.msg                 Product                 Communica ion from map-
                                                                                             Change                     gel.com>;Phil Gordon                                                                                                               drawer to redistricting
                                                                                             Plan pdf;Galveston_Analy   <pgordon@HoltzmanVoge                                                                                                              counsel with first drafts of
                                                                                             sis                        l.com>;Dale Oldham                                                                                                                 redistricting plan sent to
                                                                                             10_17_21.xlsx;Galveston    <dloesq@aol.com>                                                                                                                   redistricting counsel for
                                                                                             Original Plan.pdf                                                                                                                                             legal review.




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         Type
62       Excel        10/17/2021 5:05 PM        10/17/2021 5:02 PM                                                                                                        Galveston_Analysis      thomas bryan   Attorney-Client;Work-
                                                                                                                                                                          10_17_21 xlsx                          Product                 Communica ion from map-
                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                         counsel with first drafts of
                                                                                                                                                                                                                                         redistricting plan sent to
                                                                                                                                                                                                                                         redistricting counsel for
                                                                                                                                                                                                                                         legal review: attachment,
                                                                                                                                                                                                                                         excel spreadsheet with
                                                                                                                                                                                                                                         analysis and data of first
                                                                                                                                                                                                                                         draft of redistricting plan to
                                                                                                                                                                                                                                         assist in providing legal
                                                                                                                                                                                                                                         advice.
63       Pdf          10/17/2021 5:05 PM        12/31/9999 6:00 PM                                                                                                        Galveston Optimal D                    Attorney-Client;Work-
                                                                                                                                                                          Plan.pdf                               Product                 Communica ion from map-
                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                         counsel with first drafts of
                                                                                                                                                                                                                                         redistricting plan sent to
                                                                                                                                                                                                                                         redistricting counsel for
                                                                                                                                                                                                                                         legal review: attachment,
                                                                                                                                                                                                                                         PDF image of draft plan to
                                                                                                                                                                                                                                         assist in the provision of
                                                                                                                                                                                                                                         legal analysis and opinion.
64       Pdf          10/17/2021 5:05 PM        12/31/9999 6:00 PM                                                                                                        Galveston Original                     Attorney-Client;Work-
                                                                                                                                                                          Plan.pdf                               Product                 Communica ion from map-
                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                         counsel with first drafts of
                                                                                                                                                                                                                                         redistricting plan sent to
                                                                                                                                                                                                                                         redistricting counsel for
                                                                                                                                                                                                                                         legal review: attachment,
                                                                                                                                                                                                                                         PDF image of Benchmark
                                                                                                                                                                                                                                         Plan to assist in the
                                                                                                                                                                                                                                         provision of legal analysis
                                                                                                                                                                                                                                         and opinion.
65       Pdf          10/17/2021 5:05 PM        12/31/9999 6:00 PM                                                                                                        Galveston Min Change                   Attorney-Client;Work-
                                                                                                                                                                          Plan.pdf                               Product                 Communica ion from map-
                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                         counsel with first drafts of
                                                                                                                                                                                                                                         redistricting plan sent to
                                                                                                                                                                                                                                         redistricting counsel for
                                                                                                                                                                                                                                         legal review: attachment,
                                                                                                                                                                                                                                         PDF image of draft plan to
                                                                                                                                                                                                                                         assist in the provision of
                                                                                                                                                                                                                                         legal analysis and opinion.
66       Email        10/19/2021 8:50 AM        10/19/2021 8:50 AM Galveston Deliverables   Galveston Optimal Geo    Dale Oldham        tom@bryangeodemo.com              0008337.eml;Galveston                  Attorney-Client;Work-
                                                                                            Plan 10_19.pdf;Galveston <dloesq@aol.com>                                     Deliverables.msg                       Product                 Communica ion from map-
                                                                                            Optimal D Plan                                                                                                                               drawer to redistricting
                                                                                            10_19.pdf;Galveston_Anal                                                                                                                     counsel with attached
                                                                                            ysis 10_17_21.xlsx                                                                                                                           PDF's of draft plans and
                                                                                                                                                                                                                                         analysis to assist in the
                                                                                                                                                                                                                                         provision of legal analysis
                                                                                                                                                                                                                                         and opinion.
67       Pdf          10/19/2021 8:50 AM        12/31/9999 6:00 PM                                                                                                        Galveston Optimal Geo                  Attorney-Client;Work-
                                                                                                                                                                          Plan 10_19.pdf                         Product                 Communica ion from map-
                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                         counsel with attached
                                                                                                                                                                                                                                         PDF's of draft plans and
                                                                                                                                                                                                                                         analysis to assist in the
                                                                                                                                                                                                                                         provision of legal analysis
                                                                                                                                                                                                                                         and opinion; attached PDF
                                                                                                                                                                                                                                         of draft plan to assist in
                                                                                                                                                                                                                                         the provision of legal
                                                                                                                                                                                                                                         analysis and opinion.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject         Plog Attachment Names To                    From                   CC   BCC   Filename                   Author         Privilege Tags          Privilege Note
         Type
68       Excel        10/19/2021 8:50 AM        10/19/2021 8:49 AM                                                                                                 Galveston_Analysis         thomas bryan   Attorney-Client;Work-
                                                                                                                                                                   10_17_21 xlsx                             Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached
                                                                                                                                                                                                                                     PDF's of draft plans and
                                                                                                                                                                                                                                     analysis to assist in the
                                                                                                                                                                                                                                     provision of legal analysis
                                                                                                                                                                                                                                     and opinion; attachment is
                                                                                                                                                                                                                                     analysis and data
                                                                                                                                                                                                                                     submitted to redistricting
                                                                                                                                                                                                                                     counsel to assist in the
                                                                                                                                                                                                                                     provision of legal analysis
                                                                                                                                                                                                                                     and opinion.
69       Pdf          10/19/2021 8:50 AM        12/31/9999 6:00 PM                                                                                                 Galveston Optimal D Plan                  Attorney-Client;Work-
                                                                                                                                                                   10_19.pdf                                 Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached
                                                                                                                                                                                                                                     PDF's of draft plans and
                                                                                                                                                                                                                                     analysis to assist in the
                                                                                                                                                                                                                                     provision of legal analysis
                                                                                                                                                                                                                                     and opinion; attached PDF
                                                                                                                                                                                                                                     of draft plan to assist in
                                                                                                                                                                                                                                     the provision of legal
                                                                                                                                                                                                                                     analysis and opinion.
70       Email        10/19/2021 9:18 AM        10/19/2021 9:18 AM Optimal D Map     Galveston Optimal D Plan Dale Oldham        tom@bryangeodemo.com              Optimal D                                 Attorney-Client;Work-
                                                                                     10_19.pdf                <dloesq@aol.com>                                     Map.msg;0008338.eml                       Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached
                                                                                                                                                                                                                                     PDF of draft plan to assist
                                                                                                                                                                                                                                     in the provision of legal
                                                                                                                                                                                                                                     analysis and opinion.
71       Pdf          10/19/2021 9:18 AM        12/31/9999 6:00 PM                                                                                                 Galveston Optimal D Plan                  Attorney-Client;Work-
                                                                                                                                                                   10_19.pdf                                 Product
                                                                                                                                                                                                                                     Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached
                                                                                                                                                                                                                                     PDF of draft plan to assist
                                                                                                                                                                                                                                     in the provision of legal
                                                                                                                                                                                                                                     analysis and opinion;
                                                                                                                                                                                                                                     attached PDF of draft plan
                                                                                                                                                                                                                                     to assist in the provision of
                                                                                                                                                                                                                                     legal analysis and opinion.
72       Email        10/19/2021 1:52 PM        10/19/2021 1:52 PM Updated table     Galveston_Analysis      Dale Oldham         tom@bryangeodemo.com              0008350.eml;Updated                       Attorney-Client;Work-
                                                                                     10_17_21.xlsx           <dloesq@aol.com>                                      table.msg                                 Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached data
                                                                                                                                                                                                                                     and analysis to assist in
                                                                                                                                                                                                                                     the provision of legal
                                                                                                                                                                                                                                     analysis and opinion.
73       Excel        10/19/2021 1:52 PM        10/19/2021 1:51 PM                                                                                                 Galveston_Analysis         thomas bryan   Attorney-Client;Work-
                                                                                                                                                                   10_17_21 xlsx                             Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached data
                                                                                                                                                                                                                                     and analysis to assist in
                                                                                                                                                                                                                                     the provision of legal
                                                                                                                                                                                                                                     analysis and opinion;
                                                                                                                                                                                                                                     attached Excel
                                                                                                                                                                                                                                     spreadsheet with data and
                                                                                                                                                                                                                                     analysis to assist in the
                                                                                                                                                                                                                                     provision of legal analysis
                                                                                                                                                                                                                                     and opinion.
74       Email        10/19/2021 3:04 PM        10/19/2021 3:04 PM Optimal Geo Map   Galveston Optimal Geo   Dale Oldham         tom@bryangeodemo.com              0008353.eml;Optimal Geo                   Attorney-Client;Work-
                                                                                     Plan 10_19.pdf          <dloesq@aol.com>                                      Map.msg                                   Product                 Communica ion from map-
                                                                                                                                                                                                                                     drawer to redistricting
                                                                                                                                                                                                                                     counsel with attached
                                                                                                                                                                                                                                     PDF of map to assist in
                                                                                                                                                                                                                                     the provision of legal
                                                                                                                                                                                                                                     analysis and opinion.




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         Type
75       Pdf          10/19/2021 3:04 PM        12/31/9999 6:00 PM                                                                                                             Galveston Optimal Geo                      Attorney-Client;Work-
                                                                                                                                                                               Plan 10_19.pdf                             Product                 Communica ion from map-
                                                                                                                                                                                                                                                  drawer to redistricting
                                                                                                                                                                                                                                                  counsel with attached
                                                                                                                                                                                                                                                  PDF of map to assist in
                                                                                                                                                                                                                                                  the provision of legal
                                                                                                                                                                                                                                                  analysis and opinion;
                                                                                                                                                                                                                                                  attached PDF of draft map
                                                                                                                                                                                                                                                  to assist in the provision of
                                                                                                                                                                                                                                                  legal analysis and opinion.
76       Email        10/22/2021 8:45 AM        10/22/2021 8:45 AM Please use this 10-22 file   Galveston_Analysis    Dale Oldham           tom@bryangeodemo.com               Please use this 10-22                      Attorney-Client;Work-
                                                                                                10_22_21.xlsx         <dloesq@aol.com>                                         file.msg;0008403.eml                       Product                 Communica ion between
                                                                                                                                                                                                                                                  map-drawer and
                                                                                                                                                                                                                                                  redistricting counsel re:
                                                                                                                                                                                                                                                  Zoom meeting on October
                                                                                                                                                                                                                                                  22, 2021 to discuss
                                                                                                                                                                                                                                                  updated redistricting data
                                                                                                                                                                                                                                                  and analysis to assist in
                                                                                                                                                                                                                                                  forming legal opinion and
                                                                                                                                                                                                                                                  providing analysis.
77       Excel        10/22/2021 8:45 AM        10/22/2021 8:44 AM                                                                                                             Galveston_Analysis        thomas bryan     Attorney-Client;Work-
                                                                                                                                                                               10_22_21 xlsx                              Product                 Communica ion between
                                                                                                                                                                                                                                                  map-drawer and
                                                                                                                                                                                                                                                  redistricting counsel re:
                                                                                                                                                                                                                                                  Zoom meeting on October
                                                                                                                                                                                                                                                  22, 2021 to discuss
                                                                                                                                                                                                                                                  updated redistricting data
                                                                                                                                                                                                                                                  and analysis to assist in
                                                                                                                                                                                                                                                  forming legal opinion and
                                                                                                                                                                                                                                                  providing analysis;
                                                                                                                                                                                                                                                  attachment: updated
                                                                                                                                                                                                                                                  redistricting data and
                                                                                                                                                                                                                                                  analysis from map-drawer
                                                                                                                                                                                                                                                  to counsel to assist in he
                                                                                                                                                                                                                                                  provision of legal analysis
                                                                                                                                                                                                                                                  and provision of legal
                                                                                                                                                                                                                                                  opinion.
78       Email        10/22/2021 4:46 PM        10/22/2021 4:46 PM Fwd: Current Voter Count Galveston County Voters   tom@bryangeodemo.com dloesq@aol.com;<dloesq              0014956.eml;Fwd Current                    Attorney-Client;Work-   Communica ion from
                                                                   by Precinct              by Precinct August                             @aol.com>                           Voter Count by                             Product                 redistricting counsel to
                                                                                            2021.xlsx                                                                          Precinct.msg                                                       map-drawer re: legal
                                                                                                                                                                                                                                                  analysis of voting
                                                                                                                                                                                                                                                  precincts in relation to
                                                                                                                                                                                                                                                  legal requirements for
                                                                                                                                                                                                                                                  voting precinct size.
79       Excel        10/22/2021 4:46 PM         8/24/2021 1:03 PM                                                                                                             Galveston County Voters   Bleyle, Angela   Attorney-Client;Work-
                                                                                                                                                                               by Precinct August                         Product                 Communica ion from
                                                                                                                                                                               2021.xlsx                                                          redistricting counsel to
                                                                                                                                                                                                                                                  map-drawer re: legal
                                                                                                                                                                                                                                                  analysis of voting
                                                                                                                                                                                                                                                  precincts in relation to
                                                                                                                                                                                                                                                  legal requirements for
                                                                                                                                                                                                                                                  voting precinct size;
                                                                                                                                                                                                                                                  attachment: "Registered
                                                                                                                                                                                                                                                  Voters by Commissioners
                                                                                                                                                                                                                                                  Precinct" and identifying
                                                                                                                                                                                                                                                  number of voters by vo ing
                                                                                                                                                                                                                                                  precinct.
80       Email        10/22/2021 4:54 PM        10/22/2021 4:54 PM Fw: Fwd: Current Voter       4288FFAB-0A7D-4FE7-   Phil Gordon           Thomas Bryan                       Fw Fwd Current Voter                       Attorney-Client;Work-
                                                                   Count by Precinct            B544-ED5F463F9235.png <pgordon@hvjt.law>    <tom@bryangeodemo.co               Count by Precinct.msg                      Product                 Communica ion from map-
                                                                                                                                            m>                                                                                                    drawer to redistricting
                                                                                                                                                                                                                                                  counsel, forwarding Mr.
                                                                                                                                                                                                                                                  Oldham's legal analysis of
                                                                                                                                                                                                                                                  voting precinct in relation
                                                                                                                                                                                                                                                  to voting precinct legal
                                                                                                                                                                                                                                                  requirements.
81       Image        10/22/2021 4:54 PM        12/31/9999 6:00 PM                                                                                                             4288FFAB-0A7D-4FE7-                        Attorney-Client;Work-
                                                                                                                                                                               B544-ED5F463F9235.png                      Product                 Attached icon to privileged
                                                                                                                                                                                                                                                  email.




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         Type
82       Email        10/25/2021 4:20 PM        10/25/2021 4:20 PM Galveston County maps                            Dale Oldham           Paul Ready              Veronica Van Horn               0008447.eml                                Attorney-Client;Work-
                                                                                                                    <dloesq@aol.com>      <paul@ready.law>        <veronica.vanhorn@co.ga                                                    Product                 Communica ion from
                                                                                                                                                                  lveston.tx.us>                                                                                     Galveston County General
                                                                                                                                                                                                                                                                     Counsel to redistricting
                                                                                                                                                                                                                                                                     counsel re: progress of
                                                                                                                                                                                                                                                                     work on drawing proposed
                                                                                                                                                                                                                                                                     Commissioners Court
                                                                                                                                                                                                                                                                     precinct maps.
83       Email       10/26/2021 12:41 PM       10/26/2021 12:41 PM Re: Current Voter Count                          tom@bryangeodemo.com; Paul Ready              Jason Torchinsky                0008460.eml;Re Current                     Attorney-Client;Work-   Communica ion from
                                                                   by Precinct                                      Dale Oldham           <paul@ready.law>        <jtorchinsky@holtzmanvo         Voter Count by                             Product                 Galveston County General
                                                                                                                    <dloesq@aol.com>                              gel.com>;Phil Gordon            Precinct.msg                                                       Counsel to redistricting
                                                                                                                                                                  <pgordon@holtzmanvogel                                                                             counsel and map-drawer
                                                                                                                                                                  .com>                                                                                              concerning legal
                                                                                                                                                                                                                                                                     requirements for what is
                                                                                                                                                                                                                                                                     needed for adoptable
                                                                                                                                                                                                                                                                     formats.
84       Email       10/26/2021 12:45 PM       10/26/2021 12:45 PM Fw: Current Voter Count                          Phil Gordon           Thomas Bryan                                            Fw Current Voter Count by                  Attorney-Client;Work-
                                                                   by Precinct                                      <pgordon@hvjt.law>    <tom@bryangeodemo.co                                    Precinct.msg                               Product                 Communica ion from map-
                                                                                                                                          m>                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                                                     counsel re: Galveston
                                                                                                                                                                                                                                                                     County General Counsel's
                                                                                                                                                                                                                                                                     communication
                                                                                                                                                                                                                                                                     concerning legal
                                                                                                                                                                                                                                                                     requirements for
                                                                                                                                                                                                                                                                     adoptable formats.
85       Email        10/26/2021 4:55 PM        10/26/2021 4:55 PM Re: Galveston Work                               tom@bryangeodemo.com Phil Gordon           Jason Torchinsky                   Re Galveston Work                          Attorney-Client;Work-   Communica ion from
                                                                   Products                                                              <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo            Products.msg;0008471.e                     Product                 redistricting counsel to
                                                                                                                                         l.com>                gel.com>;Dale Oldham               ml                                                                 map-drawer and copying
                                                                                                                                                               <dloesq@aol.com>                                                                                      redistricting counsel
                                                                                                                                                                                                                                                                     requesting information in
                                                                                                                                                                                                                                                                     specific format to assist in
                                                                                                                                                                                                                                                                     conducting legal analysis
                                                                                                                                                                                                                                                                     and forming legal
                                                                                                                                                                                                                                                                     opinions.
86       Email        10/26/2021 5:56 PM        10/26/2021 5:56 PM Re: Galveston Work        Galveston - Map 1      tom@bryangeodemo.com Phil Gordon           Jason Torchinsky                   Re Galveston Work                          Attorney-Client;Work-
                                                                   Products                  Precinct Inventory -                        <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo            Products.msg                               Product                 Communica ion from
                                                                                             10_26_21.docx                               l.com>                gel.com>;Dale Oldham                                                                                  redistricting counsel to
                                                                                                                                                               <dloesq@aol.com>                                                                                      map-drawer, copying other
                                                                                                                                                                                                                                                                     redistricting counsel re:
                                                                                                                                                                                                                                                                     revisions to draft Map 1
                                                                                                                                                                                                                                                                     precinct inventory to assist
                                                                                                                                                                                                                                                                     in providing legal advice
                                                                                                                                                                                                                                                                     and forming opinions.
87       Word         10/26/2021 5:56 PM        10/26/2021 5:55 PM                                                                                                                                Galveston - Map 1           thomas bryan   Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                  Precinct Inventory -                       Product                 communication from
                                                                                                                                                                                                  10_26_21 docx                                                      redistricting counsel to
                                                                                                                                                                                                                                                                     map-drawer, copying other
                                                                                                                                                                                                                                                                     redistricting counsel re:
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                                                                                                                                                                                                                                                                     precinct inventory.
                                                                                                                                                                                                                                                                     Attachment is a precinct
                                                                                                                                                                                                                                                                     inventory with edits
                                                                                                                                                                                                                                                                     necessary to assist in
                                                                                                                                                                                                                                                                     providing legal advice and
                                                                                                                                                                                                                                                                     forming opinions.
88       Email        10/26/2021 5:56 PM        10/26/2021 5:56 PM Re: Galveston Work        image001.jpg;Galveston - tom@bryangeodemo.com Phil Gordon           Jason Torchinsky                 0008473.eml                                Attorney-Client;Work-
                                                                   Products                  Map 1 Precinct Inventory -                    <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo                                                     Product                 Communica ion from
                                                                                             10_26_21.docx                                 l.com>                gel.com>;Dale Oldham                                                                                redistricting counsel to
                                                                                                                                                                 <dloesq@aol.com>                                                                                    map-drawer, copying other
                                                                                                                                                                                                                                                                     redistricting counsel re:
                                                                                                                                                                                                                                                                     revisions to draft Map 1
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89       Image        10/26/2021 5:56 PM        12/31/9999 6:00 PM                                                                                                                                image001.jpg                               Attorney-Client;Work-   HVBTJ Icon attached to
                                                                                                                                                                                                                                             Product                 privileged email.




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         Type
90       Word         10/26/2021 5:56 PM        10/26/2021 5:55 PM                                                                                                   Galveston - Map 1      thomas bryan   Attorney-Client;Work-   Attachment in
                                                                                                                                                                     Precinct Inventory -                  Product                 communication from
                                                                                                                                                                     10_26_21 docx                                                 redistricting counsel to
                                                                                                                                                                                                                                   map-drawer, copying other
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91       Word         10/26/2021 6:38 PM        10/26/2021 6:38 PM                                                                                                   Galveston - Map 1      thomas bryan   Attorney-Client;Work-   Draft precinct inventory
                                                                                                                                                                     Precinct Inventory -                  Product                 with redistricting counsel
                                                                                                                                                                     10_26_21 TB.docx                                              edits; revisions made to
                                                                                                                                                                                                                                   assist in the formulation
                                                                                                                                                                                                                                   and provision of legal
                                                                                                                                                                                                                                   advice.
92       Email        10/26/2021 6:40 PM        10/26/2021 6:40 PM Map1 Revised       Galveston - Map 1      Phil Gordon          tom@bryangeodemo.com               Map1 Revised.msg                      Attorney-Client;Work-   Communica ion from map-
                                                                                      Precinct Inventory -   <pgordon@hvjt.law>                                                                            Product                 drawer to redistricting
                                                                                      10_26_21 TB.docx                                                                                                                             counsel re: revisions to
                                                                                                                                                                                                                                   draft Map 1 precinct
                                                                                                                                                                                                                                   inventory that redistricting
                                                                                                                                                                                                                                   counsel requested to
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93       Word         10/26/2021 6:40 PM        10/26/2021 6:38 PM                                                                                                   Galveston - Map 1      thomas bryan   Attorney-Client;Work-
                                                                                                                                                                     Precinct Inventory -                  Product                 Attachment in
                                                                                                                                                                     10_26_21 TB.docx                                              communication from map-
                                                                                                                                                                                                                                   drawer to redistricting
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                                                                                                                                                                                                                                   and forming opinions.
94       Email        10/26/2021 7:20 PM        10/26/2021 7:20 PM Re: Map1 Revised   Galveston - Map 2      Phil Gordon           tom@bryangeodemo.com              Re Map1 Revised.msg                   Attorney-Client;Work-   Communica ion from map-
                                                                                      Precinct Inventory -   <pgordon@HoltzmanVoge                                                                         Product                 drawer to redistricting
                                                                                      10_26_21 TB.docx       l.com>                                                                                                                counsel re: revisions to
                                                                                                                                                                                                                                   draft Map 2 precinct
                                                                                                                                                                                                                                   inventory that redistricting
                                                                                                                                                                                                                                   counsel requested to
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95       Word         10/26/2021 7:20 PM        10/26/2021 7:19 PM                                                                                                   Galveston - Map 2      thomas bryan   Attorney-Client;Work-
                                                                                                                                                                     Precinct Inventory -                  Product                 Attachment in
                                                                                                                                                                     10_26_21 TB.docx                                              communication from map-
                                                                                                                                                                                                                                   drawer to redistricting
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                                                                                                                                                                                                                                   draft Map 2 precinct
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                           From                    CC                      BCC   Filename                     Author         Privilege Tags          Privilege Note
         Type
96       Email        10/26/2021 7:29 PM        10/26/2021 7:29 PM Re: Map1 Revised         Galveston - Map 1            Phil Gordon           tom@bryangeodemo.com                                  Re Map1 Revised.msg                         Attorney-Client;Work-   Communica ion from map-
                                                                                            Precinct Inventory Final -   <pgordon@HoltzmanVoge                                                                                                   Product                 drawer to redistricting
                                                                                            10_26_21.docx                l.com>                                                                                                                                          counsel re: revisions to
                                                                                                                                                                                                                                                                         draft Map 1 precinct
                                                                                                                                                                                                                                                                         inventory that redistricting
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97       Word         10/26/2021 7:29 PM        10/26/2021 7:29 PM                                                                                                                                   Galveston - Map 1            thomas bryan   Attorney-Client;Work-
                                                                                                                                                                                                     Precinct Inventory Final -                  Product                 Attachment in
                                                                                                                                                                                                     10_26_21 docx                                                       communication from map-
                                                                                                                                                                                                                                                                         drawer to redistricting
                                                                                                                                                                                                                                                                         counsel re: revisions to
                                                                                                                                                                                                                                                                         draft Map 1 precinct
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                                                                                                                                                                                                                                                                         and forming opinions
98       Email        10/26/2021 7:37 PM        10/26/2021 7:37 PM Galveston Precinct       Galveston - Map 1          Dale Oldham             Phil Gordon           Jason Torchinsky                0008474.eml                                 Attorney-Client;Work-   Communica ion from Mr.
                                                                   Inventory                Precinct Inventory Final - <dloesq@aol.com>        <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo                                                     Product                 Gordon, redistricting
                                                                                            10_26_21.docx;image001.                            l.com>                gel.com>                                                                                            counsel, to Mr. Oldham,
                                                                                            jpg;Galveston - Map 2                                                                                                                                                        redistricting counsel,
                                                                                            Precinct Inventory Final -                                                                                                                                                   forwarding precinct
                                                                                            10_26_21.docx                                                                                                                                                                inventories for Map 1 and
                                                                                                                                                                                                                                                                         Map 2 for discussion to
                                                                                                                                                                                                                                                                         formulate legal advice;
                                                                                                                                                                                                                                                                         attachment with precinct
                                                                                                                                                                                                                                                                         inventory for Map 2.
99       Word         10/26/2021 7:37 PM        10/26/2021 7:26 PM                                                                                                                                   Galveston - Map 2            thomas bryan   Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                     Precinct Inventory Final -                  Product                 communication from Mr.
                                                                                                                                                                                                     10_26_21 docx                                                       Gordon, redistricting
                                                                                                                                                                                                                                                                         counsel, to Mr. Oldham,
                                                                                                                                                                                                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                                         forwarding precinct
                                                                                                                                                                                                                                                                         inventories for Map 1 and
                                                                                                                                                                                                                                                                         Map 2 for discussion to
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                                                                                                                                                                                                                                                                         Attachment is precinct
                                                                                                                                                                                                                                                                         inventory for Map 2.
100      Word         10/26/2021 7:37 PM        10/26/2021 7:35 PM                                                                                                                                   Galveston - Map 1            thomas bryan   Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                     Precinct Inventory Final -                  Product                 communication from Mr.
                                                                                                                                                                                                     10_26_21 docx                                                       Gordon, redistricting
                                                                                                                                                                                                                                                                         counsel, to Mr. Oldham,
                                                                                                                                                                                                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                                         forwarding precinct
                                                                                                                                                                                                                                                                         inventories for Map 1 and
                                                                                                                                                                                                                                                                         Map 2 for discussion to
                                                                                                                                                                                                                                                                         formulate legal advice.
                                                                                                                                                                                                                                                                         Attachment is precinct
                                                                                                                                                                                                                                                                         inventory for Map 2.
101      Image        10/26/2021 7:37 PM        12/31/9999 6:00 PM                                                                                                                                   image001.jpg                                Attorney-Client;Work-
                                                                                                                                                                                                                                                 Product                 HVBTJ Icon attached to
                                                                                                                                                                                                                                                                         privileged communica ion.
102      Email        10/26/2021 7:48 PM        10/26/2021 7:48 PM Re: Galveston Precinct   .jpg                         pgordon@HoltzmanVogel. <dloesq@aol.com>                                     0014958.eml                                 Attorney-Client;Work-   Communica ion from Mr.
                                                                   Inventory                                             com                                                                                                                     Product                 Oldham, redistricting
                                                                                                                                                                                                                                                                         counsel, to Mr. Gordon,
                                                                                                                                                                                                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                                         providing legal analysis
                                                                                                                                                                                                                                                                         regarding formatting for
                                                                                                                                                                                                                                                                         adoptability, and asking
                                                                                                                                                                                                                                                                         question about data to
                                                                                                                                                                                                                                                                         provide accurate and
                                                                                                                                                                                                                                                                         complete legal advice to
                                                                                                                                                                                                                                                                         client.
103      Image        10/26/2021 7:48 PM        12/31/9999 6:00 PM                                                                                                                                   .jpg                                        Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                 Plog Attachment Names To                         From                    CC                      BCC   Filename                     Author         Privilege Tags          Privilege Note
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104      Email        10/26/2021 7:55 PM        10/26/2021 7:55 PM Re: Galveston Precinct    image001.jpg;image002.jp dloesq@aol.com          Phil Gordon           Jason Torchinsky                0008475.eml                                 Attorney-Client;Work-   Communica ion from Mr.
                                                                   Inventory                 g                                                <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo                                                     Product                 Gordon, redistricting
                                                                                                                                              l.com>                gel.com>                                                                                            counsel, to Mr. Oldham,
                                                                                                                                                                                                                                                                        copying Mr. Torchinsky,
                                                                                                                                                                                                                                                                        redistricting counsel, re:
                                                                                                                                                                                                                                                                        strategy for turning
                                                                                                                                                                                                                                                                        redistricting data into a
                                                                                                                                                                                                                                                                        legally adoptable format
                                                                                                                                                                                                                                                                        for the Commissioners
                                                                                                                                                                                                                                                                        Court.
105      Image        10/26/2021 7:55 PM        12/31/9999 6:00 PM                                                                                                                                  image002.jpg                                Attorney-Client;Work-
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106      Image        10/26/2021 7:55 PM        12/31/9999 6:00 PM                                                                                                                                  image001.jpg                                Attorney-Client;Work-
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                                                                                                                                                                                                                                                                        privileged communica ion.
107      Email        10/26/2021 8:00 PM        10/26/2021 8:00 PM Fwd: Galveston Precinct   Galveston - Map 1          paul@ready.law        <dloesq@aol.com>                                      0014959.eml                                 Attorney-Client;Work-   Communica ion from
                                                                   Inventory                 Precinct Inventory Final -                                                                                                                         Product                 redistricting counsel to
                                                                                             10_26_21.docx;.jpg;Galve                                                                                                                                                   Galveston County General
                                                                                             ston - Map 2 Precinct                                                                                                                                                      Counsel concerning
                                                                                             Inventory Final -                                                                                                                                                          whether the attached
                                                                                             10_26_21.docx                                                                                                                                                              documents are legally
                                                                                                                                                                                                                                                                        sufficient as an adoptable
                                                                                                                                                                                                                                                                        order for the
                                                                                                                                                                                                                                                                        Commissioners Court.
108      Image        10/26/2021 8:00 PM        12/31/9999 6:00 PM                                                                                                                                  .jpg                                        Attorney-Client;Work-
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109      Word         10/26/2021 8:00 PM        10/26/2021 7:26 PM                                                                                                                                  Galveston - Map 2          thomas bryan     Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                    Precinct Inventory Final -                  Product                 communication from
                                                                                                                                                                                                    10_26_21 docx                                                       redistricting counsel to
                                                                                                                                                                                                                                                                        Galveston County General
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                                                                                                                                                                                                                                                                        Commissioners Court.
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                                                                                                                                                                                                                                                                        precinct inventory.
110      Word         10/26/2021 8:00 PM        10/26/2021 7:35 PM                                                                                                                                  Galveston - Map 1          thomas bryan     Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                    Precinct Inventory Final -                  Product                 communication from
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                                                                                                                                                                                                                                                                        Attachment is a Map 1
                                                                                                                                                                                                                                                                        precinct inventory.
111      Email        10/26/2021 9:57 PM        10/26/2021 9:57 PM Fwd: Galveston Precinct   Galveston - Map 2          Drummond, Tyler        Paul Ready                                           Fwd Galveston Precinct                      Attorney-Client;Work-
                                                                   Inventory                 Precinct Inventory Final - <Tyler.Drummond@co gal <paul@ready.law>                                     Inventory.msg                               Product                 Communica ion from
                                                                                             10_26_21.docx;Galveston - veston.tx.us>                                                                                                                                    Galveston County General
                                                                                             Map 1 Precinct Inventory                                                                                                                                                   Counsel to Mr. Drummond
                                                                                             Final - 10_26_21.docx                                                                                                                                                      re: what Mr. Ready will
                                                                                                                                                                                                                                                                        send to demonstrate what
                                                                                                                                                                                                                                                                        is legally sufficient for a
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112      Word         10/26/2021 9:57 PM        10/26/2021 7:35 PM                                                                                                                                  Galveston - Map 1            thomas bryan   Attorney-Client;Work-
                                                                                                                                                                                                    Precinct Inventory Final -                  Product                 Attachment in
                                                                                                                                                                                                    10_26_21 docx                                                       communication from
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                      From                   CC                        BCC   Filename                     Author         Privilege Tags          Privilege Note
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113      Word         10/26/2021 9:57 PM        10/26/2021 7:26 PM                                                                                                                               Galveston - Map 2            thomas bryan   Attorney-Client;Work-
                                                                                                                                                                                                 Precinct Inventory Final -                  Product                 Attachment in
                                                                                                                                                                                                 10_26_21 docx                                                       communication from
                                                                                                                                                                                                                                                                     Galveston County General
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                                                                                                                                                                                                                                                                     precinct inventory.
114      Word         10/27/2021 7:03 AM        10/27/2021 7:03 AM                                                                                                                               Galveston - Map 1            thomas bryan   Attorney-Client;Work-   Attachment between
                                                                                                                                                                                                 Precinct Inventory Final -                  Product                 redistricting counsel
                                                                                                                                                                                                 10_26_21 docx                                                       containing information on
                                                                                                                                                                                                                                                                     voting precincts by
                                                                                                                                                                                                                                                                     Commissioners Court
                                                                                                                                                                                                                                                                     precincts in proposed Map
                                                                                                                                                                                                                                                                     1
115      Email       10/27/2021 12:27 PM       10/27/2021 12:27 PM Re: Galveston Precinct   Order approving            Dale Oldham        Paul Ready             jtorchinsky@holtzmanvog         Re Galveston Precinct                       Attorney-Client;Work-
                                                                   Inventory                Redistricting              <dloesq@aol.com>   <paul@ready.law>       el.com;pgordon@holtzma          Inventory.msg                               Product                 Communica ion from
                                                                                            Plan pdf;Order                                                       nvogel.com;Drummond,                                                                                Galveston County General
                                                                                            Establishing Boundaries of                                           Tyler                                                                                               Counsel to redistricting
                                                                                            Election Precinct Lines in                                           <Tyler.Drummond@co.gal                                                                              counsel, Mr. Oldham re:
                                                                                            GC effective                                                         veston.tx.us>                                                                                       precinct inventories for
                                                                                            01012014.pdf                                                                                                                                                             adoptable order and what
                                                                                                                                                                                                                                                                     is legally required for an
                                                                                                                                                                                                                                                                     adoptable order.
116      Pdf         10/27/2021 12:27 PM         3/22/2013 9:28 AM                                                                                                                               Order approving                             Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                 Redistricting Plan.pdf                      Product                 communication from
                                                                                                                                                                                                                                                                     Galveston County General
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                                                                                                                                                                                                                                                                     redistricting.
117      Pdf         10/27/2021 12:27 PM        9/30/2013 12:05 PM                                                                                                                               Order Establishing                          Attorney-Client;Work-   Attachment in
                                                                                                                                                                                                 Boundaries of Election                      Product                 communication from
                                                                                                                                                                                                 Precinct Lines in GC                                                Galveston County General
                                                                                                                                                                                                 effective 01012014.pdf                                              Counsel to redistricting
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                                                                                                                                                                                                                                                                     redistricting.
118      Email       10/27/2021 12:27 PM       10/27/2021 12:27 PM Re: Galveston Precinct   .htm;Order approving       Dale Oldham        Paul Ready             <jtorchinsky@holtzmanvo         0008487.eml                                 Attorney-Client;Work-
                                                                   Inventory                Redistricting              <dloesq@aol.com>   <paul@ready.law>       gel.com>;<pgordon@holtz                                                     Product                 Communica ion from
                                                                                            Plan pdf;Order                                                       manvogel.com>;Drummon                                                                               Galveston County General
                                                                                            Establishing Boundaries of                                           d, Tyler                                                                                            Counsel to redistricting
                                                                                            Election Precinct Lines in                                           <Tyler.Drummond@co.gal                                                                              counsel, Mr. Oldham re:
                                                                                            GC effective                                                         veston.tx.us>                                                                                       precinct inventories for
                                                                                            01012014.pdf                                                                                                                                                             adoptable order and what
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119      Pdf         10/27/2021 12:27 PM        9/30/2013 12:05 PM                                                                                                                               Order Establishing                          Attorney-Client;Work-
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120      Pdf         10/27/2021 12:27 PM         3/22/2013 9:28 AM                                                                                                                           Order approving                   Attorney-Client;Work-
                                                                                                                                                                                             Redistricting Plan.pdf            Product                 Attachment in
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121      Html        10/27/2021 12:27 PM        12/31/9999 6:00 PM                                                                                                                           .htm                              Attorney-Client;Work-   Communica ion from
                                                                                                                                                                                                                               Product                 redistricting counsel to
                                                                                                                                                                                                                                                       Galveston County General
                                                                                                                                                                                                                                                       Counsel concerning
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                                                                                                                                                                                                                                                       order for the
                                                                                                                                                                                                                                                       Commissioners Court.
122      Html        10/27/2021 12:27 PM        12/31/9999 6:00 PM                                                                                                                           .htm                              Attorney-Client;Work-
                                                                                                                                                                                                                               Product                 Blank page attached to
                                                                                                                                                                                                                                                       privileged communica ion.
123      Email       10/28/2021 11:59 AM       10/28/2021 11:59 AM RE: Galveston Precinct   image006.png;image005.p Dale Oldham              Drummond, Tyler        Paul Ready               0008503.eml                       Attorney-Client;Work-
                                                                   Inventory                ng;image004.png         <dloesq@aol.com>;jtorchi <Tyler.Drummond@co.gal <paul@ready.law>                                           Product                 Communica ion from
                                                                                                                    nsky@holtzmanvogel.com veston.tx.us>                                                                                               Judge Henry's Chief of
                                                                                                                    ;pgordon@holtzmanvogel.                                                                                                            Staff to all redistricting
                                                                                                                    com                                                                                                                                counsel, and copying
                                                                                                                                                                                                                                                       Galveston County General
                                                                                                                                                                                                                                                       Counsel, asking about
                                                                                                                                                                                                                                                       timing on final adoptable
                                                                                                                                                                                                                                                       redistricting plans.
124      Image       10/28/2021 11:59 AM        12/31/9999 6:00 PM                                                                                                                           image004.png                      Attorney-Client;Work-   Galveston County Icon
                                                                                                                                                                                                                               Product                 attached to privileged
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125      Image       10/28/2021 11:59 AM        12/31/9999 6:00 PM                                                                                                                           image006.png                      Attorney-Client;Work-
                                                                                                                                                                                                                               Product                 Twitter icon attached to
                                                                                                                                                                                                                                                       privileged communica ion.
126      Image       10/28/2021 11:59 AM        12/31/9999 6:00 PM                                                                                                                           image005.png                      Attorney-Client;Work-
                                                                                                                                                                                                                               Product                 Facebook icon attached to
                                                                                                                                                                                                                                                       privileged communica ion.
127      Email       10/28/2021 11:59 AM       10/28/2021 11:59 AM RE: Galveston Precinct                          Dale Oldham               Drummond, Tyler        Paul Ready               RE Galveston Precinct             Attorney-Client;Work-
                                                                   Inventory                                       <dloesq@aol.com>;jtorchi  </O=EXCHANGELABS/O <paul@ready.law>             Inventory.msg                     Product
                                                                                                                   nsky@holtzmanvogel.com    U=EXCHANGE                                                                                                Communica ion from
                                                                                                                   ;pgordon@holtzmanvogel.   ADMINISTRATIVE                                                                                            Judge Henry's Chief of
                                                                                                                   com                       GROUP                                                                                                     Staff to all redistricting
                                                                                                                                             (FYDIBOHF23SPDLT)/CN                                                                                      counsel, and copying
                                                                                                                                             =RECIPIENTS/CN=2C5F                                                                                       Galveston County General
                                                                                                                                             9C72E05E4D9E8437FD5                                                                                       Counsel, asking about
                                                                                                                                             99C045B6E-                                                                                                timing on final adoptable
                                                                                                                                             DRUMMOND, T>                                                                                              redistricting plans.
128      Email       10/28/2021 12:30 PM       10/28/2021 12:30 PM modified invetory        tx.Galv.Map 2 Precinct    pgordon@holtzmanvogel. dloesq@aol.com;<dloesq                          0014960.eml;modified              Attorney-Client;Work-   Communica ion from Mr.
                                                                                            Inventory Final -         com;tom@bryangeodemo. @aol.com>                                        invetory.msg                      Product                 Oldham, redistricting
                                                                                            10_26_21.docx;tx.gal.prec com                                                                                                                              counsel, to Mr. Gordon,
                                                                                            list10.27.21.docx                                                                                                                                          redistricting counsel, and
                                                                                                                                                                                                                                                       Mr. Bryan, map-drawer,
                                                                                                                                                                                                                                                       with attachments where
                                                                                                                                                                                                                                                       Mr. Oldham , as
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                                                                                                                                                                                                                                                       provides his edits
                                                                                                                                                                                                                                                       regarding compliance with
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                                                                                                                                                                                                                                                       criteria.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                    From                    CC   BCC   Filename                  Author           Privilege Tags          Privilege Note
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129      Word        10/28/2021 12:30 PM       10/28/2021 12:16 PM                                                                                                         tx.Galv.Map 2 Precinct    thomas bryan     Attorney-Client;Work-
                                                                                                                                                                           Inventory Final -                          Product                 Communica ion from Mr.
                                                                                                                                                                           10_26_21 docx                                                      Oldham, redistricting
                                                                                                                                                                                                                                              counsel, to Mr. Gordon,
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                                                                                                                                                                                                                                              precinct inventory
                                                                                                                                                                                                                                              containing Mr. Oldham's
                                                                                                                                                                                                                                              edits.
130      Word        10/28/2021 12:30 PM       10/27/2021 11:21 PM                                                                                                         tx.gal.preclist10.27.21.doc thomas bryan   Attorney-Client;Work-
                                                                                                                                                                           x                                          Product                 Communica ion from Mr.
                                                                                                                                                                                                                                              Oldham, redistricting
                                                                                                                                                                                                                                              counsel, to Mr. Gordon,
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                                                                                                                                                                                                                                              edits.
131      Email       10/28/2021 12:35 PM       10/28/2021 12:35 PM FW: Galveston Precinct   Order approving          Dale Oldham        Phil Gordon                        0008505.eml                                Attorney-Client;Work-
                                                                   Inventory                Redistricting            <dloesq@aol.com>   <pgordon@HoltzmanVoge                                                         Product                 Communica ion from Mr.
                                                                                            Plan docx;image002.jpg;O                    l.com>                                                                                                Gordon, redistricting
                                                                                            rder Establishing                                                                                                                                 counsel, to Mr. Oldham,
                                                                                            Boundaries of Election                                                                                                                            redistricting counsel re:
                                                                                            Precinct Lines in GC                                                                                                                              exemplar legally sufficient
                                                                                            effective                                                                                                                                         adoptable orders from the
                                                                                            01012014.docx;image001.                                                                                                                           2012 and 2013
                                                                                            jpg                                                                                                                                               redistricting.
132      Image       10/28/2021 12:35 PM        12/31/9999 6:00 PM                                                                                                         image001.jpg                               Attorney-Client;Work-
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133      Word        10/28/2021 12:35 PM       10/28/2021 12:31 PM                                                                                                         Order Establishing        Sharon Norwood   Attorney-Client;Work-
                                                                                                                                                                           Boundaries of Election                     Product                 Attachment in
                                                                                                                                                                           Precinct Lines in GC                                               communication from Mr.
                                                                                                                                                                           effective 01012014.docx                                            Gordon, redistricting
                                                                                                                                                                                                                                              counsel, to Mr. Oldham,
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134      Word        10/28/2021 12:35 PM       10/28/2021 12:32 PM                                                                                                         Order approving           Sharon Norwood   Attorney-Client;Work-
                                                                                                                                                                           Redistricting Plan.docx                    Product                 Attachment in
                                                                                                                                                                                                                                              communication from Mr.
                                                                                                                                                                                                                                              Gordon, redistricting
                                                                                                                                                                                                                                              counsel, to Mr. Oldham,
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135      Image       10/28/2021 12:35 PM        12/31/9999 6:00 PM                                                                                                         image002.jpg                               Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                      From                     CC   BCC   Filename                   Author          Privilege Tags          Privilege Note
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136      Email       10/28/2021 12:39 PM       10/28/2021 12:39 PM Re: Galveston Precinct   .jpg                   pgordon@HoltzmanVogel. <dloesq@aol.com>                    0014961.eml                                Attorney-Client;Work-
                                                                   Inventory                                       com                                                                                                   Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                 Oldham, redistricting
                                                                                                                                                                                                                                                 counsel, to Mr. Gordon,
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                                                                                                                                                                                                                                                 responding to Mr.
                                                                                                                                                                                                                                                 Gordon's exemplar legally
                                                                                                                                                                                                                                                 sufficient adoptable orders
                                                                                                                                                                                                                                                 from the 2012 and 2013
                                                                                                                                                                                                                                                 redistricting.
137      Image       10/28/2021 12:39 PM        12/31/9999 6:00 PM                                                                                                            .jpg                                       Attorney-Client;Work-
                                                                                                                                                                                                                         Product                 HVBTJ icon attached to
                                                                                                                                                                                                                                                 privileged communica ion.
138      Image       10/28/2021 12:39 PM        12/31/9999 6:00 PM                                                                                                            .jpg                                       Attorney-Client;Work-
                                                                                                                                                                                                                         Product                 HVBTJ icon attached to
                                                                                                                                                                                                                                                 privileged communica ion.
139      Word         10/28/2021 2:00 PM        10/28/2021 2:00 PM                                                                                                            Map1                        thomas bryan   Attorney-Client;Work-
                                                                                                                                                                              tx.gal.preclist10.27.21.doc                Product                 Document containing legal
                                                                                                                                                                              x                                                                  edits from Mr. Oldham,
                                                                                                                                                                                                                                                 redistricting counsel, to
                                                                                                                                                                                                                                                 ensure compliance with
                                                                                                                                                                                                                                                 traditional redistric ing
                                                                                                                                                                                                                                                 criteria.
140      Email        10/28/2021 3:59 PM        10/28/2021 3:59 PM Re: modified invetory    Galveston Map 1          pgordon@holtzmanvogel. tom@bryangeodemo.com              Re modified                                Attorney-Client;Work-   Communica ion from map-
                                                                                            10_28.pdf;Galveston_Anal com;dloesq@aol.com                                       invetory.msg;0008509.eml                   Product                 drawer to Mr. Gordon and
                                                                                            ysis                                                                                                                                                 Mr. Oldham, redistric ing
                                                                                            10_28_21.xlsx;Galveston                                                                                                                              counsel, describing
                                                                                            Map 1 Precincts                                                                                                                                      modifications to precincts
                                                                                            10_28.pdf;Galveston Map                                                                                                                              so that Mr. Oldham and
                                                                                            2 Precincts                                                                                                                                          Mr. Gordon could
                                                                                            10_28.pdf;Galveston Map                                                                                                                              formulate and provide
                                                                                            2 10_28.pdf                                                                                                                                          legal opinions.
141      Pdf          10/28/2021 3:59 PM        12/31/9999 6:00 PM                                                                                                            Galveston Map 1                            Attorney-Client;Work-
                                                                                                                                                                              10_28.pdf                                  Product                 Attachment in
                                                                                                                                                                                                                                                 communication from map-
                                                                                                                                                                                                                                                 drawer to Mr. Gordon and
                                                                                                                                                                                                                                                 Mr. Oldham, redistric ing
                                                                                                                                                                                                                                                 counsel, describing
                                                                                                                                                                                                                                                 modifications to precincts
                                                                                                                                                                                                                                                 so that Mr. Oldham and
                                                                                                                                                                                                                                                 Mr. Gordon could
                                                                                                                                                                                                                                                 formulate and provide
                                                                                                                                                                                                                                                 legal opinions. Attachment
                                                                                                                                                                                                                                                 is a PDF of Map 1.
142      Pdf          10/28/2021 3:59 PM        12/31/9999 6:00 PM                                                                                                            Galveston Map 1                            Attorney-Client;Work-
                                                                                                                                                                              Precincts 10_28 pdf                        Product                 Attachment in
                                                                                                                                                                                                                                                 communication from map-
                                                                                                                                                                                                                                                 drawer to Mr. Gordon and
                                                                                                                                                                                                                                                 Mr. Oldham, redistric ing
                                                                                                                                                                                                                                                 counsel, describing
                                                                                                                                                                                                                                                 modifications to precincts
                                                                                                                                                                                                                                                 so that Mr. Oldham and
                                                                                                                                                                                                                                                 Mr. Gordon could
                                                                                                                                                                                                                                                 formulate and provide
                                                                                                                                                                                                                                                 legal opinions. Attachment
                                                                                                                                                                                                                                                 is PDF of Map 1 with
                                                                                                                                                                                                                                                 voting precincts identified.
143      Pdf          10/28/2021 3:59 PM        12/31/9999 6:00 PM                                                                                                            Galveston Map 2                            Attorney-Client;Work-
                                                                                                                                                                              10_28.pdf                                  Product                 Attachment in
                                                                                                                                                                                                                                                 communication from map-
                                                                                                                                                                                                                                                 drawer to Mr. Gordon and
                                                                                                                                                                                                                                                 Mr. Oldham, redistric ing
                                                                                                                                                                                                                                                 counsel, describing
                                                                                                                                                                                                                                                 modifications to precincts
                                                                                                                                                                                                                                                 so that Mr. Oldham and
                                                                                                                                                                                                                                                 Mr. Gordon could
                                                                                                                                                                                                                                                 formulate and provide
                                                                                                                                                                                                                                                 legal opinions. Attachment
                                                                                                                                                                                                                                                 is PDF of Map 2.




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                                                                                               Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 21 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject               Plog Attachment Names To                 From                   CC                        BCC   Filename                  Author           Privilege Tags          Privilege Note
         Type
144      Pdf          10/28/2021 3:59 PM        12/31/9999 6:00 PM                                                                                                                         Galveston Map 2                            Attorney-Client;Work-
                                                                                                                                                                                           Precincts 10_28 pdf                        Product                 Attachment in
                                                                                                                                                                                                                                                              communication from map-
                                                                                                                                                                                                                                                              drawer to Mr. Gordon and
                                                                                                                                                                                                                                                              Mr. Oldham, redistric ing
                                                                                                                                                                                                                                                              counsel, describing
                                                                                                                                                                                                                                                              modifications to precincts
                                                                                                                                                                                                                                                              so that Mr. Oldham and
                                                                                                                                                                                                                                                              Mr. Gordon could
                                                                                                                                                                                                                                                              formulate and provide
                                                                                                                                                                                                                                                              legal opinions. Attachment
                                                                                                                                                                                                                                                              is a PDF of Map 2 with
                                                                                                                                                                                                                                                              voting precincts identified.
145      Excel        10/28/2021 3:59 PM        10/28/2021 3:55 PM                                                                                                                         Galveston_Analysis        thomas bryan     Attorney-Client;Work-   Attachment in
                                                                                                                                                                                           10_28_21 xlsx                              Product                 communication from map-
                                                                                                                                                                                                                                                              drawer to Mr. Gordon and
                                                                                                                                                                                                                                                              Mr. Oldham, redistric ing
                                                                                                                                                                                                                                                              counsel, describing
                                                                                                                                                                                                                                                              modifications to precincts
                                                                                                                                                                                                                                                              so that Mr. Oldham and
                                                                                                                                                                                                                                                              Mr. Gordon could
                                                                                                                                                                                                                                                              formulate and provide
                                                                                                                                                                                                                                                              legal opinions. Attachment
                                                                                                                                                                                                                                                              is an Excel spreadsheet
                                                                                                                                                                                                                                                              containing data and
                                                                                                                                                                                                                                                              analysis for Mr. Oldham
                                                                                                                                                                                                                                                              and Mr. Gordon to
                                                                                                                                                                                                                                                              formulate their legal
                                                                                                                                                                                                                                                              opinions.
146      Word         10/28/2021 4:04 PM        10/28/2021 4:04 PM                                                                                                                         Map2                        thomas bryan   Attorney-Client;Work-
                                                                                                                                                                                           tx.gal.preclist10.27.21.doc                Product                 Document containing
                                                                                                                                                                                           x                                                                  precinct inventory with
                                                                                                                                                                                                                                                              legal edits from Mr.
                                                                                                                                                                                                                                                              Oldham concerning
                                                                                                                                                                                                                                                              compliance with traditional
                                                                                                                                                                                                                                                              redistricting criteria.
147      Email         11/1/2021 2:05 PM         11/1/2021 2:05 PM Fwd: Galveston County   Letter to Galveston   Dale Oldham        Paul Ready             <jtorchinsky@holtzmanvo         0008562.eml                                Attorney-Client;Work-
                                                                   Redistricting           County.pdf;.htm       <dloesq@aol.com>   <paul@ready.law>       gel.com>;<pgordon@holtz                                                    Product                 Communica ion from
                                                                                                                                                           manvogel.com>                                                                                      Galveston County General
                                                                                                                                                                                                                                                              Counsel, to Mr. Oldham,
                                                                                                                                                                                                                                                              redistricting counsel, Mr.
                                                                                                                                                                                                                                                              Gordon, redistricting
                                                                                                                                                                                                                                                              counsel, and Mr.
                                                                                                                                                                                                                                                              Torchinsky, redistricting
                                                                                                                                                                                                                                                              counsel, re: letter from
                                                                                                                                                                                                                                                              League of Women Voters
                                                                                                                                                                                                                                                              of Texas, seeking
                                                                                                                                                                                                                                                              redistricting counsel's
                                                                                                                                                                                                                                                              legal opinion of the letter.
148      Pdf           11/1/2021 2:05 PM        12/31/9999 6:00 PM                                                                                                                         Letter to Galveston                        Attorney-Client         Attachment in
                                                                                                                                                                                           County pdf                                                         Communica ion from
                                                                                                                                                                                                                                                              Galveston County General
                                                                                                                                                                                                                                                              Counsel, to Mr. Oldham,
                                                                                                                                                                                                                                                              redistricting counsel, Mr.
                                                                                                                                                                                                                                                              Gordon, redistricting
                                                                                                                                                                                                                                                              counsel, and Mr.
                                                                                                                                                                                                                                                              Torchinsky, redistricting
                                                                                                                                                                                                                                                              counsel, re: letter from
                                                                                                                                                                                                                                                              League of Women Voters
                                                                                                                                                                                                                                                              of Texas, seeking
                                                                                                                                                                                                                                                              redistricting counsel's
                                                                                                                                                                                                                                                              legal opinion of the letter;
                                                                                                                                                                                                                                                              attachment, letter from
                                                                                                                                                                                                                                                              League of Women Voters
                                                                                                                                                                                                                                                              of Texas.
149      Html          11/1/2021 2:05 PM        12/31/9999 6:00 PM                                                                                                                         .htm                                       Attorney-Client         Blank page attached to
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         Type
150      Email         11/1/2021 2:18 PM         11/1/2021 2:18 PM Fwd: Galveston County      Letter to Galveston         Dale Oldham           Jason Torchinsky                      0008563.eml                                  Attorney-Client;Work-   Communica ion from Mr.
                                                                   Redistricting              County.pdf                  <dloesq@aol.com>;Phil <jtorchinsky@HoltzmanVo                                                            Product                 Torchinsky to Mr. Oldham
                                                                                                                          Gordon                gel.com>                                                                                                   and Mr. Gordon, all
                                                                                                                          <pgordon@HoltzmanVoge                                                                                                            redistricting counsel,
                                                                                                                          l.com>                                                                                                                           expressing his legal
                                                                                                                                                                                                                                                           opinion of the potential
                                                                                                                                                                                                                                                           implications of the letter
                                                                                                                                                                                                                                                           from League of Women
                                                                                                                                                                                                                                                           Voters of Texas.
151      Pdf           11/1/2021 2:18 PM        12/31/9999 6:00 PM                                                                                                                    Letter to Galveston                          Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                                                      County pdf                                   Product                 Torchinsky to Mr. Oldham
                                                                                                                                                                                                                                                           and Mr. Gordon, all
                                                                                                                                                                                                                                                           redistricting counsel,
                                                                                                                                                                                                                                                           expressing his legal
                                                                                                                                                                                                                                                           opinion of the potential
                                                                                                                                                                                                                                                           implications of the letter
                                                                                                                                                                                                                                                           from League of Women
                                                                                                                                                                                                                                                           Voters of Texas.
                                                                                                                                                                                                                                                           Attachment is a letter from
                                                                                                                                                                                                                                                           League of Women Voters
                                                                                                                                                                                                                                                           of Texas.
152      Email         11/2/2021 3:30 PM         11/2/2021 3:30 PM RE: MASS EMAIL               image001.png              Drummond, Tyler        Sigler, Nathan                       0008582.eml                                  Attorney-Client;Work-   Communica ion from Mr.
                                                                   ADVISORY (County                                       <Tyler.Drummond@co gal <Nathan.Sigler@co.galve                                                           Product                 Sigler, GIS Engineer for
                                                                   Judges-326) Advisory                                   veston.tx.us>;Dale     ston.tx.us>                                                                                               Galveston County to Mr.
                                                                   2021-14 - Impact                                       Oldham                                                                                                                           Oldham, redistricting
                                                                    of Redistricting on Certain                           <dloesq@aol.com>                                                                                                                 counsel, and Mr.
                                                                   Election Deadlines and                                                                                                                                                                  Drummond, Chief of Staff
                                                                   Procedures                                                                                                                                                                              to County Judge Henry re:
                                                                                                                                                                                                                                                           status of revisions to Map
                                                                                                                                                                                                                                                           2's voting precincts.
153      Image         11/2/2021 3:30 PM        12/31/9999 6:00 PM                                                                                                                    image001.png                                 Attorney-Client;Work-   VoteTexas.Gov icon
                                                                                                                                                                                                                                   Product                 attached to privileged
                                                                                                                                                                                                                                                           communication.
154      Email         11/2/2021 4:24 PM         11/2/2021 4:24 PM revised list               Legal Descriptions (Votin   dloesq@aol.com'        Sigler, Nathan                       revised list.msg                             Attorney-Client;Work-   Communica ion from Mr.
                                                                                              Precincts).xlsx                                    </O=EXCHANGELABS/O                                                                Product                 Sigler, GIS Engineer for
                                                                                                                                                 U=EXCHANGE                                                                                                Galveston County to Mr.
                                                                                                                                                 ADMINISTRATIVE                                                                                            Oldham, redistricting
                                                                                                                                                 GROUP                                                                                                     counsel, re: revised legal
                                                                                                                                                 (FYDIBOHF23SPDLT)/CN                                                                                      descriptions for Map 1 and
                                                                                                                                                 =RECIPIENTS/CN=E97B                                                                                       Map 2 voting precincts.
                                                                                                                                                 2BF3B13B48EDBB01CC0                                                                                       Submitted to Mr. Oldham
                                                                                                                                                 F9F39E47D-SIGLER,                                                                                         for review and to assist in
                                                                                                                                                 NAT>                                                                                                      the provision of legal
                                                                                                                                                                                                                                                           advice.
155      Excel         11/2/2021 4:24 PM         11/2/2021 4:23 PM                                                                                                                    Legal Descriptions (Vo in   Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                      Precincts).xlsx                              Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                           Sigler, GIS Engineer for
                                                                                                                                                                                                                                                           Galveston County to Mr.
                                                                                                                                                                                                                                                           Oldham, redistricting
                                                                                                                                                                                                                                                           counsel, re: revised legal
                                                                                                                                                                                                                                                           descriptions for Map 1 and
                                                                                                                                                                                                                                                           Map 2 voting precincts.
                                                                                                                                                                                                                                                           Submitted to Mr. Oldham
                                                                                                                                                                                                                                                           for review and to assist in
                                                                                                                                                                                                                                                           the provision of legal
                                                                                                                                                                                                                                                           advice; attachment with
                                                                                                                                                                                                                                                           Map 1 and Map 2 revised
                                                                                                                                                                                                                                                           legal descriptions for
                                                                                                                                                                                                                                                           voting precincts.
156      Email         11/3/2021 5:44 PM         11/3/2021 5:44 PM pct 4                      SnipImage.JPG               dloesq@aol.com'        Sigler, Nathan                       pct 4.msg                                    Attorney-Client;Work-
                                                                                                                                                 </O=EXCHANGELABS/O                                                                Product
                                                                                                                                                 U=EXCHANGE                                                                                                Communica ion from Mr.
                                                                                                                                                 ADMINISTRATIVE                                                                                            Sigler, GIS Engineer for
                                                                                                                                                 GROUP                                                                                                     Galveston County, to Mr.
                                                                                                                                                 (FYDIBOHF23SPDLT)/CN                                                                                      Oldham, redistricting
                                                                                                                                                 =RECIPIENTS/CN=E97B                                                                                       counsel, bringing to Mr.
                                                                                                                                                 2BF3B13B48EDBB01CC0                                                                                       Oldham's attention an
                                                                                                                                                 F9F39E47D-SIGLER,                                                                                         issue for his legal analysis
                                                                                                                                                 NAT>                                                                                                      and opinion.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject            Plog Attachment Names To                       From                    CC                 BCC   Filename                 Author           Privilege Tags          Privilege Note
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157      Image         11/3/2021 5:44 PM         8/23/2022 3:17 AM                                                                                                                      SnipImage.JPG                             Attorney-Client;Work-
                                                                                                                                                                                                                                  Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                          Sigler, GIS Engineer for
                                                                                                                                                                                                                                                          Galveston County, to Mr.
                                                                                                                                                                                                                                                          Oldham, redistricting
                                                                                                                                                                                                                                                          counsel, bringing to Mr.
                                                                                                                                                                                                                                                          Oldham's attention an
                                                                                                                                                                                                                                                          issue for his legal analysis
                                                                                                                                                                                                                                                          and opinion; attachment
                                                                                                                                                                                                                                                          Commissioner Precinct 4
                                                                                                                                                                                                                                                          boundaries.
158      Email        11/5/2021 10:29 AM        11/5/2021 10:29 AM Map 2 descriptions   Map 2 (VTD 193)         Drummond, Tyler        Sigler, Nathan          Paul Ready               Map 2 descriptions.msg                    Attorney-Client;Work-
                                                                                        Description.docx;Map 2  <Tyler.Drummond@co gal <Nathan.Sigler@co.galve <paul@ready.law>                                                   Product
                                                                                        (VTD 263 B)             veston.tx.us>          ston.tx.us>
                                                                                        Description.docx;Map 2
                                                                                        (VTD 278)
                                                                                        Description.docx;Voting
                                                                                        Precinct Number Changes
                                                                                        (Map 2).docx;Map 2 (VTD                                                                                                                                           Communica ion from Mr.
                                                                                        258)                                                                                                                                                              Sigler to Mr. Drummond,
                                                                                        Description.docx;Map 2                                                                                                                                            with a copy to Mr. Ready,
                                                                                        (VTD 263, A)                                                                                                                                                      Galveston County General
                                                                                        Description.docx;Map 2                                                                                                                                            Counsel, submitting
                                                                                        (VTD 490)                                                                                                                                                         attachments showing
                                                                                        Description.docx;Map 2                                                                                                                                            voting precinct changes,
                                                                                        (VTD 263)                                                                                                                                                         and metes and bounds
                                                                                        Description.docx;Map 2                                                                                                                                            descriptions for Map 2,
                                                                                        (VTD 336)                                                                                                                                                         submitted for Mr. Ready's
                                                                                        Description.docx;Map 2                                                                                                                                            legal opinion as to the
                                                                                        (VTD 169)                                                                                                                                                         legal sufficiency for
                                                                                        Description.docx                                                                                                                                                  adoptable order.
159      Word         11/5/2021 10:29 AM         11/5/2021 9:23 AM                                                                                                                      Map 2 (VTD 193)          Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                                                        Description docx                          Product                 Sigler to Mr. Drumond,
                                                                                                                                                                                                                                                          with a copy to Mr. Ready,
                                                                                                                                                                                                                                                          Galveston County General
                                                                                                                                                                                                                                                          Counsel, submitting
                                                                                                                                                                                                                                                          attachments showing
                                                                                                                                                                                                                                                          voting precinct changes,
                                                                                                                                                                                                                                                          and metes and bounds
                                                                                                                                                                                                                                                          descriptions for Map 2,
                                                                                                                                                                                                                                                          submitted for Mr. Ready's
                                                                                                                                                                                                                                                          legal opinion as to the
                                                                                                                                                                                                                                                          legal sufficiency for
                                                                                                                                                                                                                                                          adoptable order.
                                                                                                                                                                                                                                                          Attachment is voting
                                                                                                                                                                                                                                                          precinct boundary
                                                                                                                                                                                                                                                          description for Voting
                                                                                                                                                                                                                                                          Precinct 193.
160      Word         11/5/2021 10:29 AM         11/5/2021 9:15 AM                                                                                                                      Map 2 (VTD 490)          Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                        Description docx                          Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                          Sigler to Mr. Drumond,
                                                                                                                                                                                                                                                          with a copy to Mr. Ready,
                                                                                                                                                                                                                                                          Galveston County General
                                                                                                                                                                                                                                                          Counsel, submitting
                                                                                                                                                                                                                                                          attachments showing
                                                                                                                                                                                                                                                          voting precinct changes,
                                                                                                                                                                                                                                                          and metes and bounds
                                                                                                                                                                                                                                                          descriptions for Map 2,
                                                                                                                                                                                                                                                          submitted for Mr. Ready's
                                                                                                                                                                                                                                                          legal opinion as to the
                                                                                                                                                                                                                                                          legal sufficiency for
                                                                                                                                                                                                                                                          adoptable order;
                                                                                                                                                                                                                                                          attachment voting precinct
                                                                                                                                                                                                                                                          boundary description for
                                                                                                                                                                                                                                                          Voting Precinct 490.




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161      Word         11/5/2021 10:29 AM         11/5/2021 9:21 AM                                                                                   Map 2 (VTD 263, A)   Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                      Product                 Communica ion from Mr.
                                                                                                                                                                                                                   Sigler to Mr. Drumond,
                                                                                                                                                                                                                   with a copy to Mr. Ready,
                                                                                                                                                                                                                   Galveston County General
                                                                                                                                                                                                                   Counsel, submitting
                                                                                                                                                                                                                   attachments showing
                                                                                                                                                                                                                   voting precinct changes,
                                                                                                                                                                                                                   and metes and bounds
                                                                                                                                                                                                                   descriptions for Map 2,
                                                                                                                                                                                                                   submitted for Mr. Ready's
                                                                                                                                                                                                                   legal opinion as to the
                                                                                                                                                                                                                   legal sufficiency for
                                                                                                                                                                                                                   adoptable order;
                                                                                                                                                                                                                   attachment voting precinct
                                                                                                                                                                                                                   boundary description for
                                                                                                                                                                                                                   Voting Precinct 263-A.
162      Word         11/5/2021 10:29 AM         11/5/2021 9:20 AM                                                                                   Map 2 (VTD 278)      Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Description docx                      Product                 Sigler to Mr. Drumond,
                                                                                                                                                                                                                   with a copy to Mr. Ready,
                                                                                                                                                                                                                   Galveston County General
                                                                                                                                                                                                                   Counsel, submitting
                                                                                                                                                                                                                   attachments showing
                                                                                                                                                                                                                   voting precinct changes,
                                                                                                                                                                                                                   and metes and bounds
                                                                                                                                                                                                                   descriptions for Map 2,
                                                                                                                                                                                                                   submitted for Mr. Ready's
                                                                                                                                                                                                                   legal opinion as to the
                                                                                                                                                                                                                   legal sufficiency for
                                                                                                                                                                                                                   adoptable order.
                                                                                                                                                                                                                   Attachment is a voting
                                                                                                                                                                                                                   precinct boundary
                                                                                                                                                                                                                   description for Voting
                                                                                                                                                                                                                   Precinct 278.
163      Word         11/5/2021 10:29 AM         11/5/2021 9:22 AM                                                                                   Map 2 (VTD 263)      Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Description docx                      Product                 Sigler to Mr. Drumond,
                                                                                                                                                                                                                   with a copy to Mr. Ready,
                                                                                                                                                                                                                   Galveston County General
                                                                                                                                                                                                                   Counsel, submitting
                                                                                                                                                                                                                   attachments showing
                                                                                                                                                                                                                   voting precinct changes,
                                                                                                                                                                                                                   and metes and bounds
                                                                                                                                                                                                                   descriptions for Map 2,
                                                                                                                                                                                                                   submitted for Mr. Ready's
                                                                                                                                                                                                                   legal opinion as to the
                                                                                                                                                                                                                   legal sufficiency for
                                                                                                                                                                                                                   adoptable order.
                                                                                                                                                                                                                   Attachment is a voting
                                                                                                                                                                                                                   precinct boundary
                                                                                                                                                                                                                   description for Voting
                                                                                                                                                                                                                   Precinct 263.
164      Word         11/5/2021 10:29 AM         11/5/2021 9:20 AM                                                                                   Map 2 (VTD 263 B)    Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Description docx                      Product                 Sigler to Mr. Drumond,
                                                                                                                                                                                                                   with a copy to Mr. Ready,
                                                                                                                                                                                                                   Galveston County General
                                                                                                                                                                                                                   Counsel, submitting
                                                                                                                                                                                                                   attachments showing
                                                                                                                                                                                                                   voting precinct changes,
                                                                                                                                                                                                                   and metes and bounds
                                                                                                                                                                                                                   descriptions for Map 2,
                                                                                                                                                                                                                   submitted for Mr. Ready's
                                                                                                                                                                                                                   legal opinion as to the
                                                                                                                                                                                                                   legal sufficiency for
                                                                                                                                                                                                                   adoptable order.
                                                                                                                                                                                                                   Attachment is a voting
                                                                                                                                                                                                                   precinct boundary
                                                                                                                                                                                                                   description for Voting
                                                                                                                                                                                                                   Precinct 263-B.




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                                                                                  Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 25 of 80



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165      Word         11/5/2021 10:29 AM         11/5/2021 9:15 AM                                                                                   Map 2 (VTD 258)          Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Description docx                          Product                 Sigler to Mr. Drumond,
                                                                                                                                                                                                                       with a copy to Mr. Ready,
                                                                                                                                                                                                                       Galveston County General
                                                                                                                                                                                                                       Counsel, submitting
                                                                                                                                                                                                                       attachments showing
                                                                                                                                                                                                                       voting precinct changes,
                                                                                                                                                                                                                       and metes and bounds
                                                                                                                                                                                                                       descriptions for Map 2,
                                                                                                                                                                                                                       submitted for Mr. Ready's
                                                                                                                                                                                                                       legal opinion as to the
                                                                                                                                                                                                                       legal sufficiency for
                                                                                                                                                                                                                       adoptable order.
                                                                                                                                                                                                                       Attachment is a voting
                                                                                                                                                                                                                       precinct boundary
                                                                                                                                                                                                                       description for Voting
                                                                                                                                                                                                                       Precinct 258.
166      Word         11/5/2021 10:29 AM        11/5/2021 10:10 AM                                                                                   Voting Precinct Number   Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Changes (Map 2).docx                      Product                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                       with a copy to Mr. Ready,
                                                                                                                                                                                                                       Galveston County General
                                                                                                                                                                                                                       Counsel, submitting
                                                                                                                                                                                                                       attachments showing
                                                                                                                                                                                                                       voting precinct changes,
                                                                                                                                                                                                                       and metes and bounds
                                                                                                                                                                                                                       descriptions for Map 2,
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                                                                                                                                                                                                                       legal sufficiency for
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                                                                                                                                                                                                                       attachment voting precinct
                                                                                                                                                                                                                       number changes for Map
                                                                                                                                                                                                                       2.
167      Word         11/5/2021 10:29 AM         11/5/2021 9:19 AM                                                                                   Map 2 (VTD 336)          Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                          Product                 Communica ion from Mr.
                                                                                                                                                                                                                       Sigler to Mr. Drummond,
                                                                                                                                                                                                                       with a copy to Mr. Ready,
                                                                                                                                                                                                                       Galveston County General
                                                                                                                                                                                                                       Counsel, submitting
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                                                                                                                                                                                                                       adoptable order;
                                                                                                                                                                                                                       attachment voting precinct
                                                                                                                                                                                                                       boundary description for
                                                                                                                                                                                                                       Voting Precinct 336.
168      Word         11/5/2021 10:29 AM        11/5/2021 10:28 AM                                                                                   Map 2 (VTD 169)          Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                     Description docx                          Product                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                       with a copy to Mr. Ready,
                                                                                                                                                                                                                       Galveston County General
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                                                                                                                                                                                                                       attachments showing
                                                                                                                                                                                                                       voting precinct changes,
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                                                                                                                                                                                                                       descriptions for Map 2,
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                                                                                                                                                                                                                       legal sufficiency for
                                                                                                                                                                                                                       adoptable order.
                                                                                                                                                                                                                       Attachment is a voting
                                                                                                                                                                                                                       precinct boundary
                                                                                                                                                                                                                       description for Voting
                                                                                                                                                                                                                       Precinct 169.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject            Plog Attachment Names To                         From                   CC              BCC   Filename                 Author           Privilege Tags          Privilege Note
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169      Email        11/5/2021 10:29 AM        11/5/2021 10:29 AM Map 2 descriptions   Map 2 (VTD 490)         Drummond, Tyler          Sigler, Nathan       Paul@ready.law'         Map 2 descriptions.msg                    Attorney-Client;Work-
                                                                                        Description.docx;Map 2  <Tyler.Drummond@co gal   </O=EXCHANGELABS/O                                                                     Product
                                                                                        (VTD 263)               veston.tx.us>            U=EXCHANGE
                                                                                        Description.docx;Map 2                           ADMINISTRATIVE
                                                                                        (VTD 278)                                        GROUP
                                                                                        Description.docx;Map 2                           (FYDIBOHF23SPDLT)/CN
                                                                                        (VTD 263 B)                                      =RECIPIENTS/CN=E97B
                                                                                        Description.docx;Map 2                           2BF3B13B48EDBB01CC0                                                                                            Communica ion from Mr.
                                                                                        (VTD 263, A)                                     F9F39E47D-SIGLER,                                                                                              Sigler to Mr. Drummond,
                                                                                        Description.docx;Map 2                           NAT>                                                                                                           with a copy to Mr. Ready,
                                                                                        (VTD 258)                                                                                                                                                       Galveston County General
                                                                                        Description.docx;Map 2                                                                                                                                          Counsel, submitting
                                                                                        (VTD 193)                                                                                                                                                       attachments showing
                                                                                        Description.docx;Map 2                                                                                                                                          voting precinct changes,
                                                                                        (VTD 169)                                                                                                                                                       and metes and bounds
                                                                                        Description.docx;Map 2                                                                                                                                          descriptions for Map 2,
                                                                                        (VTD 336)                                                                                                                                                       submitted for Mr. Ready's
                                                                                        Description.docx;Voting                                                                                                                                         legal opinion as to the
                                                                                        Precinct Number Changes                                                                                                                                         legal sufficiency for
                                                                                        (Map 2).docx                                                                                                                                                    adoptable order.
170      Word         11/5/2021 10:29 AM         11/5/2021 9:20 AM                                                                                                                    Map 2 (VTD 263 B)        Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                      Description docx                          Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                        Sigler to Mr. Drummond,
                                                                                                                                                                                                                                                        with a copy to Mr. Ready,
                                                                                                                                                                                                                                                        Galveston County General
                                                                                                                                                                                                                                                        Counsel, submitting
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                                                                                                                                                                                                                                                        voting precinct changes,
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                                                                                                                                                                                                                                                        boundary description for
                                                                                                                                                                                                                                                        Voting Precinct 263-B.
171      Word         11/5/2021 10:29 AM        11/5/2021 10:10 AM                                                                                                                    Voting Precinct Number   Sigler, Nathan   Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                                                                                      Changes (Map 2).docx                      Product                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                                                        with a copy to Mr. Ready,
                                                                                                                                                                                                                                                        Galveston County General
                                                                                                                                                                                                                                                        Counsel, submitting
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                                                                                                                                                                                                                                                        voting precinct changes,
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172      Word         11/5/2021 10:29 AM         11/5/2021 9:21 AM                                                                                                                    Map 2 (VTD 263, A)       Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                      Description docx                          Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                        Sigler to Mr. Drummond,
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                                                                                                                                                                                                                                                        Galveston County General
                                                                                                                                                                                                                                                        Counsel, submitting
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                                                                                                                                                                                                                                                        Voting Precinct 263-A.




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173      Word         11/5/2021 10:29 AM         11/5/2021 9:15 AM                                                                                   Map 2 (VTD 258)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                 with a copy to Mr. Ready,
                                                                                                                                                                                                                 Galveston County General
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                                                                                                                                                                                                                 attachments showing
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                                                                                                                                                                                                                 boundary description for
                                                                                                                                                                                                                 Voting Precinct 258.
174      Word         11/5/2021 10:29 AM         11/5/2021 9:23 AM                                                                                   Map 2 (VTD 193)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                 with a copy to Mr. Ready,
                                                                                                                                                                                                                 Galveston County General
                                                                                                                                                                                                                 Counsel, submitting
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                                                                                                                                                                                                                 boundary description for
                                                                                                                                                                                                                 Voting Precinct 193.
175      Word         11/5/2021 10:29 AM         11/5/2021 9:22 AM                                                                                   Map 2 (VTD 263)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                 with a copy to Mr. Ready,
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                                                                                                                                                                                                                 boundary description for
                                                                                                                                                                                                                 Voting Precinct 263.
176      Word         11/5/2021 10:29 AM         11/5/2021 9:19 AM                                                                                   Map 2 (VTD 336)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                 Sigler to Mr. Drummond,
                                                                                                                                                                                                                 with a copy to Mr. Ready,
                                                                                                                                                                                                                 Galveston County General
                                                                                                                                                                                                                 Counsel, submitting
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                                                                                                                                                                                                                 attachment voting precinct
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                                                                                                                                                                                                                 Voting Precinct 336.




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177      Word         11/5/2021 10:29 AM         11/5/2021 9:15 AM                                                                                                                                 Map 2 (VTD 490)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                   Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                               Sigler to Mr. Drummond,
                                                                                                                                                                                                                                                               with a copy to Mr. Ready,
                                                                                                                                                                                                                                                               Galveston County General
                                                                                                                                                                                                                                                               Counsel, submitting
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                                                                                                                                                                                                                                                               Voting Precinct 490.
178      Word         11/5/2021 10:29 AM         11/5/2021 9:20 AM                                                                                                                                 Map 2 (VTD 278)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                   Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                               Sigler to Mr. Drummond,
                                                                                                                                                                                                                                                               with a copy to Mr. Ready,
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                                                                                                                                                                                                                                                               Counsel, submitting
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                                                                                                                                                                                                                                                               adoptable order;
                                                                                                                                                                                                                                                               attachment voting precinct
                                                                                                                                                                                                                                                               boundary description for
                                                                                                                                                                                                                                                               Voting Precinct 278.
179      Word         11/5/2021 10:29 AM        11/5/2021 10:28 AM                                                                                                                                 Map 2 (VTD 169)    Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                   Description docx                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                               Sigler to Mr. Drummond,
                                                                                                                                                                                                                                                               with a copy to Mr. Ready,
                                                                                                                                                                                                                                                               Galveston County General
                                                                                                                                                                                                                                                               Counsel, submitting
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                                                                                                                                                                                                                                                               attachment voting precinct
                                                                                                                                                                                                                                                               boundary description for
                                                                                                                                                                                                                                                               Voting Precinct 169.
180      Email        11/5/2021 10:39 AM        11/5/2021 10:39 AM Re: Map 2 descriptions   Order Establishing       Sigler, Nathan          Paul Ready             Drummond, Tyler                Re Map 2                            Attorney-Client;Work-
                                                                                            Boundaries of Election   <Nathan.Sigler@co.galve <paul@ready.law>       <Tyler.Drummond@co.gal         descriptions.msg                    Product                 Communica ion from Mr.
                                                                                            Precinct Lines in GC     ston.tx.us>                                    veston.tx.us>                                                                              Ready, Galveston County
                                                                                            effective 01012014.pdf                                                                                                                                             General Counsel, to Mr.
                                                                                                                                                                                                                                                               Sigler, with a copy to Mr.
                                                                                                                                                                                                                                                               Drummond, providing
                                                                                                                                                                                                                                                               legal opinion regarding the
                                                                                                                                                                                                                                                               legal adequacy of Mr.
                                                                                                                                                                                                                                                               Sigler's metes and bounds
                                                                                                                                                                                                                                                               descriptions, and
                                                                                                                                                                                                                                                               providing an exemplar
                                                                                                                                                                                                                                                               metes and bounds
                                                                                                                                                                                                                                                               description from the 2013
                                                                                                                                                                                                                                                               redistricting.




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         Type
181      Pdf          11/5/2021 10:39 AM        9/30/2013 12:05 PM                                                                                                                                        Order Establishing                        Attorney-Client;Work-
                                                                                                                                                                                                          Boundaries of Election                    Product                 Communica ion from Mr.
                                                                                                                                                                                                          Precinct Lines in GC                                              Ready, Galveston County
                                                                                                                                                                                                          effective 01012014.pdf                                            General Counsel, to Mr.
                                                                                                                                                                                                                                                                            Sigler, with a copy to Mr.
                                                                                                                                                                                                                                                                            Drummond, providing
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                                                                                                                                                                                                                                                                            Sigler's metes and bounds
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                                                                                                                                                                                                                                                                            metes and bounds
                                                                                                                                                                                                                                                                            description from the 2013
                                                                                                                                                                                                                                                                            redistricting; attachment:
                                                                                                                                                                                                                                                                            metes and bounds
                                                                                                                                                                                                                                                                            descriptions from the 2013
                                                                                                                                                                                                                                                                            redistricting.
182      Email        11/5/2021 11:06 AM        11/5/2021 11:06 AM RE: Map 2 descriptions                                Paul Ready             Sigler, Nathan          Drummond, Tyler                   RE Map 2                                  Attorney-Client;Work-
                                                                                                                         <paul@ready.law>       <Nathan.Sigler@co.galve <Tyler.Drummond@co.gal            descriptions.msg                          Product                 Communica ion from Mr.
                                                                                                                                                ston.tx.us>             veston.tx.us>                                                                                       Sigler to Galveston County
                                                                                                                                                                                                                                                                            General Counsel, with a
                                                                                                                                                                                                                                                                            copy to Mr. Drummond, re:
                                                                                                                                                                                                                                                                            metes and bounds
                                                                                                                                                                                                                                                                            descriptions in light of Mr.
                                                                                                                                                                                                                                                                            Ready's legal advice.
183      Email         11/5/2021 6:08 PM         11/5/2021 6:08 PM map 2                    M&B map 2 258                Drummond, Tyler          Sigler, Nathan          Martinez, Dianna                map 2.msg                                 Attorney-Client;Work-
                                                                                            A.docx;M&B map 2             <Tyler.Drummond@co gal <Nathan.Sigler@co.galve   <Dianna.Martinez@co.gal                                                   Product                 Communica ion from Mr.
                                                                                            263.docx;M&B map             veston.tx.us>;Paul Ready ston.tx.us>             veston.tx.us>;Van Horn,                                                                           Sigler to Mr. Drummond
                                                                                            336.docx;M&B 490             <paul@ready.law>                                 Veronica                                                                                          and Galveston County
                                                                                            A.docx;M&B                                                                    <Veronica.VanHorn@co.g                                                                            General Counsel, wi h a
                                                                                            490.docx;M&B map 2 263                                                        alveston.tx.us>                                                                                   copy to Dianna Martinez,
                                                                                            A.docx;Map 2                                                                                                                                                                    senior policy and
                                                                                            Commissioner Precinct By                                                                                                                                                        constituent advisor to
                                                                                            Current Voting Precincts &                                                                                                                                                      County Judge Mark Henry,
                                                                                            Splits.docx;M&B 336                                                                                                                                                             and Veronica Van Horn,
                                                                                            A.docx;MB map 2                                                                                                                                                                 legal services manager for
                                                                                            258.docx                                                                                                                                                                        Galveston County,
                                                                                                                                                                                                                                                                            submitting attachments
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                                                                                                                                                                                                                                                                            order.
184      Word          11/5/2021 6:08 PM         11/5/2021 3:12 PM                                                                                                                                        M&B map 2 258 A.docx     Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                                                                    Product                 Communica ion from Mr.
                                                                                                                                                                                                                                                                            Sigler to Mr. Drummond
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                                                                                                                                                                                                                                                                            voting precinct 258-A.




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185      Word          11/5/2021 6:08 PM         11/5/2021 3:14 PM                                                                                   M&B 336 A.docx             Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                 Product                 Communica ion from Mr.
                                                                                                                                                                                                                         Sigler to Mr. Drummond
                                                                                                                                                                                                                         and Galveston County
                                                                                                                                                                                                                         General Counsel, wi h a
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                                                                                                                                                                                                                         voting precinct 336-A.
186      Word          11/5/2021 6:08 PM         11/5/2021 3:15 PM                                                                                   M&B 490.docx               Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                 Product                 Communica ion from Mr.
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                                                                                                                                                                                                                         General Counsel, wi h a
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187      Word          11/5/2021 6:08 PM         11/5/2021 5:54 PM                                                                                   Map 2 Commissioner         Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Precinct By Current Voting                  Product                 Communica ion from Mr.
                                                                                                                                                     Precincts & Splits.docx                                             Sigler to Mr. Drummond
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename               Author           Privilege Tags          Privilege Note
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188      Word          11/5/2021 6:08 PM         11/5/2021 3:14 PM                                                                                   MB map 2 258.docx      Sigler, Nathan   Attorney-Client;Work-
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189      Word          11/5/2021 6:08 PM         11/5/2021 3:13 PM                                                                                   M&B map 2 263 docx     Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                             Product                 Communica ion from Mr.
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190      Word          11/5/2021 6:08 PM         11/5/2021 3:13 PM                                                                                   M&B map 2 263 A.docx   Sigler, Nathan   Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To                          From                     CC                        BCC   Filename           Author           Privilege Tags          Privilege Note
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191      Word          11/5/2021 6:08 PM         11/5/2021 2:55 PM                                                                                                                        M&B map 336.docx   Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                                              Product                 Communica ion from Mr.
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192      Word          11/5/2021 6:08 PM         11/5/2021 3:14 PM                                                                                                                        M&B 490 A.docx     Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                                                              Product                 Communica ion from Mr.
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193      Email         11/5/2021 6:09 PM         11/5/2021 6:09 PM Map 1       M&B map 1                  Paul Ready             Sigler, Nathan           Martinez, Dianna                Map 1 .msg                          Attorney-Client;Work-
                                                                               192.docx;M&B map 1 192     <paul@ready.law>;Drum <Nathan.Sigler@co.galve   <Dianna.Martinez@co.gal                                             Product                 Communica ion from Mr.
                                                                               A.docx;Map 1               mond, Tyler            ston.tx.us>              veston.tx.us>;Van Horn,                                                                     Sigler to Mr. Drummond
                                                                               Commissioner Precinct By   <Tyler.Drummond@co gal                          Veronica                                                                                    and Galveston County
                                                                               Current Voting Precincts   veston.tx.us>                                   <Veronica.VanHorn@co.g                                                                      General Counsel, wi h a
                                                                               and Splits.docx;M&B map                                                    alveston.tx.us>                                                                             copy to Dianna Martinez,
                                                                               1 263 A docx;M&B map 1                                                                                                                                                 senior policy and
                                                                               144 A.docx;M&B map 1                                                                                                                                                   constituent advisor to
                                                                               263.docx;M&B map 1                                                                                                                                                     County Judge Mark Henry,
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                   Author           Privilege Tags          Privilege Note
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194      Word          11/5/2021 6:09 PM         11/5/2021 4:27 PM                                                                                   M&B map 1 192 docx         Sigler, Nathan   Attorney-Client;Work-
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195      Word          11/5/2021 6:09 PM         11/5/2021 5:49 PM                                                                                   Map 1 Commissioner         Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                     Precinct By Current Voting                  Product                 Communica ion from Mr.
                                                                                                                                                     Precincts and Splits.docx                                           Sigler to Mr. Drummond
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename               Author           Privilege Tags          Privilege Note
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196      Word          11/5/2021 6:09 PM         11/5/2021 4:52 PM                                                                                   M&B map 1 263 A.docx   Sigler, Nathan   Attorney-Client;Work-
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197      Word          11/5/2021 6:09 PM         11/5/2021 4:25 PM                                                                                   M&B map 1 144 A.docx   Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                             Product                 Communica ion from Mr.
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198      Word          11/5/2021 6:09 PM         11/5/2021 4:43 PM                                                                                   M&B map 1 263 docx     Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                             Product                 Communica ion from Mr.
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename               Author           Privilege Tags          Privilege Note
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199      Word          11/5/2021 6:09 PM         11/5/2021 4:29 PM                                                                                   M&B map 1 192 A.docx   Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                             Product                 Communica ion from Mr.
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200      Word          11/5/2021 6:09 PM         11/5/2021 4:26 PM                                                                                   M&B map 1 144 docx     Sigler, Nathan   Attorney-Client;Work-
                                                                                                                                                                                             Product                 Communica ion from Mr.
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201      Email         11/7/2021 7:56 PM         11/7/2021 7:56 PM Galveston County Texas   Galveston Map 2             Dale Oldham              Paul Ready             Drummond, Tyler                 Galveston County Texas                   Attorney-Client;Work-
                                                                   Commissioner             10_28.pdf;Galveston Map     <dloesq@aol.com>;jtorchi <paul@ready.law>       <Tyler.Drummond@co.gal          Commissioner                             Product
                                                                   Redistricting Orders     1 10_28.pdf;Galveston       nsky@holtzmanvogel.com                          veston.tx.us>;Martinez,         Redistricting Orders.msg
                                                                                            Map 1 Precincts             ;pgordon@holtzmanvogel.                         Dianna
                                                                                            10_28.pdf;Legal             com                                             <Dianna.Martinez@co.gal
                                                                                            Descriptions Map                                                            veston.tx.us>;Van Horn,
                                                                                            1.pdf;Order Establishing                                                    Veronica
                                                                                            Election Precinct                                                           <Veronica.VanHorn@co.g
                                                                                            Boundaries - Map                                                            alveston.tx.us>;Erin
                                                                                            1.docx;Galveston Map 2                                                      Jensen <erin@ready.law>
                                                                                            Precincts
                                                                                            10_28.pdf;Notice of
                                                                                            Publication - Map 2 -
                                                                                            attach to Order
                                                                                            Establishing Boundaries
                                                                                            when
                                                                                            complete.docx;Order
                                                                                            Establishing Elec ion
                                                                                            Precinct Boundaries - Map
                                                                                            2.docx;Notice of
                                                                                            Publication - Map 1 -                                                                                                                                                        Communica ion from
                                                                                            attach to Order                                                                                                                                                              Galveston County General
                                                                                            Establishing Boundaries                                                                                                                                                      Counsel advising
                                                                                            when complete.docx;Legal                                                                                                                                                     redistricting counsel, Mr.
                                                                                            Descriptions Map                                                                                                                                                             Oldham, Mr. Torchinsky,
                                                                                            2.pdf;Order Establishing                                                                                                                                                     and Mr. Gordon re: what is
                                                                                            New Commissioner                                                                                                                                                             legally required for the
                                                                                            Precinct Boundaries.docx                                                                                                                                                     Commissioners Court to
                                                                                                                                                                                                                                                                         consider and vote on Map
                                                                                                                                                                                                                                                                         1 and Map 2.
202      Word          11/7/2021 7:56 PM         11/6/2021 4:46 PM                                                                                                                                      Order Establishing New     Erin Jensen   Attorney-Client;Work-
                                                                                                                                                                                                        Commissioner Precinct                    Product                 Attachment in email from
                                                                                                                                                                                                        Boundaries.docx                                                  Galveston County General
                                                                                                                                                                                                                                                                         Counsel to redistricting
                                                                                                                                                                                                                                                                         counsel containing
                                                                                                                                                                                                                                                                         proposed order adopting
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                                                                                                                                                                                                                                                                         1 and Map 2.
203      Pdf           11/7/2021 7:56 PM         11/7/2021 7:56 PM                                                                                                                                      Galveston Map 1                          Attorney-Client;Work-
                                                                                                                                                                                                        10_28.pdf                                Product                 Attachment in email from
                                                                                                                                                                                                                                                                         Galveston County General
                                                                                                                                                                                                                                                                         Counsel to redistricting
                                                                                                                                                                                                                                                                         counsel containing
                                                                                                                                                                                                                                                                         proposed order adopting
                                                                                                                                                                                                                                                                         new Commissioners Court
                                                                                                                                                                                                                                                                         precinct maps providing
                                                                                                                                                                                                                                                                         an example of what is
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                                                                                                                                                                                                                                                                         Commissioners Court to
                                                                                                                                                                                                                                                                         consider and vote on Map
                                                                                                                                                                                                                                                                         2 with a PDF of Map 1
                                                                                                                                                                                                                                                                         containing the
                                                                                                                                                                                                                                                                         Commissioners Court
                                                                                                                                                                                                                                                                         precinct lines.
204      Word          11/7/2021 7:56 PM         11/7/2021 6:45 PM                                                                                                                                      Order Establishing         Erin Jensen   Attorney-Client;Work-
                                                                                                                                                                                                        Election Precinct                        Product                 Attachment in email from
                                                                                                                                                                                                        Boundaries - Map 1.docx                                          Galveston County General
                                                                                                                                                                                                                                                                         Counsel to redistricting
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                                                                                                                                                                                                                                                                         proposed order adopting
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                                                                                                                                                                                                                                                                         voting precinct lines.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author        Privilege Tags          Privilege Note
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205      Word          11/7/2021 7:56 PM         11/7/2021 6:52 PM                                                                                   Notice of Publication -   Erin Jensen   Attorney-Client;Work-
                                                                                                                                                     Map 2 - attach to Order                 Product                 Attachment in email from
                                                                                                                                                     Establishing Boundaries                                         Galveston County General
                                                                                                                                                     when complete.docx                                              Counsel to redistricting
                                                                                                                                                                                                                     counsel containing
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                                                                                                                                                                                                                     consider and vote new
                                                                                                                                                                                                                     voting precinct lines.
206      Pdf           11/7/2021 7:56 PM         11/7/2021 3:42 PM                                                                                   Legal Descriptions Map                  Attorney-Client;Work-
                                                                                                                                                     2.pdf                                   Product
                                                                                                                                                                                                                     Attachment in email from
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                                                                                                                                                                                                                     consider and vote on the
                                                                                                                                                                                                                     metes and bounds
                                                                                                                                                                                                                     descriptions of new voting
                                                                                                                                                                                                                     precincts for Map 2.
207      Word          11/7/2021 7:56 PM         11/7/2021 3:26 PM                                                                                   Notice of Publication -   Erin Jensen   Attorney-Client;Work-
                                                                                                                                                     Map 1 - attach to Order                 Product                 Attachment in email from
                                                                                                                                                     Establishing Boundaries                                         Galveston County General
                                                                                                                                                     when complete.docx                                              Counsel to redistricting
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                                                                                                                                                                                                                     voting precinct lines.
208      Pdf           11/7/2021 7:56 PM         11/7/2021 7:56 PM                                                                                   Galveston Map 2                         Attorney-Client;Work-
                                                                                                                                                     Precincts  10_28.pdf                    Product                 Attachment in email from
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                                                                                                                                                                                                                     consider and vote on Map
                                                                                                                                                                                                                     2 with the voting precinct
                                                                                                                                                                                                                     lines within the
                                                                                                                                                                                                                     Commissioners Court
                                                                                                                                                                                                                     precinct lines.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author        Privilege Tags          Privilege Note
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209      Pdf           11/7/2021 7:56 PM         11/7/2021 3:34 PM                                                                                   Legal Descriptions Map                  Attorney-Client;Work-
                                                                                                                                                     1.pdf                                   Product
                                                                                                                                                                                                                     Attachment in email from
                                                                                                                                                                                                                     Galveston County General
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                                                                                                                                                                                                                     precincts for Map 1.
210      Pdf           11/7/2021 7:56 PM         11/7/2021 7:56 PM                                                                                   Galveston Map 2                         Attorney-Client;Work-
                                                                                                                                                     10_28.pdf                               Product                 Attachment in email from
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211      Pdf           11/7/2021 7:56 PM         11/7/2021 7:56 PM                                                                                   Galveston Map 1                         Attorney-Client;Work-
                                                                                                                                                     Precincts  10_28.pdf                    Product                 Attachment in email from
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                                                                                                                                                                                                                     lines within the
                                                                                                                                                                                                                     Commissioners Court
                                                                                                                                                                                                                     precinct lines.
212      Word          11/7/2021 7:56 PM         11/7/2021 6:44 PM                                                                                   Order Establishing        Erin Jensen   Attorney-Client;Work-
                                                                                                                                                     Election Precinct                       Product                 Attachment in email from
                                                                                                                                                     Boundaries - Map 2.docx                                         Galveston County General
                                                                                                                                                                                                                     Counsel to redistricting
                                                                                                                                                                                                                     counsel containing
                                                                                                                                                                                                                     proposed order adopting
                                                                                                                                                                                                                     new Commissioners Court
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                                                                                                                                                                                                                     Commissioners Court to
                                                                                                                                                                                                                     consider and vote on the
                                                                                                                                                                                                                     voting precinct boundaries
                                                                                                                                                                                                                     for Map 2.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject               Plog Attachment Names To                   From                   CC                       BCC   Filename                  Author        Privilege Tags          Privilege Note
         Type
213      Email         11/7/2021 8:00 PM         11/7/2021 8:00 PM Fwd: Galveston County   Galveston Map 1           Dale Oldham      Jason Torchinsky        Phil Gordon                   0008641.eml                             Attorney-Client;Work-
                                                                   Texas Commissioner      10_28.pdf;Galveston Map <dloesq@aol.com>   <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge                                                 Product
                                                                   Redistricting Orders    2 Precincts                                gel.com>                l.com>
                                                                                           10_28.pdf;Legal
                                                                                           Descriptions Map
                                                                                           1.pdf;Order Establishing
                                                                                           Election Precinct
                                                                                           Boundaries - Map
                                                                                           2.docx;Notice of
                                                                                           Publication - Map 2 -
                                                                                           attach to Order
                                                                                           Establishing Boundaries
                                                                                           when
                                                                                           complete.docx;Galveston
                                                                                           Map 1 Precincts
                                                                                           10_28.pdf;Order
                                                                                           Establishing Elec ion
                                                                                           Precinct Boundaries - Map
                                                                                           1.docx;Galveston Map 2                                                                                                                                           Communica ion between
                                                                                           10_28.pdf;Notice of                                                                                                                                              redistricting counsel
                                                                                           Publication - Map 1 -                                                                                                                                            discussing communication
                                                                                           attach to Order                                                                                                                                                  from Galveston County
                                                                                           Establishing Boundaries                                                                                                                                          General Counsel re:
                                                                                           when complete.docx;Legal                                                                                                                                         upcoming special session
                                                                                           Descriptions Map                                                                                                                                                 and needed legal advise
                                                                                           2.pdf;Order Establishing                                                                                                                                         prior to, and following,
                                                                                           New Commissioner                                                                                                                                                 special session and
                                                                                           Precinct Boundaries.docx                                                                                                                                         generally how to best
                                                                                                                                                                                                                                                            achieve client's
                                                                                                                                                                                                                                                            expectations.
214      Pdf           11/7/2021 8:00 PM        12/31/9999 6:00 PM                                                                                                                          Galveston Map 2                         Attorney-Client;Work-
                                                                                                                                                                                            10_28.pdf                               Product                 Attachment in email
                                                                                                                                                                                                                                                            between redistric ing
                                                                                                                                                                                                                                                            counsel containing image
                                                                                                                                                                                                                                                            of proposed Map 2.
215      Word          11/7/2021 8:00 PM         11/7/2021 3:26 PM                                                                                                                          Notice of Publication -   Erin Jensen   Attorney-Client;Work-   Attachment in email
                                                                                                                                                                                            Map 1 - attach to Order                 Product                 between redistric ing
                                                                                                                                                                                            Establishing Boundaries                                         counsel containing
                                                                                                                                                                                            when complete.docx                                              proposed notice of new
                                                                                                                                                                                                                                                            voter precincts by
                                                                                                                                                                                                                                                            Commissioners Court
                                                                                                                                                                                                                                                            precinct.
216      Word          11/7/2021 8:00 PM         11/7/2021 6:52 PM                                                                                                                          Notice of Publication -   Erin Jensen   Attorney-Client;Work-   Attachment in email
                                                                                                                                                                                            Map 2 - attach to Order                 Product                 between redistric ing
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                                                                                                                                                                                            when complete.docx                                              proposed notice of new
                                                                                                                                                                                                                                                            voting precincts by
                                                                                                                                                                                                                                                            Commissioners Court
                                                                                                                                                                                                                                                            precincts.
217      Pdf           11/7/2021 8:00 PM         11/7/2021 3:34 PM                                                                                                                          Legal Descriptions Map                  Attorney-Client;Work-
                                                                                                                                                                                            1.pdf                                   Product                 Attachment in email
                                                                                                                                                                                                                                                            between redistric ing
                                                                                                                                                                                                                                                            counsel containing metes
                                                                                                                                                                                                                                                            and bounds description of
                                                                                                                                                                                                                                                            voting precinct 103.
218      Pdf           11/7/2021 8:00 PM        12/31/9999 6:00 PM                                                                                                                          Galveston Map 1                         Attorney-Client;Work-
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                                                                                                                                                                                                                                                            counsel containing image
                                                                                                                                                                                                                                                            of proposed Map 1.
219      Word          11/7/2021 8:00 PM         11/7/2021 6:44 PM                                                                                                                          Order Establishing        Erin Jensen   Attorney-Client;Work-   Attachment in email
                                                                                                                                                                                            Election Precinct                       Product                 between redistric ing
                                                                                                                                                                                            Boundaries - Map 2.docx                                         counsel containing
                                                                                                                                                                                                                                                            proposed order adopting
                                                                                                                                                                                                                                                            new Commissioners Court
                                                                                                                                                                                                                                                            precincts.
220      Pdf           11/7/2021 8:00 PM        12/31/9999 6:00 PM                                                                                                                          Galveston Map 2                         Attorney-Client;Work-
                                                                                                                                                                                            Precincts  10_28.pdf                    Product                 Attachment in email
                                                                                                                                                                                                                                                            between redistric ing
                                                                                                                                                                                                                                                            counsel containing image
                                                                                                                                                                                                                                                            of proposed Map 2 with
                                                                                                                                                                                                                                                            voting precincts overlaid.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                       From                    CC   BCC   Filename                  Author         Privilege Tags          Privilege Note
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221      Word          11/7/2021 8:00 PM         11/7/2021 6:45 PM                                                                                                            Order Establishing        Erin Jensen    Attorney-Client;Work-   Attachment in email
                                                                                                                                                                              Election Precinct                        Product                 between redistric ing
                                                                                                                                                                              Boundaries - Map 1.docx                                          counsel containing
                                                                                                                                                                                                                                               proposed order adopting
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                                                                                                                                                                                                                                               precincts.
222      Pdf           11/7/2021 8:00 PM         11/7/2021 3:42 PM                                                                                                            Legal Descriptions Map                   Attorney-Client;Work-
                                                                                                                                                                              2.pdf                                    Product                 Attachment in email
                                                                                                                                                                                                                                               between redistric ing
                                                                                                                                                                                                                                               counsel containing metes
                                                                                                                                                                                                                                               and bounds description of
                                                                                                                                                                                                                                               voting precinct 103.
223      Pdf           11/7/2021 8:00 PM        12/31/9999 6:00 PM                                                                                                            Galveston Map 1                          Attorney-Client;Work-   Attachment in email
                                                                                                                                                                              Precincts  10_28.pdf                     Product                 between redistric ing
                                                                                                                                                                                                                                               counsel containing an
                                                                                                                                                                                                                                               image of proposed Map 1
                                                                                                                                                                                                                                               with voting precincts
                                                                                                                                                                                                                                               overlaid.
224      Word          11/7/2021 8:00 PM         11/6/2021 4:46 PM                                                                                                            Order Establishing New    Erin Jensen    Attorney-Client;Work-   Attachment in email
                                                                                                                                                                              Commissioner Precinct                    Product                 between redistric ing
                                                                                                                                                                              Boundaries.docx                                                  counsel containing
                                                                                                                                                                                                                                               proposed order adopting
                                                                                                                                                                                                                                               new Commissioners Court
                                                                                                                                                                                                                                               precincts.
225      Email        11/8/2021 10:19 AM        11/8/2021 10:19 AM Fwd: modified invetory   Galveston Map 2          pgordon@holtzmanvogel. <dloesq@aol.com>                  0014970.eml                              Attorney-Client;Work-   Mr. Oldham forwarding to
                                                                                            Precincts                com                                                                                               Product                 Mr. Gordon,
                                                                                            10_28.pdf;Galveston_Anal                                                                                                                           communication from Mr.
                                                                                            ysis                                                                                                                                               Byran to Mr. Gordon and
                                                                                            10_28_21.xlsx;Galveston                                                                                                                            Mr. Oldham describing
                                                                                            Map 2                                                                                                                                              modifications to precincts
                                                                                            10_28.pdf;Galveston Map                                                                                                                            so that Mr. Oldham and
                                                                                            1 Precincts                                                                                                                                        Mr. Gordon could
                                                                                            10_28.pdf;Galveston Map                                                                                                                            formulate and provide
                                                                                            1 10_28.pdf                                                                                                                                        legal opinions.
226      Excel        11/8/2021 10:19 AM        10/28/2021 3:55 PM                                                                                                            Galveston_Analysis        thomas bryan   Attorney-Client;Work-   Mr. Oldham forwarding to
                                                                                                                                                                              10_28_21 xlsx                            Product                 Mr. Gordon,
                                                                                                                                                                                                                                               communication from Mr.
                                                                                                                                                                                                                                               Byran to Mr. Gordon and
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                                                                                                                                                                                                                                               modifications to precincts
                                                                                                                                                                                                                                               so that Mr. Oldham and
                                                                                                                                                                                                                                               Mr. Gordon could
                                                                                                                                                                                                                                               formulate and provide
                                                                                                                                                                                                                                               legal opinions;
                                                                                                                                                                                                                                               attachment, Excel
                                                                                                                                                                                                                                               spreadsheet containing
                                                                                                                                                                                                                                               data and analysis for Mr.
                                                                                                                                                                                                                                               Oldham and Mr. Gordon to
                                                                                                                                                                                                                                               formulate their legal
                                                                                                                                                                                                                                               opinions.
227      Pdf          11/8/2021 10:19 AM        12/31/9999 6:00 PM                                                                                                            Galveston Map 1                          Attorney-Client;Work-   Mr. Oldham forwarding to
                                                                                                                                                                              10_28.pdf                                Product                 Mr. Gordon,
                                                                                                                                                                                                                                               communication from Mr.
                                                                                                                                                                                                                                               Byran to Mr. Gordon and
                                                                                                                                                                                                                                               Mr. Oldham describing
                                                                                                                                                                                                                                               modifications to precincts
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                                                                                                                                                                                                                                               legal opinions;
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228      Pdf          11/8/2021 10:19 AM        12/31/9999 6:00 PM                                                                                                                                Galveston Map 2                     Attorney-Client;Work-   Mr. Oldham forwarding to
                                                                                                                                                                                                  Precincts 10_28.pdf                 Product                 Mr. Gordon,
                                                                                                                                                                                                                                                              communication from Mr.
                                                                                                                                                                                                                                                              Byran to Mr. Gordon and
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                                                                                                                                                                                                                                                              modifications to precincts
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                                                                                                                                                                                                                                                              legal opinions;
                                                                                                                                                                                                                                                              attachment, PDF of Map 2
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                                                                                                                                                                                                                                                              identified.
229      Pdf          11/8/2021 10:19 AM        12/31/9999 6:00 PM                                                                                                                                Galveston Map 2                     Attorney-Client;Work-   Mr. Oldham forwarding to
                                                                                                                                                                                                  10_28.pdf                           Product                 Mr. Gordon,
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                                                                                                                                                                                                                                                              Mr. Oldham describing
                                                                                                                                                                                                                                                              modifications to precincts
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                                                                                                                                                                                                                                                              legal opinions;
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230      Pdf          11/8/2021 10:19 AM        12/31/9999 6:00 PM                                                                                                                                Galveston Map 1                     Attorney-Client;Work-   Mr. Oldham forwarding to
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                                                                                                                                                                                                                                                              communication from Mr.
                                                                                                                                                                                                                                                              Byran to Mr. Gordon and
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                                                                                                                                                                                                                                                              modifications to precincts
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                                                                                                                                                                                                                                                              legal opinions;
                                                                                                                                                                                                                                                              attachment, PDF of Map 1
                                                                                                                                                                                                                                                              with voting precincts
                                                                                                                                                                                                                                                              identified.
231      Email        11/8/2021 10:41 AM        11/8/2021 10:41 AM Re: Galveston County   11.pdf               Dale Oldham              Paul Ready             Drummond, Tyler                    Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner                          <dloesq@aol.com>;jtorchi <paul@ready.law>       <Tyler.Drummond@co.gal             Texas Commissioner                  Product
                                                                   Redistricting Orders                        nsky@holtzmanvogel.com                          veston.tx.us>;Martinez,            Redistricting Orders.msg
                                                                                                               ;pgordon@holtzmanvogel.                         Dianna
                                                                                                               com                                             <Dianna.Martinez@co.gal
                                                                                                                                                               veston.tx.us>;Van Horn,                                                                        Communica ion between
                                                                                                                                                               Veronica                                                                                       Galveston County General
                                                                                                                                                               <Veronica.VanHorn@co.g                                                                         Counsel and redistricting
                                                                                                                                                               alveston.tx.us>;Erin                                                                           counsel discussing the
                                                                                                                                                               Jensen <erin@ready.law>                                                                        scope of redistricting
                                                                                                                                                                                                                                                              representation.
232      Pdf          11/8/2021 10:41 AM         4/5/2021 12:14 PM                                                                                                                                11 pdf                              Attorney-Client;Work-   Attachment to email
                                                                                                                                                                                                                                      Product                 between Galveston
                                                                                                                                                                                                                                                              County General Counsel
                                                                                                                                                                                                                                                              and redistricting counsel
                                                                                                                                                                                                                                                              discussing scope of
                                                                                                                                                                                                                                                              engagement, which
                                                                                                                                                                                                                                                              contains a copy of the
                                                                                                                                                                                                                                                              engagement letter wi h
                                                                                                                                                                                                                                                              redistricting counsel.
233      Email        11/8/2021 10:41 AM        11/8/2021 10:41 AM Re: Galveston County   11.pdf;.htm          Dale Oldham             Paul Ready              Drummond, Tyler                    0008649.eml                         Attorney-Client;Work-
                                                                   Texas Commissioner                          <dloesq@aol.com>;<jtorc <paul@ready.law>        <Tyler.Drummond@co.gal                                                 Product
                                                                   Redistricting Orders                        hinsky@holtzmanvogel.co                         veston.tx.us>;Martinez,
                                                                                                               m>;<pgordon@holtzmanv                           Dianna                                                                                         Communica ion between
                                                                                                               ogel.com>                                       <Dianna.Martinez@co.gal                                                                        Galveston County General
                                                                                                                                                               veston.tx.us>;Van Horn,                                                                        Counsel and redistricting
                                                                                                                                                               Veronica                                                                                       counsel discussing the
                                                                                                                                                               <veronica.vanhorn@co.ga                                                                        scope of redistricting
                                                                                                                                                               lveston.tx.us>;Erin Jensen                                                                     representation pursuant to
                                                                                                                                                               <erin@ready.law>                                                                               the engagement letter with
                                                                                                                                                                                                                                                              Galveston County.




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234      Pdf          11/8/2021 10:41 AM         4/5/2021 12:14 PM                                                                                                11 pdf                      Attorney-Client;Work-   Attachment to email
                                                                                                                                                                                              Product                 between Galveston
                                                                                                                                                                                                                      County General Counsel
                                                                                                                                                                                                                      and redistricting counsel
                                                                                                                                                                                                                      discussing scope of
                                                                                                                                                                                                                      engagement, which
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                                                                                                                                                                                                                      engagement letter wi h
                                                                                                                                                                                                                      redistricting counsel.
235      Html         11/8/2021 10:41 AM        12/31/9999 6:00 PM                                                                                                .htm                        Attorney-Client;Work-
                                                                                                                                                                                              Product                 Communica ion from
                                                                                                                                                                                                                      Galveston County General
                                                                                                                                                                                                                      Counsel advising
                                                                                                                                                                                                                      redistricting counsel, Mr.
                                                                                                                                                                                                                      Oldham, Mr. Torchinsky,
                                                                                                                                                                                                                      and Mr. Gordon re:
                                                                                                                                                                                                                      upcoming special session
                                                                                                                                                                                                                      and needed legal advise
                                                                                                                                                                                                                      prior to, and following,
                                                                                                                                                                                                                      special session.
236      Email         11/8/2021 2:35 PM         11/8/2021 2:35 PM Galveston   Galveston_Map2           Jason Torchinsky        tom@bryangeodemo.com              Galveston.msg               Attorney-Client;Work-
                                                                               10_28_21.shp;Galveston_ <jtorchinsky@hvjt.law>                                                                 Product
                                                                               Map2
                                                                               10_28_21.sbn;Galveston_
                                                                               Map2
                                                                               10_28_21.sbx;Galveston_
                                                                               Map1
                                                                               10_28_21.shp.xml;Galvest
                                                                               on_Map1
                                                                               10_28_21.sbn;Galveston_
                                                                               Map2
                                                                               10_28_21.shp.xml;Galvest
                                                                               on_Map1
                                                                               10_28_21.sbx;Galveston_
                                                                               Map1                                                                                                                                   Communica ion between
                                                                               10_28_21.dbf;Galveston_                                                                                                                Mr. Bryan and redistricting
                                                                               Map2                                                                                                                                   counsel passing along
                                                                               10_28_21.dbf;Galveston_                                                                                                                several documents related
                                                                               Map2                                                                                                                                   to Map 1 and 2 proposals
                                                                               10_28_21.shx;Galveston_                                                                                                                for the purpose of
                                                                               Map1                                                                                                                                   obtaining redistricting
                                                                               10_28_21.shx;Galveston_                                                                                                                counsel's legal advice and
                                                                               Map1 10_28_21.shp                                                                                                                      analysis.
237      Cad           11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                                Galveston_Map2              Attorney-Client;Work-
                                                                                                                                                                  10_28_21 shp                Product                 Attachment to email from
                                                                                                                                                                                                                      Mr. Bryan to redistricting
                                                                                                                                                                                                                      counsel containing
                                                                                                                                                                                                                      informa ion related to Map
                                                                                                                                                                                                                      1 and 2 proposals for the
                                                                                                                                                                                                                      purpose of obtaining legal
                                                                                                                                                                                                                      advice and analysis.
238      Text          11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                                Galveston_Map1              Attorney-Client;Work-
                                                                                                                                                                  10_28_21 shp.xml            Product                 Attachment to email from
                                                                                                                                                                                                                      Mr. Bryan to redistricting
                                                                                                                                                                                                                      counsel containing
                                                                                                                                                                                                                      informa ion related to Map
                                                                                                                                                                                                                      1 and 2 proposals for the
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239      Cad           11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                                Galveston_Map2              Attorney-Client;Work-
                                                                                                                                                                  10_28_21 sbn                Product                 Attachment to email from
                                                                                                                                                                                                                      Mr. Bryan to redistricting
                                                                                                                                                                                                                      counsel containing
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename           Author   Privilege Tags          Privilege Note
         Type
240      Cad           11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2              Attorney-Client;Work-
                                                                                                                                                     10_28_21 sbx                Product                 Attachment to email from
                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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241      Cad           11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1              Attorney-Client;Work-
                                                                                                                                                     10_28_21 sbx                Product                 Attachment to email from
                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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242      Cad           11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2              Attorney-Client;Work-
                                                                                                                                                     10_28_21 shx                Product                 Attachment to email from
                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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243      Database      11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1              Attorney-Client;Work-
                                                                                                                                                     10_28_21 dbf                Product                 Attachment to email from
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244      Cad           11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1              Attorney-Client;Work-
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                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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245      Cad           11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1              Attorney-Client;Work-
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246      Text          11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2              Attorney-Client;Work-
                                                                                                                                                     10_28_21 shp.xml            Product                 Attachment to email from
                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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247      Database      11/8/2021 2:35 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2              Attorney-Client;Work-
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                                                                                                                                                                                                         Mr. Bryan to redistricting
                                                                                                                                                                                                         counsel containing
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248      Cad           11/8/2021 2:35 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1              Attorney-Client;Work-
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                                                                                                                                                                                                         counsel containing
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                                                                                                                                                                                                         purpose of obtaining legal
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject         Plog Attachment Names To                        From                   CC                 BCC   Filename                      Author             Privilege Tags          Privilege Note
         Type
249      Email         11/8/2021 2:51 PM         11/8/2021 2:51 PM Galveston Block   Galveston M1M2         Jason Torchinsky         tom@bryangeodemo.com                            Galveston Block                                  Attorney-Client;Work-
                                                                   Assignments       Assignments.xlsx       <jtorchinsky@hvjt.law>                                                   Assignments.msg                                  Product                 Communica ion between
                                                                                                                                                                                                                                                              Mr. Bryan and redistricting
                                                                                                                                                                                                                                                              counsel passing along
                                                                                                                                                                                                                                                              document related to Map 1
                                                                                                                                                                                                                                                              and 2 proposals for the
                                                                                                                                                                                                                                                              purpose of obtaining
                                                                                                                                                                                                                                                              redistricting counsel's
                                                                                                                                                                                                                                                              legal advice and analysis.
250      Excel         11/8/2021 2:51 PM         11/8/2021 2:50 PM                                                                                                                   Galveston M1M2                thomas bryan       Attorney-Client;Work-
                                                                                                                                                                                     Assignments.xlsx                                 Product                 Attachment to email from
                                                                                                                                                                                                                                                              Mr. Bryan to redistricting
                                                                                                                                                                                                                                                              counsel containing
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                                                                                                                                                                                                                                                              advice and analysis.
251      Email         11/8/2021 3:09 PM         11/8/2021 3:09 PM Re: Galveston     Order Establishing       Jason Torchinsky        Phil Gordon           Dale Oldham              0008653.eml                                      Attorney-Client;Work-
                                                                                     Commissioner Precinct    <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>                                                          Product
                                                                                     (District) Boundaries -  gel.com>                l.com>
                                                                                     Galveston Map 2 -
                                                                                     11_8_21 docx;Galveston
                                                                                     Commissioner Precincts
                                                                                     (Districts) - Map 2 -
                                                                                     8_11_21 pdf;Order
                                                                                     Establishing
                                                                                     Commissioner Precinct                                                                                                                                                    Communica ion between
                                                                                     (District) Boundaries -                                                                                                                                                  Mr. Gordon and other
                                                                                     Galveston Map 1 -                                                                                                                                                        redistricting counsel
                                                                                     11_8_21 docx;Galveston                                                                                                                                                   passing along several
                                                                                     Commissioner Precincts                                                                                                                                                   documents related to Map
                                                                                     (Districts) - Map 1 -                                                                                                                                                    1 and 2 proposals for the
                                                                                     8_11_21 pdf;image001.jpg                                                                                                                                                 purpose of furnishing legal
                                                                                                                                                                                                                                                              advice and analysis.
252      Pdf           11/8/2021 3:09 PM        12/31/9999 6:00 PM                                                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment to email from
                                                                                                                                                                                     Precincts (Districts) - Map                      Product                 Mr. Gordon to other
                                                                                                                                                                                     1 - 8_11_21.pdf                                                          redistricting counsel
                                                                                                                                                                                                                                                              containing information
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                                                                                                                                                                                                                                                              and analysis.
253      Image         11/8/2021 3:09 PM        12/31/9999 6:00 PM                                                                                                                   image001.jpg                                     Attorney-Client;Work-
                                                                                                                                                                                                                                      Product                 HVBTJ logo attached to
                                                                                                                                                                                                                                                              email from Mr. Gordon to
                                                                                                                                                                                                                                                              other redistricting counsel
                                                                                                                                                                                                                                                              containing information
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254      Word          11/8/2021 3:09 PM         11/8/2021 3:08 PM                                                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                     Commissioner Precinct                            Product                 Mr. Gordon to other
                                                                                                                                                                                     (District) Boundaries -                                                  redistricting counsel
                                                                                                                                                                                     Galveston Map 2 -                                                        containing information
                                                                                                                                                                                     11_8_21.docx                                                             related to Map 1 and 2
                                                                                                                                                                                                                                                              proposals for the purpose
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                                                                                                                                                                                                                                                              and analysis.
255      Word          11/8/2021 3:09 PM         11/8/2021 3:07 PM                                                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                     Commissioner Precinct                            Product                 Mr. Gordon to other
                                                                                                                                                                                     (District) Boundaries -                                                  redistricting counsel
                                                                                                                                                                                     Galveston Map 1 -                                                        containing information
                                                                                                                                                                                     11_8_21.docx                                                             related to Map 1 and 2
                                                                                                                                                                                                                                                              proposals for the purpose
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject       Plog Attachment Names To                      From                   CC                  BCC   Filename                      Author   Privilege Tags          Privilege Note
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256      Pdf           11/8/2021 3:09 PM        12/31/9999 6:00 PM                                                                                                                Galveston Commissioner                 Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                  Precincts (Districts) - Map            Product                 Mr. Gordon to other
                                                                                                                                                                                  2 - 8_11_21.pdf                                                redistricting counsel
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                                                                                                                                                                                                                                                 proposals for the purpose
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                                                                                                                                                                                                                                                 and analysis.
257      Email         11/8/2021 3:10 PM         11/8/2021 3:10 PM Re: Galveston   image001.jpg           Phil Gordon           Jason Torchinsky        Dale Oldham               0008654.eml                            Attorney-Client;Work-   Communica ion between
                                                                                                          <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo <dloesq@aol.com>                                                 Product                 Mr. Torchinsky and other
                                                                                                          l.com>                gel.com>                                                                                                         redistricting counsel
                                                                                                                                                                                                                                                 discussing and approving
                                                                                                                                                                                                                                                 several documents related
                                                                                                                                                                                                                                                 to Map 1 and 2 proposals
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                                                                                                                                                                                                                                                 analysis.
258      Image         11/8/2021 3:10 PM        12/31/9999 6:00 PM                                                                                                                image001.jpg                           Attorney-Client;Work-   Attachment to email
                                                                                                                                                                                                                         Product                 between Mr. Torchinsky
                                                                                                                                                                                                                                                 and other redistricting
                                                                                                                                                                                                                                                 counsel containing law
                                                                                                                                                                                                                                                 firm's logo.
259      Email         11/8/2021 3:59 PM         11/8/2021 3:59 PM Re: Galveston   Galveston_Map1          Jason Torchinsky        Phil Gordon           Dale Oldham              0008655.eml                            Attorney-Client;Work-
                                                                                   10_28_21.dbf;Order      <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>                                                Product
                                                                                   Establishing            gel.com>                l.com>
                                                                                   Commissioner Precinct
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                                                                                   Galveston Map 2 -
                                                                                   11_8_21 docx;Galveston_
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                                                                                   10_28_21.sbn;Order                                                                                                                                            Mr. Gordon and other
                                                                                   Establishing                                                                                                                                                  redistricting counsel
                                                                                   Commissioner Precinct                                                                                                                                         passing along several
                                                                                   (District) Boundaries -                                                                                                                                       documents related to Map
                                                                                   Galveston Map 1 -                                                                                                                                             1 and 2 proposals for the
                                                                                   11_8_21 docx;Galveston                                                                                                                                        purpose of furnishing legal
                                                                                   Commissioner Precincts                                                                                                                                        advice and analysis.
260      Text          11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                                                Galveston_Map2                         Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                  10_28_21 shp.xml                       Product                 Mr. Gordon to other
                                                                                                                                                                                                                                                 redistricting counsel
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                                                                                                                                                                                                                                                 proposals for the purpose
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261      Database      11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                                                Galveston_Map1                         Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                  10_28_21 dbf                           Product                 Mr. Gordon to other
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262      Cad           11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 shp                                     Product                 Mr. Gordon to other
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263      Pdf           11/8/2021 3:59 PM        12/31/9999 6:00 PM                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     Precincts (Districts) - Map                      Product                 Mr. Gordon to other
                                                                                                                                                     2 - 8_11_21.pdf                                                          redistricting counsel
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264      Database      11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 dbf                                     Product                 Mr. Gordon to other
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265      Text          11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment in email from
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266      Image         11/8/2021 3:59 PM        12/31/9999 6:00 PM                                                                                   image002.jpg                                     Attorney-Client;Work-
                                                                                                                                                                                                      Product                 HVBTJ logo attached to
                                                                                                                                                                                                                              email from Mr. Gordon to
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267      Cad           11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 shx                                     Product                 Mr. Gordon to other
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268      Cad           11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment in email from
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269      Word          11/8/2021 3:59 PM         11/8/2021 3:07 PM                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     Commissioner Precinct                            Product                 Mr. Gordon to other
                                                                                                                                                     (District) Boundaries -                                                  redistricting counsel
                                                                                                                                                     Galveston Map 1 -                                                        containing information
                                                                                                                                                     11_8_21.docx                                                             related to Map 1 and 2
                                                                                                                                                                                                                              proposals for the purpose
                                                                                                                                                                                                                              of furnishing legal advice
                                                                                                                                                                                                                              and analysis.




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                                                                                  Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 47 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                      Author             Privilege Tags          Privilege Note
         Type
270      Image         11/8/2021 3:59 PM        12/31/9999 6:00 PM                                                                                   image001.jpg                                     Attorney-Client;Work-
                                                                                                                                                                                                      Product                 HVBTJ logo attached to
                                                                                                                                                                                                                              email from Mr. Gordon to
                                                                                                                                                                                                                              other redistricting counsel
                                                                                                                                                                                                                              containing information
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271      Cad           11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 sbn                                     Product                 Mr. Gordon to other
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272      Word          11/8/2021 3:59 PM         11/8/2021 3:08 PM                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     Commissioner Precinct                            Product                 Mr. Gordon to other
                                                                                                                                                     (District) Boundaries -                                                  redistricting counsel
                                                                                                                                                     Galveston Map 2 -                                                        containing information
                                                                                                                                                     11_8_21.docx                                                             related to Map 1 and 2
                                                                                                                                                                                                                              proposals for the purpose
                                                                                                                                                                                                                              of furnishing legal advice
                                                                                                                                                                                                                              and analysis.
273      Cad           11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 sbx                                     Product                 Mr. Gordon to other
                                                                                                                                                                                                                              redistricting counsel
                                                                                                                                                                                                                              containing information
                                                                                                                                                                                                                              related to Map 1 and 2
                                                                                                                                                                                                                              proposals for the purpose
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274      Cad           11/8/2021 3:59 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 sbn                                     Product                 Mr. Gordon to other
                                                                                                                                                                                                                              redistricting counsel
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275      Cad           11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 shp                                     Product                 Mr. Gordon to other
                                                                                                                                                                                                                              redistricting counsel
                                                                                                                                                                                                                              containing information
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276      Pdf           11/8/2021 3:59 PM        12/31/9999 6:00 PM                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     Precincts (Districts) - Map                      Product                 Mr. Gordon to other
                                                                                                                                                     1 - 8_11_21.pdf                                                          redistricting counsel
                                                                                                                                                                                                                              containing information
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277      Cad           11/8/2021 3:59 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment in email from
                                                                                                                                                     10_28_21 sbx                                     Product                 Mr. Gordon to other
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject              Plog Attachment Names To                       From                     CC                        BCC   Filename                   Author   Privilege Tags          Privilege Note
         Type
278      Email         11/8/2021 4:37 PM         11/8/2021 4:37 PM Re: Galveston County   Galveston_Map2            Paul Ready              Phil Gordon           Dale Oldham                     Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner     10_28_21.dbf;Galveston_   <paul@ready.law>;Drum <pgordon@HoltzmanVoge   <dloesq@aol.com>;Jason          Texas Commissioner                  Product
                                                                   Redistricting Orders   Map1                      mond, Tyler             l.com>                Torchinsky                      Redistricting Orders.msg
                                                                                          10_28_21.shp;Galveston_   <Tyler.Drummond@co gal                        <jtorchinsky@HoltzmanVo
                                                                                          Map2                      veston.tx.us>;Martinez,                       gel.com>
                                                                                          10_28_21.sbx;Galveston_   Dianna
                                                                                          Map2                      <Dianna Martinez@co.gal
                                                                                          10_28_21.shx;Galveston_   veston.tx.us>;Van Horn,
                                                                                          Map2                      Veronica
                                                                                          10_28_21.shp.xml;Order    <Veronica.VanHorn@co.g
                                                                                          Establishing              alveston.tx.us>;Erin
                                                                                          Commissioner Precinct     Jensen <erin@ready.law>
                                                                                          (District) Boundaries -
                                                                                          Galveston Map 1 -
                                                                                          11_8_21 docx;Order
                                                                                          Establishing
                                                                                          Commissioner Precinct
                                                                                          (District) Boundaries -
                                                                                          Galveston Map 2 -
                                                                                          11_8_21 docx;Galveston_
                                                                                          Map1
                                                                                          10_28_21.dbf;Galveston_                                                                                                                                             Communica ion from Mr.
                                                                                          Map2                                                                                                                                                                Gordon to Galveston
                                                                                          10_28_21.shp;Galveston_                                                                                                                                             County General Counsel,
                                                                                          Map2                                                                                                                                                                redistricting counsel, and
                                                                                          10_28_21.sbn;Galveston                                                                                                                                              other Galveston County
                                                                                          Commissioner Precincts                                                                                                                                              employees containing
                                                                                          (Districts) - Map 1 -                                                                                                                                               legal advice, instructions
                                                                                          8_11_21 pdf;Galveston                                                                                                                                               for adoption of redistricting
                                                                                          Commissioner Precincts                                                                                                                                              order, and supporting
                                                                                          (Districts) - Map 2 -                                                                                                                                               documents relating to Map
                                                                                          8_11_21 pdf;Galveston_M                                                                                                                                             1 and 2 proposals.
279      Cad           11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                                                                Galveston_Map2                                              Attachment in
                                                                                                                                                                                                  10_28_21 sbx                                                communication from Mr.
                                                                                                                                                                                                                                                              Gordon to Galveston
                                                                                                                                                                                                                                                              County General Counsel
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280      Text          11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                                                                Galveston_Map1                                              Attachment in
                                                                                                                                                                                                  10_28_21 shp.xml                                            communication from Mr.
                                                                                                                                                                                                                                                              Gordon to Galveston
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281      Text          11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                                                                Galveston_Map2                                              Attachment in
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282      Database      11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                                                                Galveston_Map1                                              Attachment in
                                                                                                                                                                                                  10_28_21 dbf                                                communication from Mr.
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                      Author             Privilege Tags          Privilege Note
         Type
283      Pdf           11/8/2021 4:37 PM         11/8/2021 4:37 PM                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment in
                                                                                                                                                     Precincts (Districts) - Map                      Product                 communication from Mr.
                                                                                                                                                     1 - 8_11_21.pdf                                                          Gordon to Galveston
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284      Word          11/8/2021 4:37 PM         11/8/2021 3:07 PM                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-
                                                                                                                                                     Commissioner Precinct                            Product                 Attachment in
                                                                                                                                                     (District) Boundaries -                                                  communication from Mr.
                                                                                                                                                     Galveston Map 1 -                                                        Gordon to Galveston
                                                                                                                                                     11_8_21.docx                                                             County General Counsel
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                                                                                                                                                                                                                              proposals; draft order sent
                                                                                                                                                                                                                              to Galveston County
                                                                                                                                                                                                                              General Counsel for legal
                                                                                                                                                                                                                              review.
285      Pdf           11/8/2021 4:37 PM         11/8/2021 4:37 PM                                                                                   Galveston Commissioner                                                   Attachment in
                                                                                                                                                     Precincts (Districts) - Map                                              communication from Mr.
                                                                                                                                                     2 - 8_11_21.pdf                                                          Gordon to Galveston
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286      Cad           11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                                           Attachment in
                                                                                                                                                     10_28_21 shx                                                             communication from Mr.
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287      Cad           11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                                           Attachment in
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288      Database      11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                                           Attachment in
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author             Privilege Tags          Privilege Note
         Type
289      Cad           11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                                       Attachment in
                                                                                                                                                     10_28_21 shp                                                         communication from Mr.
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290      Cad           11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                                       Attachment in
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291      Word          11/8/2021 4:37 PM         11/8/2021 3:08 PM                                                                                   Order Establishing        Jason Torchinsky   Attorney-Client;Work-
                                                                                                                                                     Commissioner Precinct                        Product                 Attachment in
                                                                                                                                                     (District) Boundaries -                                              communication from Mr.
                                                                                                                                                     Galveston Map 2 -                                                    Gordon to Galveston
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                                                                                                                                                                                                                          draft order sent to
                                                                                                                                                                                                                          Galveston County General
                                                                                                                                                                                                                          Counsel for legal review.
292      Cad           11/8/2021 4:37 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                                       Attachment in
                                                                                                                                                     10_28_21 sbn                                                         communication from Mr.
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293      Cad           11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                                       Attachment in
                                                                                                                                                     10_28_21 sbx                                                         communication from Mr.
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294      Cad           11/8/2021 4:37 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                                       Attachment in
                                                                                                                                                     10_28_21 shx                                                         communication from Mr.
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Doc ID   Document   Family Date            Date (DISCO Date)       Subject                Plog Attachment Names To                       From                       CC                        BCC   Filename                   Author   Privilege Tags          Privilege Note
         Type
295      Email         11/8/2021 6:08 PM         11/8/2021 6:08 PM Re: Galveston County                        Phil Gordon             Paul Ready                   Drummond, Tyler                 Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner                          <pgordon@HoltzmanVoge <paul@ready.law>               <Tyler.Drummond@co.gal          Texas Commissioner                  Product
                                                                   Redistricting Orders                        l.com>;Martinez, Dianna                              veston.tx.us>;Van Horn,         Redistricting
                                                                                                               <Dianna Martinez@co.gal                              Veronica                        Orders.msg;0008658.eml
                                                                                                               veston.tx.us>                                        <Veronica.VanHorn@co.g
                                                                                                                                                                    alveston.tx.us>;Erin
                                                                                                                                                                    Jensen
                                                                                                                                                                    <erin@ready.law>;Dale                                                                       Communica ion from
                                                                                                                                                                    Oldham                                                                                      Galveston County General
                                                                                                                                                                    <dloesq@aol.com>;Jason                                                                      Counsel to redistricting
                                                                                                                                                                    Torchinsky                                                                                  counsel and Galveston
                                                                                                                                                                    <jtorchinsky@HoltzmanVo                                                                     County employees
                                                                                                                                                                    gel.com>;Van Horn,                                                                          coordinating Map 1 and 2
                                                                                                                                                                    Veronica                                                                                    proposals for the 11/12/21
                                                                                                                                                                    <veronica.vanhorn@co.ga                                                                     hearing pursuant to legal
                                                                                                                                                                    lveston.tx.us>                                                                              advice.
296      Email         11/8/2021 8:50 PM         11/8/2021 8:50 PM Re: Galveston County                        Paul Ready              Drummond, Tyler              Van Horn, Veronica              Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner                          <paul@ready.law>;Phil   <Tyler.Drummond@co.gal       <Veronica.VanHorn@co.g          Texas Commissioner                  Product                 Communica ion from Mr.
                                                                   Redistricting Orders                        Gordon                  veston.tx.us>                alveston.tx.us>;Erin            Redistricting                                               Drummond to Galveston
                                                                                                               <pgordon@HoltzmanVoge                                Jensen                          Orders.msg;0008659.eml                                      County General Counsel,
                                                                                                               l.com>;Martinez, Dianna                              <erin@ready.law>;Dale                                                                       redistricting counsel and
                                                                                                               <Dianna Martinez@co.gal                              Oldham                                                                                      Galveston County
                                                                                                               veston.tx.us>                                        <dloesq@aol.com>;Jason                                                                      employees coordinating
                                                                                                                                                                    Torchinsky                                                                                  Map 1 and 2 proposals for
                                                                                                                                                                    <jtorchinsky@HoltzmanVo                                                                     the 11/12/21 hearing
                                                                                                                                                                    gel.com>                                                                                    pursuant to legal advice.
297      Email         11/8/2021 8:50 PM         11/8/2021 8:50 PM Re: Galveston County                        Paul Ready                Drummond, Tyler            Van Horn, Veronica              Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner                          <paul@ready.law>;Phil     </o=ExchangeLabs/ou=Ex     <Veronica.VanHorn@co.g          Texas Commissioner                  Product                 Communica ion from Mr.
                                                                   Redistricting Orders                        Gordon                    change Administrative      alveston.tx.us>;Erin            Redistricting Orders.msg                                    Drummond to Galveston
                                                                                                               <pgordon@HoltzmanVoge     Group                      Jensen                                                                                      County General Counsel,
                                                                                                               l.com>;Martinez, Dianna   (FYDIBOHF23SPDLT)/cn       <erin@ready.law>;Dale                                                                       redistricting counsel and
                                                                                                               <Dianna Martinez@co.gal   =Recipients/cn=2c5f9c72e   Oldham                                                                                      Galveston County
                                                                                                               veston.tx.us>             05e4d9e8437fd599c045b6     <dloesq@aol.com>;Jason                                                                      employees coordinating
                                                                                                                                         e-Drummond, T>             Torchinsky                                                                                  Map 1 and 2 proposals for
                                                                                                                                                                    <jtorchinsky@HoltzmanVo                                                                     the 11/12/21 hearing
                                                                                                                                                                    gel.com>                                                                                    pursuant to legal advice.
298      Email         11/8/2021 9:26 PM         11/8/2021 9:26 PM Re: Galveston County                        Drummond, Tyler        Paul Ready                    Phil Gordon                     Re Galveston County                 Attorney-Client;Work-
                                                                   Texas Commissioner                          <Tyler.Drummond@co gal <paul@ready.law>              <pgordon@holtzmanvogel          Texas Commissioner                  Product
                                                                   Redistricting Orders                        veston.tx.us>                                        .com>;Martinez, Dianna          Redistricting
                                                                                                                                                                    <Dianna.Martinez@co.gal         Orders.msg;0008660.eml
                                                                                                                                                                    veston.tx.us>;Van Horn,
                                                                                                                                                                    Veronica                                                                                    Communica ion from
                                                                                                                                                                    <Veronica.VanHorn@co.g                                                                      Galveston County General
                                                                                                                                                                    alveston.tx.us>;Erin                                                                        Counsel to Mr.
                                                                                                                                                                    Jensen                                                                                      Drummond, redistricting
                                                                                                                                                                    <erin@ready.law>;Dale                                                                       counsel, and other
                                                                                                                                                                    Oldham                                                                                      Galveston County
                                                                                                                                                                    <dloesq@aol.com>;Jason                                                                      employees coordinating
                                                                                                                                                                    Torchinsky                                                                                  Map 1 and 2 proposals for
                                                                                                                                                                    <jtorchinsky@holtzmanvo                                                                     the 11/12/21 hearing
                                                                                                                                                                    gel.com>                                                                                    pursuant to legal advice.
299      Email        11/9/2021 12:01 AM        11/9/2021 12:01 AM Re: Galveston County                        Paul Ready                Phil Gordon                Drummond, Tyler                 0008661.eml;Re                      Attorney-Client;Work-
                                                                   Texas Commissioner                          <paul@ready.law>          <pgordon@HoltzmanVoge      <Tyler.Drummond@co.gal          Galveston County Texas              Product
                                                                   Redistricting Orders                                                  l.com>                     veston.tx.us>;Martinez,         Commissioner
                                                                                                                                                                    Dianna                          Redistricting Orders.msg
                                                                                                                                                                    <Dianna.Martinez@co.gal
                                                                                                                                                                    veston.tx.us>;Van Horn,
                                                                                                                                                                    Veronica
                                                                                                                                                                    <Veronica.VanHorn@co.g
                                                                                                                                                                    alveston.tx.us>;Erin                                                                        Communica ion from Mr.
                                                                                                                                                                    Jensen                                                                                      Gordon to Galveston
                                                                                                                                                                    <erin@ready.law>;Dale                                                                       County General Counsel
                                                                                                                                                                    Oldham                                                                                      with Mr. Drummond, other
                                                                                                                                                                    <dloesq@aol.com>;Jason                                                                      redistricting counsel and
                                                                                                                                                                    Torchinsky                                                                                  Galveston County
                                                                                                                                                                    <jtorchinsky@HoltzmanVo                                                                     employees copied,
                                                                                                                                                                    gel.com>;Van Horn,                                                                          coordinating Map 1 and 2
                                                                                                                                                                    Veronica                                                                                    proposals for the 11/12/21
                                                                                                                                                                    <veronica.vanhorn@co.ga                                                                     hearing pursuant to legal
                                                                                                                                                                    lveston.tx.us>                                                                              advice.




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                                                                                            Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 52 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject             Plog Attachment Names To                          From                     CC   BCC   Filename                  Author             Privilege Tags    Privilege Note
         Type
300      Email        11/9/2021 10:46 AM        11/9/2021 10:46 AM RE: Special Meeting   TD DRAFT 11-12-           Drummond, Tyler        Martinez, Dianna                     RE Special Mee ing                           Attorney-Client
                                                                   DRAFT                 21.pdf;Order Establishing <Tyler.Drummond@co gal <Dianna.Martinez@co.gal              DRAFT .msg                                                     Communica ion from Ms.
                                                                                         Commissioner Precinct     veston.tx.us>          veston.tx.us>                                                                                       Martinez to Mr. Drummond
                                                                                         (District) Boundaries -                                                                                                                              coordinating Map 1 and 2
                                                                                         Galvest....docx                                                                                                                                      proposals for the 11/12/21
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                                                                                                                                                                                                                                              documents prepared by
                                                                                                                                                                                                                                              redistricting counsel
                                                                                                                                                                                                                                              containing legal advice are
                                                                                                                                                                                                                                              attached as exhibits.
301      Word         11/9/2021 10:46 AM         11/8/2021 3:08 PM                                                                                                             Order Establishing        Jason Torchinsky   Attorney-Client
                                                                                                                                                                               Commissioner Precinct                                          Attachment to
                                                                                                                                                                               (District) Boundaries -                                        communication from Ms.
                                                                                                                                                                               Galvest....docx                                                Martinez to Mr. Drummond
                                                                                                                                                                                                                                              coordinating Map 1 and 2
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                                                                                                                                                                                                                                              Attachment was prepared
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                                                                                                                                                                                                                                              containing legal advice.
302      Word         11/9/2021 10:46 AM         11/8/2021 3:07 PM                                                                                                             Order Establishing        Jason Torchinsky   Attorney-Client
                                                                                                                                                                               Commissioner Precinct                                          Attachment to
                                                                                                                                                                               (District) Boundaries -                                        communication from Ms.
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303      Pdf          11/9/2021 10:46 AM        11/9/2021 10:40 AM                                                                                                             TD DRAFT 11-12-21.pdf     LOANER             Attorney-Client   Attachment to
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                                                                                                                                                                                                                                              Attachment is a draft
                                                                                                                                                                                                                                              meeting agenda.
304      Email        11/9/2021 10:46 AM        11/9/2021 10:46 AM RE: Special Meeting   Order Establishing       Drummond, Tyler          Martinez, Dianna                    RE Special Mee ing                           Attorney-Client   Communica ion from Ms.
                                                                   DRAFT                 Commissioner Precinct    <Tyler.Drummond@co gal   </O=EXCHANGELABS/O                  DRAFT .msg                                                     Garza-Martinez to Mr.
                                                                                         (District) Boundaries -  veston.tx.us>            U=EXCHANGE                                                                                         Drummond coordinating
                                                                                         Galvest....docx;TD DRAFT                          ADMINISTRATIVE                                                                                     Map 1 and 2 proposals for
                                                                                         11-12-21.pdf                                      GROUP                                                                                              the 11/12/21 hearing
                                                                                                                                           (FYDIBOHF23SPDLT)/CN                                                                               pursuant to legal advice
                                                                                                                                           =RECIPIENTS/CN=D182                                                                                provided by redistricting
                                                                                                                                           22B5FD744C689C5BF77                                                                                counsel. Draft documents
                                                                                                                                           59AA6838B-MARTINEZ,                                                                                prepared by redistricting
                                                                                                                                           D>                                                                                                 counsel containing legal
                                                                                                                                                                                                                                              advice are attached as
                                                                                                                                                                                                                                              exhibits.
305      Word         11/9/2021 10:46 AM         11/8/2021 3:07 PM                                                                                                             Order Establishing        Jason Torchinsky   Attorney-Client
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject              Plog Attachment Names To                          From                      CC   BCC   Filename                   Author             Privilege Tags          Privilege Note
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306      Word         11/9/2021 10:46 AM         11/8/2021 3:08 PM                                                                                                               Order Establishing         Jason Torchinsky   Attorney-Client
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307      Pdf          11/9/2021 10:46 AM        11/9/2021 10:40 AM                                                                                                               TD DRAFT 11-12-21.pdf      LOANER             Attorney-Client         Attachment to
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308      Email         11/9/2021 1:13 PM         11/9/2021 1:13 PM FW: Galveston County   Galveston_Map1            Liechty, Linda           Drummond, Tyler                     FW Galveston County                           Attorney-Client;Work-
                                                                   Texas Commissioner     10_28_21.shp;Galveston_   <Linda.Liechty@co galves <Tyler.Drummond@co.gal              Texas Commissioner                            Product
                                                                   Redistricting Orders   Map1                      ton.tx.us>;Martinez,     veston.tx.us>                       Redistricting Orders.msg
                                                                                          10_28_21.sbn;Order        Dianna
                                                                                          Establishing              <Dianna Martinez@co.gal
                                                                                          Commissioner Precinct     veston.tx.us>
                                                                                          (District) Boundaries -
                                                                                          Galveston Map 2 -
                                                                                          11_8_21 docx;Galveston_
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                                                                                          10_28_21.shx;Galveston_
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                                                                                          10_28_21.sbn;Galveston_
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                                                                                          Commissioner Precincts
                                                                                          (Districts) - Map 1 -
                                                                                          8_11_21 pdf;Galveston_M
                                                                                          ap1                                                                                                                                                          Email from Mr. Drummond
                                                                                          10_28_21.dbf;Galveston_                                                                                                                                      to Ms. Martinez and Ms.
                                                                                          Map2                                                                                                                                                         Liechty passing along
                                                                                          10_28_21.shp;Galveston                                                                                                                                       legal guidance from
                                                                                          Commissioner Precincts                                                                                                                                       redistricting counsel and
                                                                                          (Districts) - Map 2 -                                                                                                                                        documents related to Map
                                                                                          8_11_21 pdf;Galveston_M                                                                                                                                      1 and 2 proposals for
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309      Cad           11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                                               Galveston_Map1                                Attorney-Client;Work-   Attachment to email from
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310      Cad           11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                                               Galveston_Map2                                Attorney-Client;Work-   Attachment to email from
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                      Author             Privilege Tags          Privilege Note
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311      Cad           11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment to email from
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312      Cad           11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment to email from
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313      Pdf           11/9/2021 1:13 PM         11/9/2021 1:13 PM                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment to email from
                                                                                                                                                     Precincts (Districts) - Map                      Product                 Mr. Drummond to Ms.
                                                                                                                                                     1 - 8_11_21.pdf                                                          Garza-Martinez and Ms.
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314      Cad           11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment to email from
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315      Cad           11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment to email from
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316      Word          11/9/2021 1:13 PM         11/8/2021 3:08 PM                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-
                                                                                                                                                     Commissioner Precinct                            Product                 Attachment to email from
                                                                                                                                                     (District) Boundaries -                                                  Mr. Drummond to Ms.
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                                                                                                                                                                                                                              order sent to Galveston
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317      Cad           11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment to email from
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                      Author             Privilege Tags          Privilege Note
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318      Pdf           11/9/2021 1:13 PM         11/9/2021 1:13 PM                                                                                   Galveston Commissioner                           Attorney-Client;Work-   Attachment to email from
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319      Text          11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment to email from
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320      Cad           11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment to email from
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321      Word          11/9/2021 1:13 PM         11/8/2021 3:07 PM                                                                                   Order Establishing            Jason Torchinsky   Attorney-Client;Work-
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322      Database      11/9/2021 1:13 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                                   Attorney-Client;Work-   Attachment to email from
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323      Database      11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment to email from
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324      Text          11/9/2021 1:13 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                                   Attorney-Client;Work-   Attachment to email from
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         Type
325      Email       11/10/2021 11:05 AM       11/10/2021 11:05 AM Galveston Update        image001.jpg           Jason Torchinsky        Phil Gordon           Jonathan Lienhard                      0008691.eml                     Attorney-Client;Work-   Communica ion from Mr.
                                                                                                                  <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <jlienhard@HoltzmanVog                                                 Product                 Gordon to other
                                                                                                                  gel.com>;Dale Oldham    l.com>                el.com>                                                                                        redistricting counsel
                                                                                                                  <dloesq@aol.com>                                                                                                                             discussing legal strategy,
                                                                                                                                                                                                                                                               updates, and questions
                                                                                                                                                                                                                                                               from Galveston County
                                                                                                                                                                                                                                                               General Counsel and Mr.
                                                                                                                                                                                                                                                               Drummond re: 11/12/2021
                                                                                                                                                                                                                                                               hearing.
326      Image       11/10/2021 11:05 AM        12/31/9999 6:00 PM                                                                                                                                     image001.jpg                    Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                                                                       Product                 Mr. Gordon to other
                                                                                                                                                                                                                                                               redistricting counsel
                                                                                                                                                                                                                                                               containing law firm logo.
327      Email       11/10/2021 11:09 AM       11/10/2021 11:09 AM Re: Galveston Update    image001.jpg           Phil Gordon           Jill Holtzman Vogel   Jason Torchinsky                         0008693.eml                     Attorney-Client;Work-
                                                                                                                  <pgordon@HoltzmanVoge <jh@HoltzmanVogel.com <jtorchinsky@HoltzmanVo                                                  Product                 Communica ion between
                                                                                                                  l.com>                >                     gel.com>;Dale Oldham                                                                             redistricting counsel
                                                                                                                                                              <dloesq@aol.com>;Jonat                                                                           discussing legal strategy,
                                                                                                                                                              han Lienhard                                                                                     updates, and questions
                                                                                                                                                              <jlienhard@HoltzmanVog                                                                           from Mr. Ready and Mr.
                                                                                                                                                              el.com>                                                                                          Drummond re: 11/12/2021
                                                                                                                                                                                                                                                               hearing.
328      Image       11/10/2021 11:09 AM        12/31/9999 6:00 PM                                                                                                                                     image001.jpg                    Attorney-Client;Work-   Attachment in email from
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329      Email        11/27/2021 7:08 PM        11/27/2021 7:08 PM Fwd: Galveston County                          Jason Torchinsky        Paul Ready                 Drummond, Tyler                   Fwd Galveston County            Attorney-Client;Work-   Communica ion from
                                                                   redistricting                                  <jtorchinsky@holtzmanvo <paul@ready.law>           <Tyler.Drummond@co.gal            redistricting.msg               Product                 Galveston County General
                                                                                                                  gel.com>;Phil Gordon                               veston.tx.us>;Henry, Mark                                                                 Counsel to redistricting
                                                                                                                  <pgordon@holtzmanvogel                             <Mark.Henry@co.galvesto                                                                   counsel seeking legal
                                                                                                                  .com>;Dale Oldham                                  n.tx.us>;Van Horn,                                                                        guidance on demands
                                                                                                                  <dloesq@aol.com>                                   Veronica                                                                                  received by the
                                                                                                                                                                     <Veronica.VanHorn@co.g                                                                    Department of Justice
                                                                                                                                                                     alveston.tx.us>                                                                           concerning the new
                                                                                                                                                                                                                                                               Commissioners Court
                                                                                                                                                                                                                                                               precinct map.
330      Word         11/27/2021 7:08 PM       11/24/2021 11:42 AM                                                                                                                                     Format guidance.docx   rsb      Attorney-Client;Work-   Attachment in
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331      Email        11/28/2021 8:22 PM        11/28/2021 8:22 PM Fwd: Galveston County   Format guidance.docx   Mark Henry               Mark.Henry@co.galveston                                     Fwd Galveston County            Attorney-Client;Work-   County Judge Mark Henry
                                                                   redistricting                                  <mark@talonairservices.c .tx.us                                                      redistricting.msg               Product                 forwarding to himself a
                                                                                                                  om>                                                                                                                                          communication from
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332      Word         11/28/2021 8:22 PM       11/24/2021 11:42 AM                                                                                                                                     Format guidance.docx   rsb      Attorney-Client;Work-   Attachment in
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         Type
333      Email        11/29/2021 6:59 AM        11/29/2021 6:59 AM FW: Galveston County                         Jason Torchinsky        Phil Gordon           Jonathan Lienhard                0008955.eml                          Attorney-Client;Work-
                                                                   redistricting                                <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <jlienhard@HoltzmanVog                                                Product                 Communica ion from Mr.
                                                                                                                gel.com>;Dale Oldham    l.com>                el.com>                                                                                       Gordon to Mr. Torchinsky
                                                                                                                <dloesq@aol.com>                                                                                                                            and Mr. Oldham, all
                                                                                                                                                                                                                                                            redistricting counsel, with
                                                                                                                                                                                                                                                            his legal analysis of the
                                                                                                                                                                                                                                                            Department of Justice's
                                                                                                                                                                                                                                                            demands concerning the
                                                                                                                                                                                                                                                            new Commissioners Court
                                                                                                                                                                                                                                                            precinct map.
334      Image        11/29/2021 6:59 AM        12/31/9999 6:00 PM                                                                                                                             image001.jpg                         Attorney-Client;Work-   HVJT law firm logo
                                                                                                                                                                                                                                    Product                 attached to privileged
                                                                                                                                                                                                                                                            communication.
335      Word         11/29/2021 6:59 AM       11/24/2021 11:42 AM                                                                                                                             Format guidance.docx        rsb      Attorney-Client;Work-   Attachment in email from
                                                                                                                                                                                                                                    Product                 Mr. Gordon to other
                                                                                                                                                                                                                                                            redistricting counsel
                                                                                                                                                                                                                                                            containing information on
                                                                                                                                                                                                                                                            demands received by the
                                                                                                                                                                                                                                                            Department of Justice
                                                                                                                                                                                                                                                            concerning the new
                                                                                                                                                                                                                                                            Commissioners Court
                                                                                                                                                                                                                                                            precinct map.
336      Email        11/29/2021 7:15 AM        11/29/2021 7:15 AM Re: Galveston County                         Phil Gordon           Jason Torchinsky        Jonathan Lienhard                0008959.eml                          Attorney-Client;Work-   Communica ion from Mr.
                                                                   redistricting                                <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo <jlienhard@HoltzmanVog                                                Product                 Torchinsky to Mr. Gordon
                                                                                                                l.com>;Dale Oldham    gel.com>                el.com>                                                                                       and Mr. Oldham, all
                                                                                                                <dloesq@aol.com>                                                                                                                            redistricting counsel, re:
                                                                                                                                                                                                                                                            legal analysis of the
                                                                                                                                                                                                                                                            Department of Justice's
                                                                                                                                                                                                                                                            demands concerning the
                                                                                                                                                                                                                                                            new Commissioners Court
                                                                                                                                                                                                                                                            precinct map.
337      Image        11/29/2021 7:15 AM        12/31/9999 6:00 PM                                                                                                                             image001.jpg                         Attorney-Client;Work-   HVJT law firm logo
                                                                                                                                                                                                                                    Product                 attached to privileged
                                                                                                                                                                                                                                                            communication.
338      Email       11/29/2021 12:52 PM       11/29/2021 12:52 PM Re: Galveston County                         Paul Ready             Phil Gordon           Drummond, Tyler                   Re Galveston County                  Attorney-Client;Work-
                                                                   redistricting                                <paul@ready.law>       <pgordon@HoltzmanVoge <Tyler.Drummond@co.gal            redistricting.msg                    Product                 Communica ion from Mr.
                                                                                                                                       l.com>                veston.tx.us>;Henry, Mark                                                                      Gordon to Galveston
                                                                                                                                                             <Mark.Henry@co.galvesto                                                                        County General Counsel,
                                                                                                                                                             n.tx.us>;Van Horn,                                                                             with a copy to Mr.
                                                                                                                                                             Veronica                                                                                       Drummond, County Judge
                                                                                                                                                             <Veronica.VanHorn@co.g                                                                         Henry, Ms. Van Horn, Mr.
                                                                                                                                                             alveston.tx.us>;Jason                                                                          Torchinsky and Mr.
                                                                                                                                                             Torchinsky                                                                                     Oldham, providing Mr.
                                                                                                                                                             <jtorchinsky@HoltzmanVo                                                                        Gordon's legal advice for
                                                                                                                                                             gel.com>;Dale Oldham                                                                           how to respond to the
                                                                                                                                                             <dloesq@aol.com>                                                                               Department of Justice's
                                                                                                                                                                                                                                                            demands concerning the
                                                                                                                                                                                                                                                            new Commissioners Court
                                                                                                                                                                                                                                                            precinct map.
339      Email        11/30/2021 7:05 PM        11/30/2021 7:05 PM Fwd: Re: Galveston                           Paul Ready              Clark, Ken                                             Fwd Re Galveston County              Attorney-Client;Work-
                                                                   County redistricting                         <paul@ready.law>        </O=EXCHANGELABS/O                                     redistricting numbers.msg            Product
                                                                   numbers                                                              U=EXCHANGE
                                                                                                                                        ADMINISTRATIVE
                                                                                                                                        GROUP                                                                                                               Commissioner Clark's
                                                                                                                                        (FYDIBOHF23SPDLT)/CN                                                                                                communication wi h Mr.
                                                                                                                                        =RECIPIENTS/CN=540F7                                                                                                Ready, Galveston County
                                                                                                                                        E2AC4074A4FA1478F399                                                                                                General Counsel,
                                                                                                                                        AFE6B84-CLARK,                                                                                                      requesting legal
                                                                                                                                        KEN>;<Ken.Clark@co.gal                                                                                              assistance in responding
                                                                                                                                        veston.tx.us>                                                                                                       to question.
340      Email        11/30/2021 7:25 PM        11/30/2021 7:25 PM Re: Galveston County                         Clark, Ken              Paul Ready                                             Re Galveston County                  Attorney-Client;Work-
                                                                   redistricting numbers                        <Ken.Clark@co galveston <paul@ready.law>                                       redistricting numbers.msg            Product                 Communica ion from Mr.
                                                                                                                .tx.us>                                                                                                                                     Ready, Galveston County
                                                                                                                                                                                                                                                            General Counsel, to
                                                                                                                                                                                                                                                            Commissioner Clark
                                                                                                                                                                                                                                                            responding to
                                                                                                                                                                                                                                                            Commissioner Clark's
                                                                                                                                                                                                                                                            question by providing legal
                                                                                                                                                                                                                                                            strategy and analysis.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                  Plog Attachment Names To                        From                    CC   BCC   Filename                    Author   Privilege Tags          Privilege Note
         Type
341      Email         12/7/2021 1:17 PM         12/7/2021 1:17 PM Fwd: Records                                    Drummond, Tyler          Mark.Henry@co.galveston              Fwd Records Preservation             Attorney-Client;Work-
                                                                   Preserva ion Notice                             <Tyler.Drummond@co gal .tx.us                                 Notice msg                           Product                 Email from County Judge
                                                                                                                   veston.tx.us>;Paul Ready                                                                                                   Henry to Mr. Drummond,
                                                                                                                   <paul@ready.law>                                                                                                           chief of staff, and
                                                                                                                                                                                                                                              Galveston County General
                                                                                                                                                                                                                                              Counsel re: preserva ion
                                                                                                                                                                                                                                              notice from Texas Civil
                                                                                                                                                                                                                                              Rights Project, seeking
                                                                                                                                                                                                                                              opinion regarding legal
                                                                                                                                                                                                                                              obligations imposed by
                                                                                                                                                                                                                                              letter.
342      Pdf           12/7/2021 1:17 PM        12/7/2021 12:32 PM                                                                                                               Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                 Galveston County                     Product
                                                                                                                                                                                 Redistricting 12-7-21.pdf                                    Attachment to email from
                                                                                                                                                                                                                                              County Judge Henry to Mr.
                                                                                                                                                                                                                                              Drummond, chief of staff,
                                                                                                                                                                                                                                              and Galveston County
                                                                                                                                                                                                                                              General Counsel re:
                                                                                                                                                                                                                                              preservation notice from
                                                                                                                                                                                                                                              Texas Civil Rights Project,
                                                                                                                                                                                                                                              seeking opinion regarding
                                                                                                                                                                                                                                              legal obligations imposed
                                                                                                                                                                                                                                              by letter; attachment:
                                                                                                                                                                                                                                              preservation letter from
                                                                                                                                                                                                                                              Texas Civil Rights Project.
343      Email         12/7/2021 1:17 PM         12/7/2021 1:17 PM Fwd: Records                                    Drummond, Tyler            Henry, Mark                        Fwd Records Preservation             Attorney-Client;Work-
                                                                   Preserva ion Notice                             <Tyler.Drummond@co gal     </O=EXCHANGELABS/O                 Notice msg                           Product                 Email from County Judge
                                                                                                                   veston.tx.us>;Paul Ready   U=EXCHANGE                                                                                      Henry to Mr. Drummond,
                                                                                                                   <paul@ready.law>           ADMINISTRATIVE                                                                                  chief of staff, and
                                                                                                                                              GROUP                                                                                           Galveston County General
                                                                                                                                              (FYDIBOHF23SPDLT)/CN                                                                            Counsel re: preserva ion
                                                                                                                                              =RECIPIENTS/CN=B0B7                                                                             notice from Texas Civil
                                                                                                                                              5B0806394269A16AC189                                                                            Rights Project, seeking
                                                                                                                                              BEAD91EA-HENRY,                                                                                 opinion regarding legal
                                                                                                                                              MARK>                                                                                           obligations imposed by
                                                                                                                                                                                                                                              letter.
344      Pdf           12/7/2021 1:17 PM        12/7/2021 12:32 PM                                                                                                               Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                 Galveston County                     Product
                                                                                                                                                                                 Redistricting 12-7-21.pdf                                    Attachment to email from
                                                                                                                                                                                                                                              County Judge Henry to Mr.
                                                                                                                                                                                                                                              Drummond, chief of staff,
                                                                                                                                                                                                                                              and Galveston County
                                                                                                                                                                                                                                              General Counsel re:
                                                                                                                                                                                                                                              preservation notice from
                                                                                                                                                                                                                                              Texas Civil Rights Project,
                                                                                                                                                                                                                                              seeking opinion regarding
                                                                                                                                                                                                                                              legal obligations imposed
                                                                                                                                                                                                                                              by letter; attachment:
                                                                                                                                                                                                                                              preservation letter from
                                                                                                                                                                                                                                              Texas Civil Rights Project.
345      Email         12/7/2021 1:27 PM         12/7/2021 1:27 PM FW: Records Preservation                        Phil Gordon           Drummond, Tyler                         FW Records Preservation              Attorney-Client;Work-
                                                                   Notice                                          <pgordon@HoltzmanVoge </O=EXCHANGELABS/O                      Notice msg                           Product
                                                                                                                   l.com>                U=EXCHANGE                                                                                           Email from Mr.
                                                                                                                                         ADMINISTRATIVE                                                                                       Drummond, chief of staff
                                                                                                                                         GROUP                                                                                                to County Judge Henry to
                                                                                                                                         (FYDIBOHF23SPDLT)/CN                                                                                 Mr. Gordon, redistricting
                                                                                                                                         =RECIPIENTS/CN=2C5F                                                                                  counsel, forwarding Texas
                                                                                                                                         9C72E05E4D9E8437FD5                                                                                  Civil Rights Project's
                                                                                                                                         99C045B6E-                                                                                           preservation letter,
                                                                                                                                         DRUMMOND, T>                                                                                         seeking legal advice
                                                                                                                                                                                                                                              regarding legal obligations
                                                                                                                                                                                                                                              imposed by letter.




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                                                                                              Case 3:22-cv-00057 Document 97-7 Filed on 01/25/23 in TXSD Page 59 of 80



Doc ID   Document   Family Date            Date (DISCO Date)         Subject              Plog Attachment Names To                           From                    CC               BCC   Filename                    Author   Privilege Tags          Privilege Note
         Type
346      Pdf           12/7/2021 1:27 PM        12/7/2021 12:32 PM                                                                                                                          Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                            Galveston County                     Product                 Attachment to email from
                                                                                                                                                                                            Redistricting 12-7-21.pdf                                    Mr. Drummond, chief of
                                                                                                                                                                                                                                                         staff to County Judge
                                                                                                                                                                                                                                                         Henry to Mr. Gordon,
                                                                                                                                                                                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                         forwarding Texas Civil
                                                                                                                                                                                                                                                         Rights Project's
                                                                                                                                                                                                                                                         preservation letter,
                                                                                                                                                                                                                                                         seeking legal advice
                                                                                                                                                                                                                                                         regarding legal obligations
                                                                                                                                                                                                                                                         imposed by letter;
                                                                                                                                                                                                                                                         attachment, preservation
                                                                                                                                                                                                                                                         letter from Texas Civil
                                                                                                                                                                                                                                                         Rights Project.
347      Email         12/7/2021 1:29 PM         12/7/2021 1:29 PM FW: Records Preservation Preservation Letter      Jason Torchinsky        Phil Gordon           Dale Oldham              0009127.eml                          Attorney-Client;Work-
                                                                   Notice                   Galveston County         <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>                                              Product                 Communica ion between
                                                                                            Redistricting 12-7-      gel.com>                l.com>                                                                                                      redistricting counsel re:
                                                                                            21.pdf;image002.png;imag                                                                                                                                     document preservation
                                                                                            e003.png;image001.jpg;im                                                                                                                                     notice from Texas Civil
                                                                                            age004.png                                                                                                                                                   Rights Project to formulate
                                                                                                                                                                                                                                                         response concerning legal
                                                                                                                                                                                                                                                         obligations.
348      Image         12/7/2021 1:29 PM        12/31/9999 6:00 PM                                                                                                                          image002.png                         Attorney-Client;Work-   Galveston County icon
                                                                                                                                                                                                                                 Product                 attached to privileged
                                                                                                                                                                                                                                                         communication.
349      Pdf           12/7/2021 1:29 PM        12/7/2021 12:32 PM                                                                                                                          Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                            Galveston County                     Product                 Attachment to
                                                                                                                                                                                            Redistricting 12-7-21.pdf                                    communication between
                                                                                                                                                                                                                                                         redistricting counsel re:
                                                                                                                                                                                                                                                         document preservation
                                                                                                                                                                                                                                                         notice from Texas Civil
                                                                                                                                                                                                                                                         Rights Project to formulate
                                                                                                                                                                                                                                                         response concerning legal
                                                                                                                                                                                                                                                         obligations; attachment,
                                                                                                                                                                                                                                                         letter from Texas Civil
                                                                                                                                                                                                                                                         Rights Project.
350      Image         12/7/2021 1:29 PM        12/31/9999 6:00 PM                                                                                                                          image004.png                         Attorney-Client;Work-
                                                                                                                                                                                                                                 Product                 Twitter icon attached to
                                                                                                                                                                                                                                                         privileged communica ion.
351      Image         12/7/2021 1:29 PM        12/31/9999 6:00 PM                                                                                                                          image001.jpg                         Attorney-Client;Work-
                                                                                                                                                                                                                                 Product                 HVBTJ icon attached to
                                                                                                                                                                                                                                                         privileged communica ion.
352      Image         12/7/2021 1:29 PM        12/31/9999 6:00 PM                                                                                                                          image003.png                         Attorney-Client;Work-
                                                                                                                                                                                                                                 Product                 Facebook icon attached to
                                                                                                                                                                                                                                                         privileged communica ion.
353      Email         12/7/2021 1:58 PM         12/7/2021 1:58 PM Fwd: Records           Preservation Letter         Jason Torchinsky        Paul Ready                                    Fwd Records Preservation             Attorney-Client;Work-
                                                                   Preserva ion Notice    Galveston County            <jtorchinsky@holtzmanvo <paul@ready.law>                              Notice msg                           Product
                                                                                          Redistricting 12-7-21.pdf   gel.com>;pgordon@holtz                                                                                                             Correspondence from
                                                                                                                      manvogel.com;Dale                                                                                                                  Galveston County General
                                                                                                                      Oldham                                                                                                                             Counsel to redistricting
                                                                                                                      <dloesq@aol.com>;Van                                                                                                               counsel, Ms. Van Horn,
                                                                                                                      Horn, Veronica                                                                                                                     legal services manager for
                                                                                                                      <Veronica.VanHorn@co.g                                                                                                             Galveston County, and Mr.
                                                                                                                      alveston.tx.us>;Drummon                                                                                                            Drummond, Chief of Staff
                                                                                                                      d, Tyler                                                                                                                           to County Judge Henry,
                                                                                                                      <Tyler.Drummond@co gal                                                                                                             asking for legal advice
                                                                                                                      veston.tx.us>                                                                                                                      concerning legal
                                                                                                                                                                                                                                                         obligations imposed by
                                                                                                                                                                                                                                                         preservation letter from
                                                                                                                                                                                                                                                         Texas Civil Rights Project.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                Plog Attachment Names To                       From                    CC                        BCC   Filename                    Author   Privilege Tags          Privilege Note
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354      Pdf           12/7/2021 1:58 PM        12/7/2021 12:32 PM                                                                                                                                 Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                                   Galveston County                     Product
                                                                                                                                                                                                   Redistricting 12-7-21.pdf                                    Attachment to
                                                                                                                                                                                                                                                                correspondence from
                                                                                                                                                                                                                                                                Galveston County General
                                                                                                                                                                                                                                                                Counsel, to redistric ing
                                                                                                                                                                                                                                                                counsel, Ms. Van Horn,
                                                                                                                                                                                                                                                                legal services manager for
                                                                                                                                                                                                                                                                Galveston County, and Mr.
                                                                                                                                                                                                                                                                Drummond, Chief of Staff
                                                                                                                                                                                                                                                                to County Judge Henry,
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                                                                                                                                                                                                                                                                preservation letter from
                                                                                                                                                                                                                                                                Texas Civil Rights Project;
                                                                                                                                                                                                                                                                attachment: preservation
                                                                                                                                                                                                                                                                letter from Texas Civil
                                                                                                                                                                                                                                                                Rights Project.
355      Email         12/7/2021 2:03 PM         12/7/2021 2:03 PM FW: Records Preservation image001.jpg;Preservatio Jason Torchinsky         Phil Gordon           Dale Oldham                    0009130.eml                          Attorney-Client;Work-   Communica ion from Mr.
                                                                   Notice                   n Letter Galveston County <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>;Jonat                                              Product                 Gordon, redistricting
                                                                                            Redistricting 12-7-21.pdf gel.com>                l.com>                han Lienhard                                                                                counsel, to other
                                                                                                                                                                    <jlienhard@HoltzmanVog                                                                      redistricting counsel,
                                                                                                                                                                    el.com>                                                                                     offering his legal opinion
                                                                                                                                                                                                                                                                and legal strategy in
                                                                                                                                                                                                                                                                response to preservation
                                                                                                                                                                                                                                                                letter from Texas Civil
                                                                                                                                                                                                                                                                Rights Project.
356      Image         12/7/2021 2:03 PM        12/31/9999 6:00 PM                                                                                                                                 image001.jpg                         Attorney-Client;Work-
                                                                                                                                                                                                                                        Product                 HVBTJ icon attached to
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357      Pdf           12/7/2021 2:03 PM        12/7/2021 12:32 PM                                                                                                                                 Preserva ion Letter         Chris    Attorney-Client;Work-   Attachment to
                                                                                                                                                                                                   Galveston County                     Product                 communication from Mr.
                                                                                                                                                                                                   Redistricting 12-7-21.pdf                                    Gordon, redistricting
                                                                                                                                                                                                                                                                counsel, to other
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                                                                                                                                                                                                                                                                letter from Texas Civil
                                                                                                                                                                                                                                                                Rights Project;
                                                                                                                                                                                                                                                                attachment: Texas Civil
                                                                                                                                                                                                                                                                Rights Project
                                                                                                                                                                                                                                                                preservation letter.
358      Email         12/7/2021 2:04 PM         12/7/2021 2:04 PM Re: Records Preservation image001[35].jpg      Phil Gordon           Jason Torchinsky        Dale Oldham                        0009131.eml                          Attorney-Client;Work-
                                                                   Notice                                         <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo <dloesq@aol.com>;Jonat                                                  Product                 Communica ion from Mr.
                                                                                                                  l.com>                gel.com>                han Lienhard                                                                                    Torchinsky, redistricting
                                                                                                                                                                <jlienhard@HoltzmanVog                                                                          counsel, to other
                                                                                                                                                                el.com>                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                                responding to Mr.
                                                                                                                                                                                                                                                                Gordon's legal opinion and
                                                                                                                                                                                                                                                                legal strategy in response
                                                                                                                                                                                                                                                                to preservation letter from
                                                                                                                                                                                                                                                                Texas Civil Rights Project.
359      Image         12/7/2021 2:04 PM        12/31/9999 6:00 PM                                                                                                                                 image001[35].jpg                     Attorney-Client;Work-
                                                                                                                                                                                                                                        Product                 HVBTJ icon attached to
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360      Email         12/7/2021 2:45 PM         12/7/2021 2:45 PM Re: Records Preservation image001[35].jpg      Jason Torchinsky        Phil Gordon           Dale Oldham                        0009133.eml                          Attorney-Client;Work-
                                                                   Notice                                         <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>;Jonat                                                  Product                 Communica ion from Mr.
                                                                                                                  gel.com>                l.com>                han Lienhard                                                                                    Gordon, redistricting
                                                                                                                                                                <jlienhard@HoltzmanVog                                                                          counsel, to other
                                                                                                                                                                el.com>                                                                                         redistricting counsel,
                                                                                                                                                                                                                                                                offering his legal opinion
                                                                                                                                                                                                                                                                and legal strategy
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                                                                                                                                                                                                                                                                preservation letter from
                                                                                                                                                                                                                                                                Texas Civil Rights Project.
361      Image         12/7/2021 2:45 PM        12/31/9999 6:00 PM                                                                                                                                 image001[35].jpg                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)       Subject                    Plog Attachment Names To                        From                      CC                BCC   Filename                  Author   Privilege Tags          Privilege Note
         Type
362      Email         12/7/2021 2:50 PM         12/7/2021 2:50 PM Re: Records Preservation                        Phil Gordon           Jason Torchinsky        Dale Oldham                    0009134.eml                        Attorney-Client;Work-
                                                                   Notice                                          <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo <dloesq@aol.com>;Jonat                                            Product                 Communica ion from Mr.
                                                                                                                   l.com>                gel.com>                han Lienhard                                                                              Torchinsky, redistricting
                                                                                                                                                                 <jlienhard@HoltzmanVog                                                                    counsel, to other
                                                                                                                                                                 el.com>                                                                                   redistricting counsel,
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                                                                                                                                                                                                                                                           Gordon's legal opinion and
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                                                                                                                                                                                                                                                           preservation letter from
                                                                                                                                                                                                                                                           Texas Civil Rights Project.
363      Email         12/7/2021 2:58 PM         12/7/2021 2:58 PM Re: Records Preservation                        Jason Torchinsky        Phil Gordon           Dale Oldham                    0009135.eml                        Attorney-Client;Work-
                                                                   Notice                                          <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>;Jonat                                            Product                 Communica ion from Mr.
                                                                                                                   gel.com>                l.com>                han Lienhard                                                                              Gordon, redistricting
                                                                                                                                                                 <jlienhard@HoltzmanVog                                                                    counsel, to other
                                                                                                                                                                 el.com>                                                                                   redistricting counsel,
                                                                                                                                                                                                                                                           coordinating
                                                                                                                                                                                                                                                           communicating to client its
                                                                                                                                                                                                                                                           possible legal obligations
                                                                                                                                                                                                                                                           under preservation letter
                                                                                                                                                                                                                                                           from Texas Civil Rights
                                                                                                                                                                                                                                                           Project.
364      Email         12/7/2021 3:00 PM         12/7/2021 3:00 PM Re: Records Preservation                        Phil Gordon           Jason Torchinsky        Dale Oldham                    0009136.eml                        Attorney-Client;Work-
                                                                   Notice                                          <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo <dloesq@aol.com>;Jonat                                            Product                 Communica ion from Mr.
                                                                                                                   l.com>                gel.com>                han Lienhard                                                                              Torchinsky, redistricting
                                                                                                                                                                 <jlienhard@HoltzmanVog                                                                    counsel, to other
                                                                                                                                                                 el.com>                                                                                   redistricting counsel,
                                                                                                                                                                                                                                                           coordinating
                                                                                                                                                                                                                                                           communicating to client its
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                                                                                                                                                                                                                                                           from Texas Civil Rights
                                                                                                                                                                                                                                                           Project.
365      Email         12/7/2021 3:03 PM         12/7/2021 3:03 PM Re: Records Preservation                        Jason Torchinsky        Phil Gordon           Dale Oldham                    0009137.eml                        Attorney-Client;Work-
                                                                   Notice                                          <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge <dloesq@aol.com>;Jonat                                            Product                 Communica ion from Mr.
                                                                                                                   gel.com>                l.com>                han Lienhard                                                                              Gordon, redistricting
                                                                                                                                                                 <jlienhard@HoltzmanVog                                                                    counsel, to other
                                                                                                                                                                 el.com>                                                                                   redistricting counsel,
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                                                                                                                                                                                                                                                           and legal strategy
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                                                                                                                                                                                                                                                           preservation letter from
                                                                                                                                                                                                                                                           Texas Civil Rights Project.
366      Email         12/7/2021 4:22 PM         12/7/2021 4:22 PM Re: Records Preservation                         Paul Ready                Jason Torchinsky                                  0009140.eml;Re Records             Attorney-Client;Work-
                                                                   Notice                                           <paul@ready.law>;Phil     <jtorchinsky@HoltzmanVo                           Preserva ion No ice.msg            Product
                                                                                                                    Gordon                    gel.com>
                                                                                                                    <pgordon@HoltzmanVoge
                                                                                                                    l.com>;Dale Oldham                                                                                                                     Communica ion from Mr.
                                                                                                                    <dloesq@aol.com>;Van                                                                                                                   Torchinsky, redistricting
                                                                                                                    Horn, Veronica                                                                                                                         counsel to Galveston
                                                                                                                    <Veronica.VanHorn@co.g                                                                                                                 County General Counsel,
                                                                                                                    alveston.tx.us>;Drummon                                                                                                                Ms. Van Horn, manager of
                                                                                                                    d, Tyler                                                                                                                               legal services for
                                                                                                                    <Tyler.Drummond@co gal                                                                                                                 Galveston County, and Mr.
                                                                                                                    veston.tx.us>;Veronica                                                                                                                 Drummond, chief of staff
                                                                                                                    Van Horn                                                                                                                               to County Judge Henry
                                                                                                                    <Veronica.VanHorn@co.g                                                                                                                 providing legal advice
                                                                                                                    alveston.tx.us>;Tyler                                                                                                                  concerning legal
                                                                                                                    Drummond                                                                                                                               obligations imposed by
                                                                                                                    <Tyler.Drummond@co gal                                                                                                                 preservation letter from
                                                                                                                    veston.tx.us>                                                                                                                          Texas Civil Rights Project.
367      Email         12/7/2021 4:31 PM         12/7/2021 4:31 PM RE: Records Preservation image006.png;image005.p Jason Torchinsky          Drummond, Tyler                                   0009141.eml                        Attorney-Client;Work-
                                                                   Notice                   ng;image004.png         <jtorchinsky@HoltzmanVo   <Tyler.Drummond@co.gal                                                               Product
                                                                                                                    gel.com>;Paul Ready       veston.tx.us>                                                                                                Communica ion from Mr.
                                                                                                                    <paul@ready.law>;Phil                                                                                                                  Drummond to Mr.
                                                                                                                    Gordon                                                                                                                                 Torchinsky responding to
                                                                                                                    <pgordon@HoltzmanVoge                                                                                                                  Mr. Torchinsky's legal
                                                                                                                    l.com>;Dale Oldham                                                                                                                     advice concerning the
                                                                                                                    <dloesq@aol.com>;Van                                                                                                                   legal obligations imposed
                                                                                                                    Horn, Veronica                                                                                                                         by the preservation letter
                                                                                                                    <Veronica.VanHorn@co.g                                                                                                                 from Texas Civil Rights
                                                                                                                    alveston.tx.us>                                                                                                                        Project.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject                  Plog Attachment Names To                              From                   CC                         BCC   Filename                    Author   Privilege Tags          Privilege Note
         Type
368      Image         12/7/2021 4:31 PM        12/31/9999 6:00 PM                                                                                                                                          image004.png                         Attorney-Client;Work-   Icon of Galveston County
                                                                                                                                                                                                                                                 Product                 attached to privileged
                                                                                                                                                                                                                                                                         communication.
369      Image         12/7/2021 4:31 PM        12/31/9999 6:00 PM                                                                                                                                          image005.png                         Attorney-Client;Work-
                                                                                                                                                                                                                                                 Product                 Facebook icon attached to
                                                                                                                                                                                                                                                                         privilleged communication.
370      Image         12/7/2021 4:31 PM        12/31/9999 6:00 PM                                                                                                                                          image006.png                         Attorney-Client;Work-
                                                                                                                                                                                                                                                 Product                 Twitter icon attached to
                                                                                                                                                                                                                                                                         privileged communica ion.
371      Email         12/7/2021 4:31 PM         12/7/2021 4:31 PM RE: Records Preservation                               Jason Torchinsky          Drummond, Tyler                                         RE Records Preservation              Attorney-Client;Work-
                                                                   Notice                                                 <jtorchinsky@HoltzmanVo   </O=EXCHANGELABS/O                                      Notice msg                           Product
                                                                                                                          gel.com>;Paul Ready       U=EXCHANGE                                                                                                           Communica ion from Mr.
                                                                                                                          <paul@ready.law>;Phil     ADMINISTRATIVE                                                                                                       Drummond to Mr.
                                                                                                                          Gordon                    GROUP                                                                                                                Torchinsky responding to
                                                                                                                          <pgordon@HoltzmanVoge     (FYDIBOHF23SPDLT)/CN                                                                                                 Mr. Torchinsky's legal
                                                                                                                          l.com>;Dale Oldham        =RECIPIENTS/CN=2C5F                                                                                                  advice concerning the
                                                                                                                          <dloesq@aol.com>;Van      9C72E05E4D9E8437FD5                                                                                                  legal obligations imposed
                                                                                                                          Horn, Veronica            99C045B6E-                                                                                                           by the preservation letter
                                                                                                                          <Veronica.VanHorn@co.g    DRUMMOND, T>                                                                                                         from Texas Civil Rights
                                                                                                                          alveston.tx.us>                                                                                                                                Project.
372      Email        12/9/2021 11:57 AM        12/9/2021 11:57 AM Fwd: Records               .htm;Preservation Letter    Jason Torchinsky          Paul Ready             Van Horn, Veronica               0009190.eml                          Attorney-Client;Work-   Communica ion from
                                                                   Preserva ion Notice        Galveston County            <jtorchinsky@holtzmanvo   <paul@ready.law>       <veronica.vanhorn@co.ga                                               Product                 Galveston County General
                                                                                              Redistricting 12-7-21.pdf   gel.com>;Phil Gordon                             lveston.tx.us>                                                                                Counsel to redistricting
                                                                                                                          <pgordon@holtzmanvogel                                                                                                                         counsel re:
                                                                                                                          .com>;Dale Oldham                                                                                                                              communicating the legal
                                                                                                                          <dloesq@aol.com>                                                                                                                               obligations of preservation
                                                                                                                                                                                                                                                                         notice.
373      Html         12/9/2021 11:57 AM        12/31/9999 6:00 PM                                                                                                                                          .htm                                 Attorney-Client;Work-
                                                                                                                                                                                                                                                 Product                 Blank page attached to
                                                                                                                                                                                                                                                                         privileged communica ion.
374      Pdf          12/9/2021 11:57 AM        12/7/2021 12:32 PM                                                                                                                                          Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                                            Galveston County                     Product                 Attachment to
                                                                                                                                                                                                            Redistricting 12-7-21.pdf                                    communication from
                                                                                                                                                                                                                                                                         Galveston County General
                                                                                                                                                                                                                                                                         Counsel to redistricting
                                                                                                                                                                                                                                                                         counsel re:
                                                                                                                                                                                                                                                                         communicating the legal
                                                                                                                                                                                                                                                                         obligations of preservation
                                                                                                                                                                                                                                                                         notice; attachment:
                                                                                                                                                                                                                                                                         preservation letter from
                                                                                                                                                                                                                                                                         Texas Civil Rights Project.
375      Email        12/9/2021 12:44 PM        12/9/2021 12:44 PM Fwd: Records               Preservation Letter         Henry, Mark               Paul Ready             Van Horn, Veronica               Fwd Records Preservation             Attorney-Client;Work-
                                                                   Preserva ion Notice        Galveston County            <Mark.Henry@co.galvesto <paul@ready.law>         <Veronica.VanHorn@co.g           Notice msg                           Product
                                                                                              Redistricting 12-7-21.pdf   n.tx.us>;Apffel, Darrell                         alveston.tx.us>;Liechty,
                                                                                                                          <Darrell.Apffel@co.galves                        Linda
                                                                                                                          ton.tx.us>;Giusti, Joseph                        <Linda.Liechty@co.galves
                                                                                                                          <Joseph.Giusti@co.galve                          ton.tx.us>;Drummond,
                                                                                                                          ston.tx.us>;Holmes,                              Tyler
                                                                                                                          Stephen                                          <Tyler.Drummond@co.gal
                                                                                                                          <Stephen.Holmes@co.gal                           veston.tx.us>;Sigler,
                                                                                                                          veston.tx.us>;Clark, Ken                         Nathan
                                                                                                                          <Ken.Clark@co galveston                          <Nathan.Sigler@co.galve
                                                                                                                          .tx.us>                                          ston.tx.us>;Webb, Jed
                                                                                                                                                                           <Jed.Webb@galvestonco
                                                                                                                                                                           untytx.gov>;Jason
                                                                                                                                                                           Torchinsky
                                                                                                                                                                           <jtorchinsky@holtzmanvo
                                                                                                                                                                           gel.com>;Phil Gordon                                                                          Communica ion from
                                                                                                                                                                           <pgordon@holtzmanvogel                                                                        Galveston County General
                                                                                                                                                                           .com>;Dale Oldham                                                                             Counsel to members of
                                                                                                                                                                           <dloesq@aol.com>;Martin                                                                       the Commissioners Court,
                                                                                                                                                                           ez, Dianna                                                                                    redistricting counsel, and
                                                                                                                                                                           <Dianna.Martinez@co.gal                                                                       other Galveston County
                                                                                                                                                                           veston.tx.us>;Davidson,                                                                       officials and employees re:
                                                                                                                                                                           Zach                                                                                          legal obligation to
                                                                                                                                                                           <Zach.davidson@co.galve                                                                       preserve documents due
                                                                                                                                                                           ston.tx.us>                                                                                   to preservation notice.




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Doc ID   Document   Family Date            Date (DISCO Date)         Subject             Plog Attachment Names To                     From                    CC                         BCC   Filename                    Author   Privilege Tags          Privilege Note
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376      Pdf          12/9/2021 12:44 PM        12/7/2021 12:32 PM                                                                                                                             Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                               Galveston County                     Product                 Attachment to
                                                                                                                                                                                               Redistricting 12-7-21.pdf                                    communication from
                                                                                                                                                                                                                                                            Galveston County General
                                                                                                                                                                                                                                                            Counsel to members of
                                                                                                                                                                                                                                                            the Commissioners Court,
                                                                                                                                                                                                                                                            redistricting counsel, and
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                                                                                                                                                                                                                                                            legal obligation to
                                                                                                                                                                                                                                                            preserve documents due
                                                                                                                                                                                                                                                            to preservation notice;
                                                                                                                                                                                                                                                            attachment: preservation
                                                                                                                                                                                                                                                            letter from the Texas Civil
                                                                                                                                                                                                                                                            Rights Project.
377      Email        12/9/2021 12:44 PM        12/9/2021 12:44 PM Fwd: Records          Preservation Letter   Henry, Mark               Paul Ready           Van Horn, Veronica               0009191.eml                          Attorney-Client;Work-
                                                                   Preserva ion Notice   Galveston County      <Mark.Henry@co.galvesto <paul@ready.law>       <veronica.vanhorn@co.ga                                               Product
                                                                                         Redistricting 12-7-   n.tx.us>;Apffel, Darrell                       lveston.tx.us>;Linda
                                                                                         21.pdf;.htm           <Darrell.Apffel@co.galves                      Liechty
                                                                                                               ton.tx.us>;Giusti, Joseph                      <Linda.Liechty@co.galves
                                                                                                               <Joseph.Giusti@co.galve                        ton.tx.us>;Tyler
                                                                                                               ston.tx.us>;Holmes,                            Drummond
                                                                                                               Stephen                                        <Tyler.Drummond@co.gal
                                                                                                               <Stephen.Holmes@co.gal                         veston.tx.us>;Sigler,
                                                                                                               veston.tx.us>;Ken Clark                        Nathan
                                                                                                               <ken.clark@co.galveston.t                      <Nathan.Sigler@co.galve
                                                                                                               x.us>                                          ston.tx.us>;Jed Webb
                                                                                                                                                              <Jed.Webb@Galvestonco
                                                                                                                                                              untytx.gov>;Jason
                                                                                                                                                              Torchinsky
                                                                                                                                                              <jtorchinsky@holtzmanvo
                                                                                                                                                              gel.com>;Phil Gordon                                                                          Communica ion from
                                                                                                                                                              <pgordon@holtzmanvogel                                                                        Galveston County General
                                                                                                                                                              .com>;Dale Oldham                                                                             Counsel to members of
                                                                                                                                                              <dloesq@aol.com>;Martin                                                                       the Commissioners Court,
                                                                                                                                                              ez, Dianna                                                                                    redistricting counsel, and
                                                                                                                                                              <Dianna.Martinez@co.gal                                                                       other Galveston County
                                                                                                                                                              veston.tx.us>;Davidson,                                                                       officials and employees re:
                                                                                                                                                              Zach                                                                                          legal obligation to
                                                                                                                                                              <zach.davidson@co.galve                                                                       preserve documents due
                                                                                                                                                              ston.tx.us>                                                                                   to preservation notice.
378      Html         12/9/2021 12:44 PM        12/31/9999 6:00 PM                                                                                                                             .htm                                 Attorney-Client;Work-
                                                                                                                                                                                                                                    Product                 Blank page attached to
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379      Pdf          12/9/2021 12:44 PM        12/7/2021 12:32 PM                                                                                                                             Preserva ion Letter         Chris    Attorney-Client;Work-
                                                                                                                                                                                               Galveston County                     Product                 Attachment to
                                                                                                                                                                                               Redistricting 12-7-21.pdf                                    communication from
                                                                                                                                                                                                                                                            Galveston County General
                                                                                                                                                                                                                                                            Counsel to members of
                                                                                                                                                                                                                                                            the Commissioners Court,
                                                                                                                                                                                                                                                            redistricting counsel, and
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                                                                                                                                                                                                                                                            to preservation notice;
                                                                                                                                                                                                                                                            attachment: preservation
                                                                                                                                                                                                                                                            letter from the Texas Civil
                                                                                                                                                                                                                                                            Rights Project.
380      Email         12/9/2021 2:56 PM         12/9/2021 2:56 PM Preserva ion Letter   Preservation Letter   tom@bryangeodemo.com Jason Torchinsky        Phil Gordon                        Preserva ion Letter                  Attorney-Client;Work-
                                                                   Galveston County      Galveston County                           <jtorchinsky@HoltzmanVo <pgordon@HoltzmanVoge              Galveston County                     Product
                                                                   Redistricting 12-7-   Redistricting 12-7-                        gel.com>                l.com>                             Redistricting 12-7-                                          Communica ion from Mr.
                                                                   21[44].pdf            21[44].pdf                                                                                            21[44].pdf msg                                               Torchinsky, redistricting
                                                                                                                                                                                                                                                            counsel, to Mr. Bryan,
                                                                                                                                                                                                                                                            map-drawer and technical
                                                                                                                                                                                                                                                            expert, communicating
                                                                                                                                                                                                                                                            legal obligations imposed
                                                                                                                                                                                                                                                            upon Mr. Bryan by
                                                                                                                                                                                                                                                            preservation letter from
                                                                                                                                                                                                                                                            Texas Civil Rights Project.




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381      Pdf           12/9/2021 2:56 PM        12/7/2021 12:32 PM                                                                                                                               Preserva ion Letter       Chris    Attorney-Client;Work-
                                                                                                                                                                                                 Galveston County                   Product
                                                                                                                                                                                                 Redistricting 12-7-                                        Attachment to
                                                                                                                                                                                                 21[44].pdf                                                 communication from Mr.
                                                                                                                                                                                                                                                            Torchinsky, redistricting
                                                                                                                                                                                                                                                            counsel, to Mr. Bryan,
                                                                                                                                                                                                                                                            map-drawer and technical
                                                                                                                                                                                                                                                            expert, communicating
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                                                                                                                                                                                                                                                            upon Mr. Bryan by
                                                                                                                                                                                                                                                            preservation letter from
                                                                                                                                                                                                                                                            Texas Civil Rights Project;
                                                                                                                                                                                                                                                            attachment: preservation
                                                                                                                                                                                                                                                            letter from Texas Civil
                                                                                                                                                                                                                                                            Rights Project.
382      Email         12/9/2021 5:25 PM         12/9/2021 5:25 PM Re: Preservation Letter                        Jason Torchinsky        tom@bryangeodemo.com Phil Gordon                       Re Preservation Letter             Attorney-Client;Work-   Communica ion from Mr.
                                                                   Galveston County                               <jtorchinsky@HoltzmanVo                      <pgordon@holtzmanvogel            Galveston County                   Product                 Bryan to Mr. Torchinsky,
                                                                   Redistricting 12-7-                            gel.com>                                     .com>                             Redistricting 12-7-                                        re: legal obligations
                                                                   21[44].pdf                                                                                                                    21[44].pdf msg                                             imposed on him by
                                                                                                                                                                                                                                                            preservation letter.
383      Email       12/10/2021 12:42 PM       12/10/2021 12:42 PM Proposed DOJ Response Commissioner_Precincts_ Drummond, Tyler           Phil Gordon           Jason Torchinsky                Proposed DOJ                       Attorney-Client;Work-
                                                                                         (Historical).shx;Galveston <Tyler.Drummond@co gal <pgordon@HoltzmanVoge <jtorchinsky@HoltzmanVo         Response.msg                       Product
                                                                                         _Map1                       veston.tx.us>         l.com>                gel.com>
                                                                                         10_28_21.shp.xml;Galvest
                                                                                         on_Map1
                                                                                         10_28_21.sbx;Galveston_
                                                                                         Map1
                                                                                         10_28_21.shp;Galveston_
                                                                                         Map2
                                                                                         10_28_21.sbn;Commissio
                                                                                         ner_Precincts_(Historical).
                                                                                         dbf;Galveston_Map1
                                                                                         10_28_21.dbf;Commissio
                                                                                         ner_Precincts_(Historical).
                                                                                         shp;Galveston_Map1
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                                                                                         sbx;Galveston_Map2
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                                                                                         prj;Galveston_Map2
                                                                                         10_28_21.shp;Commissio
                                                                                         ner_Precincts_(Historical).
                                                                                         shp.xml;Galveston_Map2                                                                                                                                             Communica ion from Mr.
                                                                                         10_28_21.shp.xml;Galvest                                                                                                                                           Gordon and Mr.
                                                                                         on_Map2                                                                                                                                                            Torchinsky, redistricting
                                                                                         10_28_21.dbf;Galveston_                                                                                                                                            counsel, to Mr. Drummond
                                                                                         Map1                                                                                                                                                               providing legal advice and
                                                                                         10_28_21.shx;Commissio                                                                                                                                             a proposed response to
                                                                                         ner_Precincts_(Historical).                                                                                                                                        DOJ requests for
                                                                                         sbn;Galveston_Map2                                                                                                                                                 informa ion about Maps 1
                                                                                         10_28_21.sbx                                                                                                                                                       and 2.
384      Cad         12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                                                               Commissioner_Precincts_            Attorney-Client;Work-
                                                                                                                                                                                                 (Historical).sbn                   Product                 Attachment to
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                                                                                                                                                                                                                                                            Gordon and Mr.
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                                                                                                                                                                                                                                                            providing legal advice and
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385      Cad         12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
                                                                                                                                                     (Historical).sbx                   Product                 Attachment to
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386      Cad         12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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387      Cad         12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 sbx                       Product                 Attachment to
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388      Text        12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
                                                                                                                                                     (Historical).shp.xml               Product                 Attachment to
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389      Text        12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 shp.xml                   Product                 Attachment to
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390      Cad         12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 sbx                       Product                 Attachment to
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391      Cad         12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 shp                       Product                 Attachment to
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                                                                                                                                                                                                                Gordon and Mr.
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392      Cad         12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 sbn                       Product                 Attachment to
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393      Cad         12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
                                                                                                                                                     10_28_21 shx                       Product                 Attachment to
                                                                                                                                                                                                                communication from Mr.
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394      Database    12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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395      Cad         12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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396      Database    12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author   Privilege Tags          Privilege Note
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397      Cad         12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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398      Text        12/10/2021 12:42 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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399      Cad         12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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400      Cad         12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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401      Text        12/10/2021 12:42 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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402      Database    12/10/2021 12:42 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject           Plog Attachment Names To                             From                      CC   BCC   Filename                  Author   Privilege Tags          Privilege Note
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403      Email        12/10/2021 2:01 PM        12/10/2021 2:01 PM Fwd: Proposed DOJ   Commissioner_Precincts_       Henry, Mark             Drummond, Tyler                     Fwd Proposed DOJ                   Attorney-Client;Work-
                                                                   Response            (Historical).sbx;Galveston    <Mark.Henry@co.galvesto <Tyler.Drummond@co.gal              Response.msg                       Product
                                                                                       _Map1                         n.tx.us>;Paul Ready     veston.tx.us>
                                                                                       10_28_21.shp;Commissio        <paul@ready.law>
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404      Database     12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                                               Commissioner_Precincts_            Attorney-Client;Work-
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405      Text         12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                                               Commissioner_Precincts_            Attorney-Client;Work-
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406      Text         12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                                               Galveston_Map2                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author   Privilege Tags          Privilege Note
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407      Text         12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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408      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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409      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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410      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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411      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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412      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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413      Database     12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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414      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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415      Database     12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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416      Text         12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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417      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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419      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1            Attorney-Client;Work-
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420      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2            Attorney-Client;Work-
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421      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1            Attorney-Client;Work-
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422      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1            Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject           Plog Attachment Names To                                 From                       CC   BCC   Filename                  Author   Privilege Tags          Privilege Note
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423      Email        12/10/2021 2:01 PM        12/10/2021 2:01 PM Fwd: Proposed DOJ   Commissioner_Precincts_        Henry, Mark               Drummond, Tyler                       Fwd Proposed DOJ                   Attorney-Client;Work-
                                                                   Response            (Historical).shx;Galveston     <Mark.Henry@co.galvesto   </o=ExchangeLabs/ou=Ex                Response.msg                       Product
                                                                                       _Map2                          n.tx.us>;Paul Ready       change Administrative
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                                                                                       ner_Precincts_(Historical).                              05e4d9e8437fd599c045b6
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424      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                                                    Galveston_Map1                     Attorney-Client;Work-
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425      Database     12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                                                    Galveston_Map2                     Attorney-Client;Work-
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426      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                                                    Commissioner_Precincts_            Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author   Privilege Tags          Privilege Note
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427      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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428      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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429      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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430      Database     12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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431      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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432      Text         12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject   Plog Attachment Names To    From                   CC   BCC           Filename                  Author   Privilege Tags          Privilege Note
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433      Text         12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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434      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                   Galveston_Map2                     Attorney-Client;Work-
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435      Cad          12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                   Commissioner_Precincts_            Attorney-Client;Work-
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436      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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437      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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438      Database     12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                   Galveston_Map1                     Attorney-Client;Work-
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject          Plog Attachment Names To                    From                   CC                        BCC   Filename                  Author   Privilege Tags          Privilege Note
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439      Cad          12/10/2021 2:01 PM       10/28/2021 10:32 AM                                                                                                                       Galveston_Map1                     Attorney-Client;Work-
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440      Text         12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                                                       Galveston_Map2                     Attorney-Client;Work-
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441      Cad          12/10/2021 2:01 PM       10/28/2021 11:32 AM                                                                                                                       Galveston_Map2                     Attorney-Client;Work-
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442      Text         12/10/2021 2:01 PM        12/10/2021 9:27 AM                                                                                                                       Commissioner_Precincts_            Attorney-Client;Work-
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443      Email        12/10/2021 2:17 PM        12/10/2021 2:17 PM Re: Proposed DOJ                        Drummond, Tyler        Paul Ready             Henry, Mark                     Re Proposed DOJ                    Attorney-Client;Work-
                                                                   Response                                <Tyler.Drummond@co gal <paul@ready.law>       <Mark.Henry@co.galvesto         Response.msg                       Product                 Communica ion from
                                                                                                           veston.tx.us>                                 n.tx.us>;Phil Gordon                                                                       Galveston County General
                                                                                                                                                         <pgordon@holtzmanvogel                                                                     Counsel to County Judge
                                                                                                                                                         .com>;Jason Torchinsky                                                                     Mark Henry, Mr.
                                                                                                                                                         <jtorchinsky@holtzmanvo                                                                    Drummond, and
                                                                                                                                                         gel.com>                                                                                   redistricting counsel
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444      Email        12/10/2021 2:18 PM        12/10/2021 2:18 PM Re: Proposed DOJ                        Paul Ready             Drummond, Tyler        Henry, Mark                     Re Proposed DOJ                    Attorney-Client;Work-
                                                                   Response                                <paul@ready.law>       <Tyler.Drummond@co.gal <Mark.Henry@co.galvesto         Response.msg                       Product                 Communica ion from Mr.
                                                                                                                                  veston.tx.us>          n.tx.us>;Phil Gordon                                                                       Drummond to County
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445      Email        12/10/2021 2:18 PM        12/10/2021 2:18 PM Re: Proposed DOJ                            Paul Ready             Drummond, Tyler            Henry, Mark                       Re Proposed DOJ                  Attorney-Client;Work-
                                                                   Response                                    <paul@ready.law>       </o=ExchangeLabs/ou=Ex     <Mark.Henry@co.galvesto           Response.msg                     Product                 Communica ion from Mr.
                                                                                                                                      change Administrative      n.tx.us>;Phil Gordon                                                                       Drummond to County
                                                                                                                                      Group                      <pgordon@holtzmanvogel                                                                     Judge Mark Henry,
                                                                                                                                      (FYDIBOHF23SPDLT)/cn       .com>;Jason Torchinsky                                                                     Galveston County General
                                                                                                                                      =Recipients/cn=2c5f9c72e   <jtorchinsky@holtzmanvo                                                                    Counsel and redistricting
                                                                                                                                      05e4d9e8437fd599c045b6     gel.com>;Davidson, Zach                                                                    counsel discussing legal
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446      Email        12/10/2021 2:20 PM        12/10/2021 2:20 PM Re: Proposed DOJ                            Paul Ready             Phil Gordon                Henry, Mark                       Re Proposed DOJ                  Attorney-Client;Work-
                                                                   Response                                    <paul@ready.law>;Drum <pgordon@HoltzmanVoge       <Mark.Henry@co.galvesto           Response.msg                     Product                 Communica ion from Mr.
                                                                                                               mond, Tyler            l.com>                     n.tx.us>;Jason Torchinsky                                                                  Gordon, redistricting
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447      Email        12/10/2021 2:20 PM        12/10/2021 2:20 PM Re: Proposed DOJ                            Drummond, Tyler          Phil Gordon              Henry, Mark                       Re Proposed DOJ                  Attorney-Client;Work-
                                                                   Response                                    <Tyler.Drummond@co gal <pgordon@HoltzmanVoge      <Mark.Henry@co.galvesto           Response.msg                     Product                 Communica ion from Mr.
                                                                                                               veston.tx.us>;Paul Ready l.com>                   n.tx.us>;Jason Torchinsky                                                                  Gordon, redistricting
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448      Email        12/10/2021 2:43 PM        12/10/2021 2:43 PM RE: Proposed DOJ   comments.pdf;11-9-       Drummond, Tyler          Davidson, Zach           Henry, Mark                       RE Proposed DOJ                  Attorney-Client;Work-
                                                                   Response           2021.pdf;11-3-           <Tyler.Drummond@co gal <Zach.davidson@co.galve    <Mark.Henry@co.galvesto           Response.msg                     Product                 Communica ion from Mr.
                                                                                      2021.pdf;Screenshot of   veston.tx.us>;Paul Ready ston.tx.us>              n.tx.us>;Phil Gordon                                                                       Davidson, Galveston
                                                                                      Comment Submittal        <paul@ready.law>                                  <pgordon@holtzmanvogel                                                                     County Communications
                                                                                      Page.PNG                                                                   .com>;Jason Torchinsky                                                                     Director, to County Judge
                                                                                                                                                                 <jtorchinsky@holtzmanvo                                                                    Mark Henry, Galveston
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449      Image        12/10/2021 2:43 PM        12/10/2021 2:43 PM                                                                                                                                 Screenshot of Comment            Attorney-Client;Work-
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450      Pdf          12/10/2021 2:43 PM        12/10/2021 2:24 PM                                                                                                                                11-3-2021.pdf              Attorney-Client;Work-
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451      Pdf          12/10/2021 2:43 PM        12/10/2021 2:26 PM                                                                                                                                11-9-2021.pdf              Attorney-Client;Work-
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452      Email        12/10/2021 2:43 PM        11/12/2021 2:28 PM *NEW SUBMISSION*                            Redistricting              Galveston County                                        comments.pdf               Attorney-Client;Work-
                                                                   Public Comment                                                                                                                                            Product                 Attachment to
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                                                                                                                                                                                                                                                     Mark Henry, Galveston
                                                                                                                                                                                                                                                     County General Counsel,
                                                                                                                                                                                                                                                     Mr. Drummond, and
                                                                                                                                                                                                                                                     redistricting counsel
                                                                                                                                                                                                                                                     providing additional
                                                                                                                                                                                                                                                     informa ion in response to
                                                                                                                                                                                                                                                     legal guidance and
                                                                                                                                                                                                                                                     proposed response to
                                                                                                                                                                                                                                                     DOJ demands re: Maps 1
                                                                                                                                                                                                                                                     and 2.
453      Email        12/10/2021 2:43 PM        12/10/2021 2:43 PM RE: Proposed DOJ   comments.pdf;11-3-       Drummond, Tyler            Davidson, Zach          Henry, Mark                     RE Proposed DOJ            Attorney-Client;Work-
                                                                   Response           2021.pdf;Screenshot of   <Tyler.Drummond@co gal     </O=EXCHANGELABS/O      <Mark.Henry@co.galvesto         Response.msg               Product                 Communica ion from Mr.
                                                                                      Comment Submittal        veston.tx.us>;Paul Ready   U=EXCHANGE              n.tx.us>;Phil Gordon                                                               Davidson, Galveston
                                                                                      Page.PNG;11-9-2021.pdf   <paul@ready.law>           ADMINISTRATIVE          <pgordon@holtzmanvogel                                                             County Communications
                                                                                                                                          GROUP                   .com>;Jason Torchinsky                                                             Director, to County Judge
                                                                                                                                          (FYDIBOHF23SPDLT)/CN    <jtorchinsky@holtzmanvo                                                            Mark Henry, Galveston
                                                                                                                                          =RECIPIENTS/CN=F8C4     gel.com>                                                                           County General Counsel,
                                                                                                                                          0B000DB84CEDB3DECE                                                                                         Mr. Drummond, and
                                                                                                                                          867F09EEA7-DAVIDSON,                                                                                       redistricting counsel
                                                                                                                                          Z>                                                                                                         providing additional
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Doc ID   Document   Family Date            Date (DISCO Date)         Subject          Plog Attachment Names To             From                    CC   BCC   Filename                Author   Privilege Tags          Privilege Note
         Type
454      Pdf          12/10/2021 2:43 PM        12/10/2021 2:24 PM                                                                                            11-3-2021.pdf                    Attorney-Client;Work-
                                                                                                                                                                                               Product                 Attachment to
                                                                                                                                                                                                                       communication from Mr.
                                                                                                                                                                                                                       Davidson, Galveston
                                                                                                                                                                                                                       County Communications
                                                                                                                                                                                                                       Director, to County Judge
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                                                                                                                                                                                                                       Mr. Drummond, and
                                                                                                                                                                                                                       redistricting counsel
                                                                                                                                                                                                                       providing additional
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455      Email        12/10/2021 2:43 PM        11/12/2021 2:28 PM *NEW SUBMISSION*                        Redistricting   Galveston County                   comments.pdf                     Attorney-Client;Work-
                                                                   Public Comment                                                                                                              Product                 Attachment to
                                                                                                                                                                                                                       Communica ion from Mr.
                                                                                                                                                                                                                       Davidson, Galveston
                                                                                                                                                                                                                       County Communications
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456      Image        12/10/2021 2:43 PM        12/10/2021 2:43 PM                                                                                            Screenshot of Comment            Attorney-Client;Work-
                                                                                                                                                              Submittal Page.PNG               Product                 Attachment to
                                                                                                                                                                                                                       communication from Mr.
                                                                                                                                                                                                                       Davidson, Galveston
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                                                                                                                                                                                                                       Mark Henry, Galveston
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                                                                                                                                                                                                                       Mr. Drummond, and
                                                                                                                                                                                                                       redistricting counsel
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457      Pdf          12/10/2021 2:43 PM        12/10/2021 2:26 PM                                                                                            11-9-2021.pdf                    Attorney-Client;Work-
                                                                                                                                                                                               Product                 Attachment to
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                                                                                                                                                                                                                       Davidson, Galveston
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                                                                                                                                                                                                                       Mark Henry, Galveston
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458      Email        12/10/2021 2:47 PM        12/10/2021 2:47 PM Re: Proposed DOJ                                  Davidson, Zach          Paul Ready              Drummond, Tyler                   Re Proposed DOJ                               Attorney-Client;Work-   Communica ion from
                                                                   Response                                          <Zach.davidson@co.galve <paul@ready.law>        <Tyler.Drummond@co.gal            Response.msg                                  Product                 Galveston County General
                                                                                                                     ston.tx.us>                                     veston.tx.us>;Henry, Mark                                                                               Counsel to County Judge
                                                                                                                                                                     <Mark.Henry@co.galvesto                                                                                 Mark Henry, Mr.
                                                                                                                                                                     n.tx.us>;Phil Gordon                                                                                    Drummond, and
                                                                                                                                                                     <pgordon@holtzmanvogel                                                                                  redistricting counsel
                                                                                                                                                                     .com>;Jason Torchinsky                                                                                  discussing legal advice
                                                                                                                                                                     <jtorchinsky@holtzmanvo                                                                                 and strategy and
                                                                                                                                                                     gel.com>                                                                                                additional information
                                                                                                                                                                                                                                                                             provided by Mr. Davidson
                                                                                                                                                                                                                                                                             for inclusion in proposed
                                                                                                                                                                                                                                                                             response to DOJ
                                                                                                                                                                                                                                                                             demands.
459      Email        12/10/2021 2:50 PM        12/10/2021 2:50 PM Re: Proposed DOJ                                  Paul Ready              Phil Gordon             Drummond, Tyler                   Re Proposed DOJ                               Attorney-Client;Work-
                                                                   Response                                          <paul@ready.law>;Davids <pgordon@HoltzmanVoge   <Tyler.Drummond@co.gal            Response.msg                                  Product                 Communica ion from Mr.
                                                                                                                     on, Zach                l.com>                  veston.tx.us>;Henry, Mark                                                                               Gordon, redistricting
                                                                                                                     <Zach.davidson@co.galve                         <Mark.Henry@co.galvesto                                                                                 counsel, wi h County
                                                                                                                     ston.tx.us>                                     n.tx.us>;Jason Torchinsky                                                                               Judge Mark Henry,
                                                                                                                                                                     <jtorchinsky@HoltzmanVo                                                                                 Galveston County General
                                                                                                                                                                     gel.com>                                                                                                Counsel, Mr. Drummond,
                                                                                                                                                                                                                                                                             and other redistricting
                                                                                                                                                                                                                                                                             counsel confirming final
                                                                                                                                                                                                                                                                             guidance and response to
                                                                                                                                                                                                                                                                             DOJ demands re: Maps 1
                                                                                                                                                                                                                                                                             and 2.
460      Email        5/10/2022 11:07 AM        5/10/2022 11:07 AM Order - Appointment of    Appointment of          Paul Ready'             Liechty, Linda                                            Order - Appointment of                        Attorney-Client;Work-
                                                                   Commissioner              Commissioner.docx       <paul@ready.law>        </O=EXCHANGELABS/O                                        Commissioner.msg                              Product
                                                                                                                                             U=EXCHANGE                                                                                                                      Communica ion from Ms.
                                                                                                                                             ADMINISTRATIVE                                                                                                                  Linda Liechty to Galveston
                                                                                                                                             GROUP                                                                                                                           County General Counsel,
                                                                                                                                             (FYDIBOHF23SPDLT)/CN                                                                                                            seeking legal advice and
                                                                                                                                             =RECIPIENTS/CN=B96C                                                                                                             edits to proposed
                                                                                                                                             1DB7FD324A26AEC676E                                                                                                             appointment order of Dr.
                                                                                                                                             D21FB837B-LIECHTY,                                                                                                              Robin Armstrong to the
                                                                                                                                             LI>                                                                                                                             Commissioners Court.
461      Word         5/10/2022 11:07 AM        5/10/2022 11:01 AM                                                                                                                                     Appointment of              Drummond, Tyler   Attorney-Client;Work-
                                                                                                                                                                                                       Commissioner.docx                             Product                 Attachment to
                                                                                                                                                                                                                                                                             communication from Ms.
                                                                                                                                                                                                                                                                             Linda Liechty to Galveston
                                                                                                                                                                                                                                                                             County General Counsel,
                                                                                                                                                                                                                                                                             seeking legal advice and
                                                                                                                                                                                                                                                                             edits to proposed
                                                                                                                                                                                                                                                                             appointment order of Dr.
                                                                                                                                                                                                                                                                             Robin Armstrong to the
                                                                                                                                                                                                                                                                             Commissioners Court.
462      Email        5/10/2022 11:34 AM        5/10/2022 11:34 AM Re: Order - Appointment   Appointment of          Liechty, Linda           Paul Ready                                               Re Order - Appointment of                     Attorney-Client;Work-
                                                                   of Commissioner           Commissioner-1-1.docx   <Linda.Liechty@co galves <paul@ready.law>                                         Commissioner.msg                              Product                 Response from Galveston
                                                                                                                     ton.tx.us>                                                                                                                                              County General Counsel
                                                                                                                                                                                                                                                                             re: communication from
                                                                                                                                                                                                                                                                             Ms. Linda Liechty to
                                                                                                                                                                                                                                                                             Galveston County General
                                                                                                                                                                                                                                                                             Counsel, seeking legal
                                                                                                                                                                                                                                                                             advice and edits to
                                                                                                                                                                                                                                                                             proposed appointment
                                                                                                                                                                                                                                                                             order of Dr. Robin
                                                                                                                                                                                                                                                                             Armstrong to the
                                                                                                                                                                                                                                                                             Commissioners Court.
463      Word         5/10/2022 11:34 AM        5/10/2022 11:01 AM                                                                                                                                     Appointment of              Drummond, Tyler   Attorney-Client;Work-
                                                                                                                                                                                                       Commissioner-1-1.docx                         Product                 Attachment to response
                                                                                                                                                                                                                                                                             from Galveston County
                                                                                                                                                                                                                                                                             General Counsel re:
                                                                                                                                                                                                                                                                             communication from Ms.
                                                                                                                                                                                                                                                                             Linda Liechty to Galveston
                                                                                                                                                                                                                                                                             County General Counsel,
                                                                                                                                                                                                                                                                             seeking legal advice and
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                                                                                                                                                                                                                                                                             Robin Armstrong to the
                                                                                                                                                                                                                                                                             Commissioners Court.




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         Type
464      Email        5/10/2022 11:40 AM        5/10/2022 11:40 AM RE: Order - Appointment                        Paul Ready'        Liechty, Linda                    RE Order - Appointment of            Attorney-Client;Work-   Reply communication from
                                                                   of Commissioner                                <paul@ready.law>   </O=EXCHANGELABS/O                Commissioner.msg                     Product                 Ms. Linda Liechty to
                                                                                                                                     U=EXCHANGE                                                                                     Galveston County General
                                                                                                                                     ADMINISTRATIVE                                                                                 Counsel re: response from
                                                                                                                                     GROUP                                                                                          Galveston County General
                                                                                                                                     (FYDIBOHF23SPDLT)/CN                                                                           Counsel re:
                                                                                                                                     =RECIPIENTS/CN=B96C                                                                            communication from Ms.
                                                                                                                                     1DB7FD324A26AEC676E                                                                            Liechty to Galveston
                                                                                                                                     D21FB837B-LIECHTY,                                                                             County General Counsel,
                                                                                                                                     LI>                                                                                            seeking legal advice and
                                                                                                                                                                                                                                    edits to proposed
                                                                                                                                                                                                                                    appointment order of Dr.
                                                                                                                                                                                                                                    Robin Armstrong to the
                                                                                                                                                                                                                                    Commissioners Court.




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